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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                                   4
                                 NASHVILLE DIVISION



 IN RE:                                          Case No, 3:19-bk-07235
                                                 Chapter 7
 CUMMINGS MANOOKIAN, PLLC
                                                 Judge Walker
        Debtor.
                                                 Adv. Proc. No. 3:20-ap-90002
 JEANNE ANN BURTON, TRUSTEE

        Plaintiff,

 v.

 HAGH LAW, PLLC; AFSOON HAGH;
 and MANOOKIAN PLLC,

        Defendants.



                  DEFENDANT MANOOKIAN PLLC’S SECOND SET OF
                   REQUESTS FOR ADMISSION TO THE PLAINTIFF


       Manookian PLLC, through counsel, and propounds the following Requests for Admission

upon the Plaintiff.


                             REQUESTS FOR ADMISSION


       1.      Admit that Exhibit 1 is an attorney-client agreement between Cummings

Manookian and Edward Goodwin and Brett Keefer.

RESPONSE:




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       2.     Admit that Exhibit 1 is a genuine copy of an attorney-client agreement between

Cummings Manookian and Edward Goodwin and Brett Keefer.

RESPONSE:



       3.     Pursuant to Fed. R. Civ. P. 36(a)(1)(B), admit the genuineness of Exhibit 1.

RESPONSE:



       4.     Admit that on April 19, 2017, Brian Cummings was a member of Cummings

Manookian.

RESPONSE:



       5.     Admit that on April 1, 2017, Brian Cummings had the authority to enter into Exhibit

1 on behalf of Cummings Manookian.

RESPONSE:



       6.     Admit that on April 1, 2017, Cummings Manookian entered into an Agreement

with Brett Keefer and Edward Goodwin whose terms are contained in Exhibit 1.

RESPONSE:



       7.     Admit that Exhibit 1 was drafted by Cummings Manookian.

RESPONSE:




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      8.     Admit that Exhibit 1 was drafted by Brian Cummings on behalf of Cummings

Manookian.

RESPONSE:



      9.     Admit that Exhibit 1 is a binding contract.

RESPONSE:



      10.    Admit that Exhibit 1 is binding upon Brett Keefer.

RESPONSE:



      11.    Admit that Exhibit 1 is binding upon Edward Goodwin.

RESPONSE:



      12.    Admit that Exhibit 1 is binding upon Cummings Manookian.

RESPONSE:



      13.    Admit that Cummings Manookian withdrew from representing Brett Keefer.

RESPONSE:



      14.    Admit that Cummings Manookian withdrew from representing Edward Goodwin.

RESPONSE:




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       15.    Admit that Cummings Manookian withdrew from representing Brett Keefer prior

to receiving a settlement for Mr. Keefer or Chesta Shoemaker’s estate.

RESPONSE:



       16.    Admit that Cummings Manookian withdrew from representing Edward Goodwin

prior to receiving a settlement for Mr. Goodwin or Chesta Shoemaker’s estate.

RESPONSE:




       17.    Admit that Cummings Manookian did not pay any costs or expenses associated

with any lawsuit filed on behalf of Brett Keefer, Edward Goodwin, or Chesta Shoemaker’s estate.

RESPONSE:



       18.    Admit that Exhibit 1 is the only written agreement between Cummings Manookian

and Brett Keefer.

RESPONSE:




       19.    Admit that Exhibit 1 is the only written agreement between Cummings Manookian

and Edward Goodwin.

RESPONSE:



       20.    Admit that Exhibit 1 is the only written agreement between Cummings Manookian

and any representative of Chesta Shoemaker’s estate.




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RESPONSE:



       21.     Admit that as of January 1, 2019, Cummings Manookian had no members or

partners with active licenses to practice law.

RESPONSE:



       22.     Admit that as of February 1, 2019, Cummings Manookian had no members or

partners with active licenses to practice law.

RESPONSE:



       23.     Admit that as of February 11, 2019, Cummings Manookian had no members or

partners with active licenses to practice law.

RESPONSE:



       24.     Admit that as of March 1, 2019, Cummings Manookian had no members or partners

with active licenses to practice law.

RESPONSE:




       25.     Admit that as of January 1, 2019, Cummings Manookian had no employees.

RESPONSE:



       26.     Admit that as of February 1, 2019, Cummings Manookian had no employees.



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RESPONSE:



       27.    Admit that as of February 11, 2019, Cummings Manookian had no employees.

RESPONSE:



       28.    Admit that as of March 1, 2019, Cummings Manookian had no employees.

RESPONSE:




       29.    Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in December 2018.

RESPONSE:



       30.    Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in January 2019.

RESPONSE:




       31.    Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in February 2019.

RESPONSE:



       32.    Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in March 2019.




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RESPONSE:




       33.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in April 2019.

RESPONSE:



       34.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in May 2019.

RESPONSE:




       35.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in June 2019.

RESPONSE:



       36.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in July 2019.

RESPONSE:




       37.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in August 2019.

RESPONSE:




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       38.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in September 2019.

RESPONSE:




       39.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in October 2019.

RESPONSE:



       40.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in November 2019.

RESPONSE:




       41.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in December 2019.

RESPONSE:



       42.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in 2020.

RESPONSE:




       43.     Admit that Cummings Manookian made no payments to any employee, as salary

or otherwise, in 2021.


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RESPONSE:



       44.     Admit that Cummings Manookian has made no payments to any employee, as

salary or otherwise, in 2022.

RESPONSE:




       45.     Admit that Brian Cummings never signed a pleading in Shoemaker v. VUMC,

Davidson County Circuit Court No. 19C358, identifying himself as working for or on behalf of

Cummings Manookian.

RESPONSE:



       46.     Admit that Brian Manookian never signed a pleading in Shoemaker v. VUMC,

Davidson County Circuit Court No. 19C358, identifying himself as working for or on behalf of

Cummings Manookian.


RESPONSE:



       47.     Admit that Afsoon Hagh never signed a pleading in Shoemaker v. VUMC, Davidson

County Circuit Court No. 19C358, identifying himself as working for or on behalf of Cummings

Manookian.

RESPONSE:




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       48.    Admit that no attorney ever signed a pleading in Shoemaker v. VUMC, Davidson

County Circuit Court No. 19C358, identifying himself or herself as working for or on behalf of

Cummings Manookian.

RESPONSE:




       49.    Admit that no attorney ever entered an appearance in Shoemaker v. VUMC,

Davidson County Circuit Court No. 19C358, that identified himself or herself as working for or

on behalf of Cummings Manookian.

RESPONSE:



       50.    Admit that Brian Cummings did no work for or on behalf of Cummings Manookian

in Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.

RESPONSE:




       51.    Admit that Brian Manookian did no work for or on behalf of Cummings Manookian

in Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.

RESPONSE:



       52.    Admit that Afsoon Hagh did no work for or on behalf of Cummings Manookian in

Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.

RESPONSE:




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      53.    Admit that no attorney did any work for or on behalf of Cummings Manookian in

Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.

RESPONSE:



      54.    Admit that Cummings Manookian did not correspond or communicate with Brett

Keefer or Edward Goodwin in 2019.

RESPONSE:




      55.    Admit that Cummings Manookian did not correspond or communicate with Brett

Keefer or Edward Goodwin in 2020.

RESPONSE:



      56.    Admit that Cummings Manookian did not correspond or communicate with Brett

Keefer or Edward Goodwin in 2021.

RESPONSE:




      57.    Admit that Cummings Manookian was not involved in negotiating any final terms

of settlement in Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.

RESPONSE:



      58.    Admit that Cummings Manookian is aware of the terms of any settlement in

Shoemaker v. VUMC, Davidson County Circuit Court No. 19C358.




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RESPONSE:




       59.    Admit that Exhibit 2 is an attorney-client agreement between Cummings

Manookian and Marty Fitzgerald and Melissa Fitzgerald.

RESPONSE:



       60.    Admit that Exhibit 2 is a genuine copy of an attorney-client agreement between

Cummings Manookian and Marty Fitzgerald and Melissa Fitzgerald.

RESPONSE:




       61.    Pursuant to Fed. R. Civ. P. 36(a)(1)(B), admit the genuineness of Exhibit 2.

RESPONSE:



       62.    Admit that on May 23, 2018, Brian Manookian was a member of Cummings

Manookian.

RESPONSE:




       63.    Admit that on May 23, 2018, Brian Manookian had the authority to enter into

Exhibit 2 on behalf of Cummings Manookian.

RESPONSE:




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       64.    Admit that on May 23. 2018, Cummings Manookian entered into an Agreement

with Marty and Melissa Fitzgerald whose terms are contained in Exhibit 2.

RESPONSE:




       65.    Admit that Exhibit 2 was drafted by Cummings Manookian.

RESPONSE:



       66.    Admit that Exhibit 2 was drafted by Brian Manookian on behalf of Cummings

Manookian.

RESPONSE:




       67.    Admit that Exhibit 2 is a binding contract.

RESPONSE:



       68.    Admit that Exhibit 2 is binding upon Marty and Melissa Fitzgerald

RESPONSE:




       69.    Admit that Exhibit 2 is binding upon Cummings Manookian.

RESPONSE:



       70.    Admit that Cummings Manookian withdrew from representing Marty and Melissa

Fitzgerald.


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RESPONSE:



       71.     Admit that Cummings Manookian withdrew from representing Marty and Melissa

Fitzgerald prior to receiving any settlement for them.

RESPONSE:



       72.     Admit that Exhibit 2 is the only written agreement between Cummings Manookian

and Marty and Melissa Fitzgerald.

RESPONSE:




       73.     Admit that Exhibit 3 is a letter from Cummings Manookian to Marty and Melissa

Fitzgerald.

RESPONSE:



       74.     Admit that on December 7, 2018, Brian Manookian was a member or partner of

Cummings Manookian.

RESPONSE:




       75.     Admit that on December 7, 2018, Brian Manookian was the sole member of

Cummings Manookian.

RESPONSE:




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       76.    Admit that on December 7, 2018, Brian Manookian was authorized to speak on

behalf of Cummings Manookian.

RESPONSE:




       77.    Admit that on December 7, 2018, Brian Manookian was authorized to speak to

Marty and Melissa Fitzgerald on behalf of Cummings Manookian on the topic of his and

Cummings Manookian’s representation of the Fitzgeralds.

RESPONSE:



       78.    Admit that Exhibit 3 is a letter from Brian Manookian on behalf of Cummings

Manookian to Marty and Melissa Fitzgerald.

RESPONSE:




       79.    Pursuant to Fed. R. Civ. P. 36(a)(1)(B), admit the genuineness of Exhibit 3.

RESPONSE:



       80.    Admit that Exhibit 3 was sent by Brian Manookian to Marty and Melissa Fitzgerald.

RESPONSE:




       81.    Admit that Exhibit 3 was received by Marty and Melissa Fitzgerald.

RESPONSE:




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        82.     Admit that Exhibit 3 states that Brian Manookian and Cummings Manookian are

withdrawing from their representation of Marty and Melissa Fitzgerald.

RESPONSE:




        83.     Admit that Exhibit 3 requests that Marty and Melissa Fitzgerald obtain another

attorney or firm to represent them.

RESPONSE:



        84.     Admit that Exhibit 3 states that because Cummings Manookian is withdrawing

from the representation, it will not be entitled to any portion of an attorney’s fee in the matter.

RESPONSE:




        85.     Admit that Exhibit 3 states that Cummings Manookian specifically disclaims any

attorney’s fee in the Fitzgerald matter.

RESPONSE:



        86.     Admit that Cummings Manookian disclaimed any attorney’s fee in the Fitzgerald

matter via written letter to the Fitzgeralds.

RESPONSE:




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Date: March 3, 2022                            Respectfully submitted,


                                               /s/ John Spragens
                                               John Spragens (TN Bar No. 31445)
                                               Spragens Law PLC
                                               311 22nd Ave. N.
                                               Nashville, TN 37203
                                               T: (615) 983-8900
                                               F: (615) 682-8533
                                               john@spragenslaw.com

                                               Attorney for Manookian PLLC and Brian
                                               Manookian


                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing was served on Phillip Young as
Counsel for the Plaintiff on March 3, 2022.


                                                /s/ John Spragens




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                                  5
                                 NASHVILLE DIVISION

  IN RE:                                             )
                                                     )   Case No. 3:19-bk-07235
  CUMMINGS MANOOKIAN, PLLC,                          )   Chapter 7
                                                     )   Judge Walker
                  Debtor.                            )
                                                     )
  JEANNE ANN BURTON, TRUSTEE,                        )
                                                     )
                  Plaintiff,                         )
                                                     )
  v.                                                 )   Adv. Proc. No. 3:20-ap-90002
                                                     )
  HAGH LAW, PLLC; AFSOON HAGH;                       )
  MANOOKIAN, PLLC; and FIRST-                        )
  CITIZENS BANK & TRUST COMPANY,                     )
                                                     )
                  Defendant.                         )


   PLAINTIFF’S RESPONSES TO MANOOKIAN PLLC’S FIRST SET OF REQUESTS
                    FOR ADMISSION TO THE PLAINTIFF

        Comes Now, Plaintiff, Jeanne Ann Burton, Trustee (“Trustee”), and for her Responses to

Manookian PLLC’s First Set of Requests for Admission to Plaintiff (the “Discovery”), states as

follows:

                                  GENERAL OBJECTIONS

       1.      Trustee’s Responses to the Discovery shall not constitute a waiver of her

objections as to admissibility.

       2.      Trustee objects to the Discovery to the extent it exceeds the scope of permissible

discovery.

       3.      Trustee objects to the Discovery to the extent that the information sought is

protected from discovery by the attorney-client privilege or the attorney work-product doctrine.


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      4.        Trustee objects to the Discovery to the extent that the information and documents

sought are not in her possession, custody or control.

      5.        Trustee objects to the Discovery to the extent that the information sought is

irrelevant, immaterial and not reasonably calculated to lead to the discovery of admissible

evidence.

      6.        Trustee objects to the Discovery to the extent that the information sought is equally

available to Defendant as to Trustee.

      7.        Trustee objects to the definitions and instructions to the extent Defendant seeks to

impose any requirement in excess of those imposed by the Federal Rules of Civil Procedure.

Additionally, Trustee is not required by the Federal Rules of Civil Procedure to adopt, follow or

utilize Defendant’s definitions and instructions, and Trustee’s Responses are based upon the

governing provisions of the applicable Rules, laws and the ordinary and usual meaning of the

words used, except as otherwise noted in the Responses.

       8.       Trustee reserves the right to supplement her Responses to the Discovery based

upon subsequently acquired information as permitted by the Federal Rules of Civil Procedure.



                                  REQUESTS FOR ADMISSION

           1.    Admit that Afsoon Hagh was never an employee of Cummings Manookian.

           RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

           2.    Admit that Cummings Manookian never identified Afsoon Hagh as an employee to
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 the Internal Revenue Service.

        RESPONSE:


       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        3.     Admit that Cummings Manookian never identified Afsoon Hagh as an employee to

 the Tennessee Department of Revenue.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        4.     Admit that Cummings Manookian never filed any documents with any state, local,

 or federal agency identifying Afsoon Hagh as an employee of Cummings Manookian.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        5.     Admit that Afsoon Hagh was never a member of Cummings Manookian.

        RESPONSE:

      Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
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issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        6.      Admit that Afsoon Hagh was never a partner in Cummings Manookian.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        7.      Admit that Afsoon Hagh never held an ownership interest in Cummings

 Manookian.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        8.      Admit that Afsoon Hagh served as co-counsel with certain attorney members of

 Cummings Manookian in various legal cases.

        RESPONSE:

         Trustee admits that Afsoon Hagh made notices of appearance as counsel in several
Cummings Manookian matters. Trustee is unable to admit or deny the remainder of this request
because Cummings Manookian, PLC and/or Afsoon Hagh have failed to adequately respond to
Trustee’s outstanding discovery requests on this issue. Also, the Trustee has not been afforded an
opportunity to depose Brian Manookian or Afsoon Hagh on this subject. However, Trustee states
that Afsoon Hagh held herself out as an employee or agent of Cummings Manookian by repeatedly
signing pleadings with a Cummings Manookian signature block. Further, certain engagement
letters identified Afsoon Hagh as one of Cumming Manookian’s attorneys.

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        9.     Admit that Afsoon Hagh was never paid a salary by Cummings Manookian.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject.


        10.    Admit that Afsoon Hagh was never paid an hourly wage by Cummings Manookian.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject.

        11.    Admit that Afsoon Hagh was never listed on Cummings Manookian’s website.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject. However, Trustee states that Afsoon Hagh held herself out as an
employee or agent of Cummings Manookian by repeatedly signing pleadings with a Cummings
Manookian signature block. Further, certain engagement letters identified Afsoon Hagh as one of
Cumming Manookian’s attorneys.

        12.    Admit that Afsoon Hagh was never paid any monies by Cummings Manookian.

        RESPONSE:

       Denied. Afsoon Hagh received funds from the settlement of the Fitzgerald matter that were
otherwise owed to Cummings Manookian.

        13.    Admit that Cummings Manookian had two members.

        RESPONSE:

              Admitted that Cummings Manookian had at least two members. Trustee is unable to

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admit or deny any remaining elements of this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject.


        14.     Admit that the two members of Cummings Manookian were Brian Manookian and

 Brian Cummings.

        RESPONSE:

        Admitted that Brian Manookian and Brian Cummings were members of Cummings
Manookian. Trustee is unable to admit or deny whether Mr. Cummings and Mr. Manookian were
Cummings Manookian’s only members because Cummings Manookian, PLC and/or Afsoon Hagh
have failed to appropriately or adequately respond to Trustee’s outstanding discovery requests on
this issue.

        15.     Admit that Cummings Manookian was a professional limited liability company.

        RESPONSE:


       Admitted.

        16.     Admit that Cummings Manookian was created to provide professional services in

 the form of legal services.

        RESPONSE:

       Admitted.

        17.     Admit that Cummings Manookian specialized in representing plaintiffs in medical

 malpractice cases.

        RESPONSE:

       Admitted.

        18.     Admit that Cummings Manookian primarily accepted cases on a contingency fee

 basis whereby Cummings Manookian was only paid if they recovered monies for their client.

        RESPONSE:
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       Admitted.

            19.   Admit that Cummings Manookian entered into engagement agreements with their

 clients.

            RESPONSE:

        Admitted that Cummings Manookian entered into engagement agreements with some
clients. However, Trustee is unable to admit or deny whether Cummings Manookian entered into
engagement letters with all of their clients because Trustee has not been given copies of all
Cummings Manookian engagement agreements.

            20.   Admit that Cummings Manookian entered into engagement agreements with their

 clients that laid out the duties and rights of both parties to the contract.

            RESPONSE:

         Admitted that Cummings Manookian entered into engagement agreements with some
clients that laid out the duties and rights of both parties to the contract. Trustee is unable to admit
or deny whether Cummings Manookian entered into engagement letters with all of their clients
because Trustee has not been given copies of all Cummings Manookian engagement agreements.


            21.   Admit that Cummings Manookian utilized a standard form engagement agreement

 whose content and terms with respect to the rights and duties of the parties generally did not vary

 from case to case (“the Cummings Manookian Engagement Agreement).

            RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee has
only been provided copies of certain engagement agreements, and has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that most of the
engagement agreements she has been provided appear to be based upon a standard form.


            22.   Admit that the Cummings Manookian Engagement Agreement included terms

 regarding the parties’ rights in the event that the client terminated Cummings Manookian.

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         RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee has
not been provided copies of all engagement agreements, and has not been afforded an opportunity
to depose Brian Manookian on this subject. Trustee admits that the engagement agreements she
has been provided include terms regarding the parties’ right in the event the client terminated
Cummings Manookian.

         23.    Admit that the Cummings Manookian Engagement Agreement included terms

 regarding the parties’ rights in the event that Cummings Manookian withdrew from representing

 the client.

         RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee has
not been provided copies of all engagement agreements, and has not been afforded an opportunity
to depose Brian Manookian on this subject. Trustee admits that the engagement agreements she
has been provided include terms regarding the parties’ rights in the event that Cummings
Manookian withdrew from representing the client.

         24.    Admit that the Cummings Manookian Engagement Agreement requires the client

 to pay Cummings Manookian an attorney’s fee in the event the client terminates Cummings

 Manookian.

         RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee has
not been provided copies of all engagement agreements, and has not been afforded an opportunity
to depose Brian Manookian on this subject. Trustee also objects to this request to the extent it calls
for a legal conclusion.

         25.    Admit that the Cummings Manookian Engagement Agreement does not require the

 client to pay Cummings Manookian an attorney’s fee in the event Cummings Manookian

 withdraws from the representation.

         RESPONSE:


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        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee has
not been provided copies of all engagement agreements, and has not been afforded an opportunity
to depose Brian Manookian on this subject. Trustee also objects to this request to the extent it calls
for a legal conclusion.


        26.     Admit that Cummings Manookian has never entered into a contract or written

 agreement with Afsoon Hagh.

        RESPONSE:

       Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject.


        27.     Admit that Cummings Manookian has never entered into a contract or written

 agreement with Hagh Law PLLC.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Hagh Law PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this subject.

        28.     Admit that Cummings Manookian has never entered into a contract or written

 agreement with Manookian PLLC.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Manookiann PLLC have failed to adequately respond to Trustee’s outstanding discovery requests
on this issue. Also, the Trustee has not been afforded an opportunity to depose Brian Manookian
on this subject.


        29.     Admit that Cummings Manookian does not own, and has never owned, any real

 property.

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        RESPONSE:

       Trustee admits that Cummings Manookian does not currently own any real property.
Trustee is unable to admit or deny the remaining elements of this request because the Trustee has
not been afforded an opportunity to depose Brian Manookian on this subject.


        30.     Admit that Cummings Manookian does not own, and has never owned, 45 Music

 Square West, Nashville, Tennessee 37203.

        RESPONSE:

        Trustee admits that Cummings Manookian does not currently own 45 Music Square West,
Nashville, Tennessee 37203. Trustee is unable to admit or deny the remaining elements of this
request because the Trustee has not been afforded an opportunity to depose Brian Manookian on
this subject.




        31.     Admit that Cummings Manookian was a party to a lease for 45 Music Square West,

 Nashville, Tennessee, 37203 (“the 45 MSW Lease).

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian on this subject. Trustee
has specifically requested a copy of any such lease but none has been provided.

        32.     Admit that Cummings Manookian was required to pay rent to 45 MSW Partners

 under the terms of the 45 MSW Lease.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian on this subject. Trustee
has specifically requested a copy of any such lease but none has been provided.


        33.     Admit that Cummings Manookian breached the 45 MSW Lease by failing to pay

 rent to 45 MSW Partners beginning in November of 2018.
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        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian on this subject. Trustee
has specifically requested a copy of any such lease but none has been provided.


        34.     Admit that Cummings Manookian owns no furniture.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
alleged that Cummings Manookian owns no furniture, but this allegation has not been tested.
However, upon information and belief, the Trustee believes that there is furniture in the offices
where Cummings Manookian operated.


        35.     Admit that Cummings Manookian has never owned any furniture.

        RESPONSE:

        Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
alleged that Cummings Manookian has never owned furniture, but this allegation has not been
tested. However, upon information and belief, the Trustee believes that there is furniture in the
offices where Cummings Manookian operated.


        36.     Admit that Cummings Manookian owns no computers.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
alleged that Cummings Manookian owns no computers, but this allegation has not been tested.
However, upon information and belief, the Trustee believes that there are computers in the offices
where Cummings Manookian operated.

        37.     Admit that Cummings Manookian has never owned any computers.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
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alleged that Cummings Manookian has never owned computers, but this allegation has not been
tested. However, upon information and belief, the Trustee believes that there are computers in the
offices where Cummings Manookian operated.


        38.     Admit that Cummings Manookian owns no telephones.

        RESPONSE:


       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
alleged that Cummings Manookian owns no telephones, but this allegation has not been tested.
However, upon information and belief, the Trustee believes that there are telephones in the offices
where Cummings Manookian operated.

        39.     Admit that Cummings Manookian has never owned any telephones.

        RESPONSE:

        Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. Trustee admits that Brian Manookian has
alleged that Cummings Manookian has never owned telephones, but this allegation has not been
tested. However, upon information and belief, the Trustee believes that there are telephones in the
offices where Cummings Manookian operated.


        40.     Admit that the web domain cummingsmanookian.com was registered by Brian

 Cummings.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject.

        41.     Admit that the web domain cummingsmanookian.com is owned by Brian

 Cummings.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject.



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        42.     Admit that Cummings Manookian has never owned any website.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject. However, Trustee is aware that Cummings
Manookian utilized a website at times during its operations.




        43.     Admit that the Defendants have never utilized cummingsmanookian.com as a

 website.

        RESPONSE:

       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian or Afsoon Hagh on this subject.




        44.     Admit that cummingsmanookian.com has not functioned as a website since at least

 October of 2018.

        RESPONSE:


       Trustee is unable to admit or deny this request because Trustee has not been afforded an
opportunity to depose Brian Manookian on this subject.


        45.     Admit the telephone number 615-266-3333 was purchased individually by Brian

 Cummings prior to the formation of Cummings Manookian.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian on this subject.
However, Trustee is aware that Cummings Manookian utilized that telephone number at times
during its operations.




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        46.    Admit that all telephone numbers utilized by Cummings Manookian during its

 period of operation were privately purchased Brian Cummings prior to the formation of Cummings

 Manookian.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian on this subject.
However, Trustee is aware that Cummings Manookian utilized certain telephone numbers at times
during its operations.




        47.    Admit that none of the Defendants have utilized a phone number owned by

 Cummings Manookian at any time.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon Hagh on this
subject. However, Afsoon Hagh listed a Cummings Manookian telephone number and email
address in numerous court pleadings.


        48.    Admit that none of the Defendants have utilized a phone number owned by

 Cummings Manookian at any time after October 2018.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and the
Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon Hagh on this
subject. However, Afsoon Hagh listed a Cummings Manookian telephone number and email
address in numerous court pleadings after October 2018.


        49.    Admit that, under Tennessee law, a legal client’s file is owned by the client.

        RESPONSE:


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       Trustee objects to this request on the grounds that it calls for a legal conclusion. However,
Trustee affirmatively alleges that a law firm may own client lists, client contact information, and
accounts receivable associated with clients.

         50.     Admit that Cummings Manookian does not now, nor has it ever, owned a client’s

 case file.

         RESPONSE:


        Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue. Trustee also
objects to this request to the extent that it calls for a legal conclusion. However, Trustee
affirmatively alleges that Cummings Manookian did own client lists, client contact information,
and accounts receivable associated with clients.

         51.     Admit that Cummings Manookian is and was required to return, destroy, or transfer

 a client’s case file upon that client’s request.

         RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed adequately respond to Trustee’s outstanding discovery requests on this issue, and Trustee
has not been afforded an opportunity to depose Brian Manookian on this topic. Trustee also
objects to this request to the extent that it calls for a legal conclusion. Trustee further states that
she has not been provided copies of certain disengagement letters that might govern Cummings
Manookian’s responsibilities to its clients.

         52.     Admit that Cummings Manookian does not “own” a client’s case.

         RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and Trustee
has not been afforded an opportunity to depose Brian Manookian on this topic. Trustee also objects
to this request to the extent that it calls for a legal conclusion. However, Trustee affirmatively
alleges that Cummings Manookian did own client lists and contact information, and that it owns
rights to recovery in certain cases.

         53.     Admit that Cummings Manookian does not have an ownership interest in any case

 brought on behalf of a client.

         RESPONSE:

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         Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and Trustee
has not been afforded an opportunity to depose Brian Manookian on this topic. Trustee also objects
to this request to the extent that it calls for a legal conclusion. However, Trustee affirmatively
alleges that Cummings Manookian did own client lists and contact information, and that it owns
rights to recovery in certain cases.

        54.     Admit that any cause of action or right of recovery pursued by Cummings

 Manookian on behalf of a client belongs to the client.

        RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and Trustee
has not been afforded an opportunity to depose Brian Manookian on this topic. Trustee also objects
to this request to the extent that it calls for a legal conclusion. However, Trustee affirmatively
alleges that Cummings Manookian did own client lists and contact information, and that it owns
rights to recovery in certain cases.

        55.     Admit that any cause of action or right of recovery pursued by Cummings

 Manookian on behalf of a client does not belong to Cummings Manookian.

        RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC, has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue, and Trustee
has not been afforded an opportunity to depose Brian Manookian on this topic. Trustee also objects
to this request to the extent that it calls for a legal conclusion. However, Trustee affirmatively
alleges that Cummings Manookian did own client lists and contact information, and that it owns
rights to recovery in certain cases.

        56.     Admit that any Cummings Manookian client was empowered to terminate

 Cummings Manookian at any time and for any reason.

        RESPONSE:


        Admitted that any client had the right to terminate Cummings Manookian at any time and
for any reason.

        57.     Admit that Cummings Manookian provided no services to Manookian PLLC.


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        RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Manookian PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian on this
topic. However, Trustee believes that Cummings Manookian allowed Manookian PLLC to utilize
its leased premises and certain personal property.

        58.     Admit that Cummings Manookian provided no goods to Manookian PLLC.

        RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Manookian PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian on this
topic. However, Trustee believes that Cummings Manookian allowed Manookian PLLC to utilize
its leased premises and certain personal property.

        59.     Admit that Cummings Manookian provided no services to Hagh Law.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Hagh Law PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Hagh
Law PLLC to utilize its leased premises and certain personal property.

        60.     Admit that Cummings Manookian provided no goods to Hagh Law.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Hagh Law PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Hagh
Law PLLC to utilize its leased premises and certain personal property.

        61.     Admit that Cummings Manookian provided no services to Afsoon Hagh.

        RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon
Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Afsoon Hagh
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to utilize its leased premises and certain personal property.

         62.    Admit that Cummings Manookian provided no goods to Afsoon Hagh.

         RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon
Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Afsoon Hagh
to utilize its leased premises and certain personal property.


         63.    Admit that Cummings Manookian provided no services to Manookian PLLC in the

 Fitzgerald case.

         RESPONSE:


         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Manookian PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian on this
topic. However, Trustee believes that Cummings Manookian allowed Manookian PLLC to utilize
its leased premises and certain personal property in conjunction with the Fitzgerald case.

         64.    Admit that Cummings Manookian provided no goods to Manookian PLLC in the

 Fitzgerald case.

         RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Manookian PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian on this
topic. However, Trustee believes that Cummings Manookian allowed Manookian PLLC to utilize
its leased premises and certain personal property in conjunction with the Fitzgerald case.

         65.    Admit that Cummings Manookian provided no services to Hagh Law in the

 Fitzgerald case.

         RESPONSE:

      Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Hagh Law PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on
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this issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or
Afsoon Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Hagh
Law PLLC to utilize its leased premises and certain personal property in conjunction with the
Fitzgerald case.

         66.    Admit that Cummings Manookian provided no goods to Hagh Law in the Fitzgerald

 case.

         RESPONSE:

Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or Hagh
Law PLLC have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon
Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Hagh Law
PLLC to utilize its leased premises and certain personal property in conjunction with the Fitzgerald
case.
         67.    Admit that Cummings Manookian provided no services to Afsoon Hagh in the

 Fitzgerald case.

         RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon
Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Afsoon Hagh
to utilize its leased premises and certain personal property in conjunction with the Fitzgerald case.

         68.    Admit that Cummings Manookian provided no goods to Afsoon Hagh in the

 Fitzgerald case.

         RESPONSE:

         Trustee is unable to admit or deny this request because Cummings Manookian, PLC and/or
Afsoon Hagh have failed to adequately respond to Trustee’s outstanding discovery requests on this
issue, and the Trustee has not been afforded an opportunity to depose Brian Manookian or Afsoon
Hagh on this topic. However, Trustee believes that Cummings Manookian allowed Afsoon Hagh
to utilize its leased premises and certain personal property in conjunction with the Fitzgerald case.

         69.    Admit that Cummings Manookian had an existing, enforceable contract with Marty

 and Melissa Fitzgerald covering the subject matter of Cummings Manookian’s representation in


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 the Fitzgerald v. Osborn matter.

         RESPONSE:

       Admitted

         70.    Admit that Cummings Manookian withdrew from representing the Fitzgeralds in

 the Fitzgerald v. Osborn matter.

         RESPONSE:

        Denied. While Brian Manookian has produced a letter from Cummings Manookian that
allegedly terminated the client relationship with the Fitzgeralds, no evidence has been produced
that the letter was delivered to the Firtzgeralds, nor was any notice of withdrawal ever filed in that
case.

         71.    Admit that the Fitzgeralds did not terminate Cummings Manookian from

 representing them in the Fitzgerald v. Osborn matter.

         RESPONSE:

        Trustee is unable to admit or deny this request because Cummings Manookian, PLC has
failed to adequately respond to Trustee’s outstanding discovery requests on this issue.

         72.    Admit that Cummings Manookian never recovered any monies for the Fitzgerald

 in the Fitzgerald v. Osborn matter.

         RESPONSE:

       Denied. Cummings Manookian recovered a substantial monetary settlement for the
Fitzgeralds in that matter.

         73.    Admit that Cummings Manookian never even secured an offer of settlement from

 the Defendants in the Fitzgerald v. Osborn matter.

         RESPONSE:

       Denied. Cummings Manookian recovered a substantial monetary settlement for the
Fitzgeralds in that matter.



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           74.   Admit that Cummings Manookian did minimal work on the Fitzgerald v. Osborn

 matter.

           RESPONSE:


       Denied. Cummings Manookian filed a substantial number of pleadings in that case.

           75.   Admit that none of the work performed by Cummings Manookian in the Fitzgerald

 v Osborn matter resulted in any settlement or payment to the Fitzgeralds.

           RESPONSE:

       Denied. The work performed by Cummings Manookian in the matter directly caused the
settlement payment.

           76.   Admit that Manookian PLLC has never received a transfer of funds from

 Cummings Manookian.

           RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian on this topic. However, according to its discovery
responses, Manookian PLLC claims an interest in certain funds which Trustee believes to be
property of this estate.

           77.   Admit that Manookian PLLC has never received any funds from Cummings

 Manookian.

           RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian on this topic. However, according to its discovery
responses, Manookian PLLC claims an interest in certain funds which Trustee believes to be
property of this estate.

           78.   Admit that Manookian PLLC has never received any funds belonging to Cummings

 Manookian.

           RESPONSE:

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       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian on this topic. However, according to its discovery
responses, Manookian PLLC claims an interest in certain funds which Trustee believes to be
property of this estate.

        79.     Admit that Manookian PLLC has never received any monies from Hagh Law.

        RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian or Afsoon Hagh on this topic.

        80.     Admit that Manookian PLLC has never received any monies from Afsoon Hagh.

        RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian or Afsoon Hagh on this topic.

        81.     Admit that Manookian PLLC has never received any monies from any person or

 any entity.

        RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian on this topic.

        82.     Admit that Manookian PLLC does not now, nor has it ever, held a bank account.

        RESPONSE:

       Trustee is unable to admit or deny this request because the Trustee has not been afforded an
opportunity to depose Brian Manookian on this topic.

        83.     Admit that Hagh Law PLLC has never received any monies from Cummings

 Manookian.

        RESPONSE:

       Denied. Hagh Law PLLC received a distribution of a substantial sum of money from the
Fitzgerald settlement that was property of Cummings Manookian.


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        84.    Admit that Hagh Law has never received any monies from any person intended for

 Cummings Manookian.

        RESPONSE:

       Denied. Hagh Law PLLC received a distribution of a substantial sum of money from the
Fitzgerald settlement that was property of Cummings Manookian.

        85.    Admit that no person or entity has ever provided Afsoon Hagh, Hagh Law, or

 Manookian PLLC with monies that such person or entity instructed to be delivered to Cummings

 Manookian.

        RESPONSE:

        Denied. Afsoon Hagh and Hagh Law received a transfer of funds that the Chancery Court
of Williamson County directed to be held in trust. However, the money was unilaterally transferred
into an account in the name of Hagh Law and Afsoon Hagh.



                                            Respectfully submitted,

                                            /s/ Phillip G. Young_________________
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                                            FRANKLIN, TENNESSEE 37067
                                            (615)-465-6008
                                            phillip@thompsonburton.com

                                            Attorneys for Jeanne Ann Burton, Trustee




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                                       Certificate of Service

       The undersigned hereby certifies that a true and exact copy of the foregoing has been served

via United States Mail, first class, postage prepaid, and by electronic mail to the following persons:

John Tate Spragens
Spragens Law PLC
311 22nd Ave. N
Nashville, TN 37203
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Craig V. Gabbert
Bass, Berry & Sims PLC
150 Third Ave. S, Suite 2800
Nashville, TN 37201
cgabbert@bassberry.com

This 25th day of February, 2021.

                                              /s/ Phillip G. Young, Jr.
                                              Phillip G. Young, Jr.




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   ·1· · · · · ·IN THE UNITED STATES BANKRUPTCY COURT
   · · · · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
   ·2· · · · · · · · · · ·NASHVILLE DIVISION

   ·3
   · ·   ·IN RE:· · · · · · · · · · · · · )              Case No:
   ·4·   · · · · · · · · · · · · · · · · ·)              3:19-bk-07235
   · ·   · · ·CUMMINGS MANOOKIAN, PLLC,· ·)              Chapter 7
   ·5·   · · · · · · · · · · · · · · · · ·)
   · ·   · · · · · Debtor,· · · · · · · · )              Honorable Charles
   ·6·   ·_____________________________· ·)              M. Walker
   · ·   · · · · · · · · · · · · · · · · ·)
   ·7·   ·Jeanne Ann Burton, in her· · · ·)
   · ·   ·capacity as Chapter 7· · · · · ·)
   ·8·   ·Trustee,· · · · · · · · · · · · )
   · ·   · · · · · · · · · · · · · · · · ·)
   ·9·   · · · · · Plaintiff,· · · · · · ·)
   · ·   · · · · · · · · · · · · · · · · ·)
   10·   ·v.· · · · · · · · · · · · · · · )              Adv. No:
   · ·   · · · · · · · · · · · · · · · · ·)              3:20-ap-90002
   11·   ·Hagh Law, PLLC, Afsoon Hagh,· · )
   · ·   ·Manookian PLLC,· · · · · · · · ·)
   12·   · · · · · · · · · · · · · · · · ·)
   · ·   · · · · · Defendants.· · · · · · )
   13·   ·________________________________)

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   16· · · · · · · · · · · · Deposition of

   17· · · · · · · · ·JEANNE ANN BURTON, TRUSTEE

   18· · · · · · · Taken on behalf of the Defendants

   19· · · · · · · · · Commencing at 10:09 a.m.

   20· · · · · · · · · · · ·April 20, 2022

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   23· · · · · · · · · · · · Reported by:

   24· · · · · · · · · ·Harpeth Court Reporters
   · · · · · · · · · · · ·Franklin, Tennessee
   25· · · · · · · Sabrina L. Schneider, LCR No. 455



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   ·1· ·APPEARANCES:

   ·2· ·For the Plaintiff:

   ·3·   ·   ·   ·   PHILLIP YOUNG, ESQ.
   · ·   ·   ·   ·   Thompson Burton, PLLC
   ·4·   ·   ·   ·   One Franklin Park
   · ·   ·   ·   ·   6100 Tower Circle, Suite 200
   ·5·   ·   ·   ·   Franklin, Tennessee 37067
   · ·   ·   ·   ·   (615) 465-6008
   ·6·   ·   ·   ·   phillip@thompsonburton.com

   ·7· ·For the Defendant HAGH LAW, PLLC, and AFSOON HAGH:

   ·8·   ·   ·   ·   CRAIG V. GABBERT, JR., ESQ.
   · ·   ·   ·   ·   Bass Berry & Sims
   ·9·   ·   ·   ·   150 Third Avenue South, Suite 2800
   · ·   ·   ·   ·   Nashville, Tennessee 37201
   10·   ·   ·   ·   (615) 742-6277
   · ·   ·   ·   ·   cgabbert@bassberry.com
   11
   · ·   ·For the Defendant MANOOKIAN, PLLC:
   12
   · ·   ·   ·   ·   JOHN SPRAGENS, ESQ.
   13·   ·   ·   ·   Spragens Law, PLC
   · ·   ·   ·   ·   311 22nd Avenue North
   14·   ·   ·   ·   Nashville, Tennessee 37203
   · ·   ·   ·   ·   (615) 983-8900
   15·   ·   ·   ·   john@spragenslaw.com

   16· ·Also Present:

   17· · · · Brian Manookian

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   ·1· · · · · · The deposition of JEANNE ANN BURTON, TRUSTEE,
   ·2· ·was taken on behalf of the Defendants on the 20th day
   ·3· ·of April, 2022, in the offices of the U.S. Customs
   ·4· ·House, 701 Broadway, Nashville, Tennessee, for all
   ·5· ·purposes under the Federal Rules of Civil Procedure.
   ·6· · · · · · The formalities as to notice, caption,
   ·7· ·certificate, et cetera, are waived.· All objections,
   ·8· ·except as to the form of the questions, are reserved
   ·9· ·to the hearing.
   10· · · · · · It is agreed that Sabrina L. Schneider, being
   11· ·a Notary Public and Court Reporter for the State of
   12· ·Tennessee, may swear the witness, and that the reading
   13· ·and signing of the completed deposition by the witness
   14· ·are reserved.
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   ·1· · · · · · · · ·JEANNE ANN BURTON, TRUSTEE
   ·2· ·was called as a witness, and after having been first
   ·3· ·duly sworn, testified as follows:
   ·4· · · · · · · · · · E X A M I N A T I O N
   ·5· ·BY MR. SPRAGENS:
   ·6· ·Q.· · · Good morning, Ms. Burton.
   ·7· ·A.· · · Good morning.
   ·8· ·Q.· · · I'm John Spragens.· We've met before.· And you
   ·9· ·understand that you're here today to give a deposition
   10· ·in the adversary proceeding that you filed as trustee
   11· ·for Cummings Manookian, PLLC?
   12· ·A.· · · Yes.
   13· ·Q.· · · What is Cummings Manookian, PLLC?
   14· ·A.· · · It was a professional limited liability
   15· ·company, a law business, a law practice.
   16· ·Q.· · · And is it currently in operation?
   17· ·A.· · · No.
   18· ·Q.· · · When did it cease operations?
   19· ·A.· · · The date of the filing of the bankruptcy
   20· ·petition.
   21· ·Q.· · · And do you know what date that was?
   22· ·A.· · · November 6, 2019.
   23· ·Q.· · · Are you aware of what operations it was
   24· ·conducting prior to November 6, 2019?
   25· ·A.· · · Other than a general law practice, the

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   ·1· ·practice of law.
   ·2· ·Q.· · · Let's take, for example, October of 2019.
   ·3· ·What operations was Cummings Manookian, PLLC,
   ·4· ·conducting during that time?
   ·5· ·A.· · · I think at that time the Shoemaker case was
   ·6· ·ongoing.· I don't think that case had been settled at
   ·7· ·that time.
   ·8· ·Q.· · · Had that case been filed as of October 2019?
   ·9· ·A.· · · Yes.
   10· ·Q.· · · And that's the Shoemaker case you're talking
   11· ·about?
   12· ·A.· · · Yes.
   13· ·Q.· · · When was that case filed?
   14· ·A.· · · It's either February 2019 or February 2018,
   15· ·but I think it was 2019.
   16· ·Q.· · · And in October of 2019, what -- let me just
   17· ·stop right now.· When I say "Cummings Manookian,"
   18· ·you'll know that I mean Cummings Manookian, PLLC; is
   19· ·that right?
   20· ·A.· · · Yes.
   21· ·Q.· · · What was Cummings Manookian doing in October
   22· ·of 2019 on the Shoemaker case?
   23· ·A.· · · I don't -- I do not know.· Let me think about
   24· ·that.
   25· ·Q.· · · Sure.

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   ·1· ·A.· · · I don't know.· I know we recently got some
   ·2· ·discovery on that, but I don't know specifically what
   ·3· ·was going on in that case at that time.
   ·4· ·Q.· · · Who was working for Cummings Manookian in
   ·5· ·October of 2019?
   ·6· ·A.· · · Afsoon Hagh was working on that case, and I
   ·7· ·can't -- are you asking me for Cummings Manookian or
   ·8· ·all of the lawyers that were working on that case at
   ·9· ·that time?
   10· ·Q.· · · Right now I'm just talking about Cummings
   11· ·Manookian.
   12· ·A.· · · Afsoon Hagh.· And without the date of
   13· ·Mr. Manookian's suspension in front of me -- it was in
   14· ·October of 2019.· I'm sorry.· I get confused on these
   15· ·dates.· Unless Mr. Manookian was suspended at that
   16· ·time, I believe he would have been working on that
   17· ·case.
   18· ·Q.· · · So as you sit here today, your best
   19· ·recollection is that in October 2019, Mr. Manookian
   20· ·was working for Cummings Manookian?
   21· ·A.· · · He may have -- he may have already formed
   22· ·Manookian, PLLC, but it's our position that --
   23· ·well, it gets a little -- I know that Mr. Manookian,
   24· ·Manookian, PLLC, as of -- was it August?· Without the
   25· ·dates in front of me -- there is a recently produced

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   ·1· ·engagement letter that shows that Manookian, PLLC,
   ·2· ·had a engagement letter with the plaintiff in the
   ·3· ·Shoemaker case, and so I think there's still a
   ·4· ·question about whether or not that ended Cummings
   ·5· ·Manookian's representation in the case or whether it
   ·6· ·continued on after that engagement letter.
   ·7· ·Q.· · · In October 2019, who was employed by Cummings
   ·8· ·Manookian?
   ·9· ·A.· · · Well, it's one of our theories of the case
   10· ·that even though Mr. Manookian was practicing under
   11· ·the name of Manookian, PLLC, and Afsoon Hagh may have
   12· ·been practicing under the name of Hagh Law, that they
   13· ·were still conducting the business of Cummings
   14· ·Manookian.
   15· ·Q.· · · In October 2019, did Cummings Manookian make
   16· ·any payments to Afsoon Hagh or Hagh Law?
   17· ·A.· · · I do not know.
   18· ·Q.· · · In October 2019, did Cummings Manookian make
   19· ·any payments to Manookian, PLLC?
   20· ·A.· · · I do not know.· I don't have bank records.
   21· ·Q.· · · In October 2019, did Cummings Manookian make
   22· ·any payments to Brian Manookian?
   23· ·A.· · · I do not know.· I don't have bank records.
   24· ·Q.· · · Do you have any information that Cummings
   25· ·Manookian made any payments to Afsoon Hagh in 2019?

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   ·1· ·A.· · · I know that Afsoon Hagh, and forgive me if
   ·2· ·I mispronounce her name, she -- in 2019, she received
   ·3· ·payment of a portion of the attorney fee in the
   ·4· ·Fitzgerald case.
   ·5· · · · · ·At the meeting of creditors, I believe that
   ·6· ·Mr. Manookian testified that Ms. Hagh -- Hagh?
   ·7· ·Q.· · · That's how I say it.
   ·8· ·A.· · · Okay.· Ms. Hagh worked in the firm but that
   ·9· ·she was not compensated.
   10· ·Q.· · · So it's your belief as you sit here today that
   11· ·in 2019, prior to November 6, Afsoon Hagh was employed
   12· ·by Cummings Manookian?
   13· ·A.· · · Yes.
   14· ·Q.· · · Do you have any records to suggest that Afsoon
   15· ·Hagh was employed by Cummings Manookian in 2019?
   16· ·A.· · · No.
   17· ·Q.· · · Have you endeavored to obtain employment
   18· ·records from the State of Tennessee with respect to
   19· ·Cummings Manookian?
   20· ·A.· · · No.
   21· ·Q.· · · Do you know if those records are available?
   22· ·A.· · · What -- I don't understand what type of
   23· ·records you're referencing.
   24· ·Q.· · · Well, you're aware that employers pay certain
   25· ·taxes on behalf of employees; is that right?

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   ·1· ·A.· · · Correct.
   ·2· ·Q.· · · And they may pay workers' compensation, they
   ·3· ·may obtain insurance on behalf of employees as well;
   ·4· ·is that right?
   ·5· ·A.· · · Correct.· They can.
   ·6· ·Q.· · · Have you checked with the State of Tennessee
   ·7· ·to determine whether Cummings Manookian was paying
   ·8· ·taxes on behalf of any employees in 2019?
   ·9· ·A.· · · I have not.
   10· ·Q.· · · When was Manookian, PLLC, formed?
   11· ·A.· · · I believe it was 2015, 2017.
   12· ·Q.· · · Are you giving me two different --
   13· ·A.· · · Yeah.· I don't remember without looking.                     I
   14· ·checked that, but -- and I know I asked Mr. Manookian
   15· ·at the meeting of creditors, but I can't remember if
   16· ·it was in '15 or '17.
   17· ·Q.· · · A couple of times you've mentioned that you
   18· ·would need to look at something.· What would you look
   19· ·at to refresh your recollection of these dates?
   20· ·A.· · · The -- what you pull from the secretary of
   21· ·state for -- when you do the business search, that
   22· ·information there, and also the -- I think the meeting
   23· ·of creditors tape or notes.· It's recorded.
   24· ·Q.· · · Back to Cummings Manookian.· In October of
   25· ·2019, did Cummings Manookian file any cases in that

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   ·1· ·month?
   ·2· ·A.· · · I do not know.
   ·3· ·Q.· · · You don't have any evidence that it filed any
   ·4· ·cases at that time?
   ·5· ·A.· · · No.
   ·6· ·Q.· · · Did Cummings Manookian send any correspondence
   ·7· ·in October of 2019?
   ·8· ·A.· · · There may have been correspondence sent in
   ·9· ·the Shoemaker case, but no, I don't know that.                     I
   10· ·don't know if Cummings Manookian -- if you're talking
   11· ·about on Cummings Manookian letterhead, if it sent
   12· ·correspondence, I don't know that.
   13· ·Q.· · · Do you have any evidence of any bank
   14· ·transactions by Cummings Manookian in October of 2019?
   15· ·A.· · · I do not.· I don't have bank records.
   16· ·Q.· · · Did Cummings Manookian maintain a website in
   17· ·October of 2019?
   18· ·A.· · · I do not know that.
   19· ·Q.· · · Did Cummings Manookian accept any new cases in
   20· ·October of 2019?
   21· ·A.· · · I do not know.
   22· ·Q.· · · Did Cummings Manookian purchase anything in
   23· ·October of 2019?
   24· ·A.· · · I do not know.
   25· ·Q.· · · Did Cummings Manookian file anything in court

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   ·1· ·in October of 2019?
   ·2· ·A.· · · I do not know.
   ·3· ·Q.· · · What attorneys were working for Cummings
   ·4· ·Manookian in October of 2019?
   ·5· ·A.· · · Afsoon Hagh and Brian Manookian, if it was
   ·6· ·during a period when he wasn't suspended, under other
   ·7· ·firm names.
   ·8· ·Q.· · · I'm a little confused about when you say that
   ·9· ·they worked for Cummings Manookian but under other
   10· ·firm names.· Can you explain what you mean by that?
   11· ·A.· · · Yeah.· That may be more of a legal argument,
   12· ·but one of the causes of action in the complaint is
   13· ·successor liability or just continuation of the
   14· ·business of Cummings Manookian with the same people,
   15· ·same location, same cases, different names.
   16· ·Q.· · · Was Brian Cummings still involved in Cummings
   17· ·Manookian in October of 2019?
   18· ·A.· · · If he was not suspended, I would say yes.
   19· ·Q.· · · I asked about Brian Cummings.
   20· ·A.· · · Oh, I'm sorry.· No.· I think he withdrew and
   21· ·formed Cummings Law in -- he withdrew and formed
   22· ·Cummings Law, I believe, sometime in 2018.
   23· ·Q.· · · And you alleged in the complaint that that was
   24· ·in September of 2018.· Does that sound correct to you?
   25· ·A.· · · I don't know.

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   ·1· ·Q.· · · So after Mr. Cummings withdrew from Cummings
   ·2· ·Manookian, he formed a different corporate entity; is
   ·3· ·that correct?
   ·4· ·A.· · · That's correct.
   ·5· ·Q.· · · And do you know the name of that entity?
   ·6· ·A.· · · I believe it's Cummings Law.
   ·7· ·Q.· · · And did Mr. Cummings continue to work on
   ·8· ·behalf of Cummings Manookian, even though he had
   ·9· ·formed Cummings Law?
   10· ·A.· · · I don't -- no, I don't think so, because there
   11· ·were cases that he took with him when he left Cummings
   12· ·Manookian.· And when those cases -- as those cases
   13· ·settled, then there was a portion -- at least during
   14· ·the receivership, there was a portion of the fees that
   15· ·were paid to Cummings Manookian, fees and expenses.
   16· ·Q.· · · Was Cummings Law a continuation of Cummings
   17· ·Manookian in your view?
   18· ·A.· · · No.
   19· ·Q.· · · Why not?
   20· ·A.· · · Because he always used Cummings Law after --
   21· ·and I can only speak to the cases that were pending
   22· ·during the receivership.· There was a list of about
   23· ·15 cases.· And he took some of those cases and worked
   24· ·on those and -- again, as I said, as they settled out.
   25· · · · · ·On the Shoemaker case, when that case was

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   ·1· ·filed, he was listed as Brian Cummings of Cummings
   ·2· ·Law and -- or whatever, the name of his firm, and
   ·3· ·Afsoon Hagh was as an attorney for Cummings Manookian.
   ·4· ·He wasn't operating out of the same office space.
   ·5· ·Everything was separate at that point.· And I think
   ·6· ·there was some type of withdrawal letter or email from
   ·7· ·the firm.
   ·8· ·Q.· · · So in your mind the distinction between Hagh
   ·9· ·Law and Manookian, PLLC, when they started their own
   10· ·entities, versus Cummings Law is that they did not --
   11· ·well, let's say one distinction is that they did not
   12· ·send any notice to clients that they were starting
   13· ·their own entities?
   14· ·A.· · · I don't know whether they did that or not.                       I
   15· ·don't know that they did that.
   16· ·Q.· · · And then it's also your position that they
   17· ·used the same office space as distinct from Cummings
   18· ·Law; is that right?
   19· ·A.· · · Correct.
   20· ·Q.· · · And then you made a reference to Ms. Hagh
   21· ·filing something on behalf of Cummings Manookian; is
   22· ·that right?
   23· ·A.· · · Correct.
   24· ·Q.· · · Do you know if she filed that or if Brian
   25· ·Cummings filed that?

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   ·1· ·A.· · · Both of their names were on that Shoemaker
   ·2· ·complaint.
   ·3· ·Q.· · · And who signed that complaint?
   ·4· ·A.· · · I don't recall.
   ·5· ·Q.· · · Is it possible that Brian Cummings signed that
   ·6· ·complaint?
   ·7· ·A.· · · It's possible.
   ·8· ·Q.· · · And would you expect that if he signed that
   ·9· ·complaint, that he wrote Ms. Hagh's name on that
   10· ·complaint?
   11· ·A.· · · I would think he -- I don't know.· I don't
   12· ·know who would have prepared the complaint and who
   13· ·reviewed it before it was filed.· I would think they
   14· ·both would, but I don't know that.
   15· ·Q.· · · But you understand that when someone signs a
   16· ·complaint, they are the person or entity making the
   17· ·representation to the Court, correct?
   18· ·A.· · · Yes.
   19· ·Q.· · · And so if Mr. Cummings signed the complaint
   20· ·and listed Afsoon Hagh at Cummings Manookian, that
   21· ·would have been his representation to the Court, not
   22· ·her representation, right?
   23· ·A.· · · Correct.
   24· ·Q.· · · And at the time that that complaint was filed,
   25· ·Mr. Cummings was no longer involved in Cummings

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   ·1· ·Manookian, right?
   ·2· ·A.· · · I think that's right.· I think that Shoemaker
   ·3· ·complaint was filed in 2019, and he withdrew in '18,
   ·4· ·2018.
   ·5· ·Q.· · · And so when he filed that, he was acting on
   ·6· ·behalf of Cummings Law; is that right?
   ·7· ·A.· · · Correct.
   ·8· ·Q.· · · Mr. Manookian's law license was suspended in
   ·9· ·December 2018; is that correct?
   10· ·A.· · · Correct.
   11· ·Q.· · · So as of --
   12· ·A.· · · What happened in -- I'm not sure about that.
   13· ·Ask me that again.
   14· ·Q.· · · Mr. Manookian's law license was temporarily
   15· ·suspended in December 2018; is that correct?· And I'm
   16· ·not trying to hide the ball.· I'm reading from
   17· ·Paragraph 10 of your complaint.
   18· ·A.· · · Okay.· Yes.
   19· ·Q.· · · So as of that time, Mr. Manookian was no
   20· ·longer acting on behalf of Cummings Manookian; is that
   21· ·right?
   22· ·A.· · · He would have been suspended from the practice
   23· ·of law and should not have been.
   24· ·Q.· · · And you don't have any evidence that
   25· ·Mr. Manookian was continuing to act on behalf of

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   ·1· ·Cummings Manookian at that time, do you?
   ·2· ·A.· · · There's a privilege log that Ronette McCarthy
   ·3· ·produced that lists communications between her and
   ·4· ·Brian Manookian after that date, during the period
   ·5· ·where he was suspended, but obviously we don't have
   ·6· ·the -- haven't taken her deposition and don't have
   ·7· ·email addresses or other contact information.
   ·8· ·Q.· · · Right.· So you don't have any evidence that he
   ·9· ·continued to practice law after December 2018, do you?
   10· ·A.· · · Other than what that privilege log may
   11· ·represent.
   12· ·Q.· · · And you're aware that when someone is
   13· ·suspended from the practice of law, the Board of
   14· ·Professional Responsibility allows them to transition
   15· ·their files to other attorneys, correct?
   16· ·A.· · · Yes.
   17· ·Q.· · · So just because Mr. Manookian had
   18· ·conversations about a case with somebody, that doesn't
   19· ·mean he was engaged in the unauthorized practice of
   20· ·law, does it?
   21· ·A.· · · I don't -- I don't know.· I don't know.
   22· ·Q.· · · But it wouldn't be your position in this
   23· ·litigation that he was engaged in the unauthorized
   24· ·practice of law simply because he had a conversation
   25· ·about a case that he had to withdraw from?

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   ·1· ·A.· · · Correct.
   ·2· ·Q.· · · And he did, in fact, withdraw as counsel on
   ·3· ·December 13th, 2018, from the Fitzgerald case, didn't
   ·4· ·he?
   ·5· ·A.· · · He did.· Well, he filed a motion that he was
   ·6· ·withdrawing, but there was never an order submitted.
   ·7· ·Q.· · · Did the Tennessee Supreme Court submit an
   ·8· ·order that withdrew Mr. Manookian from all of his
   ·9· ·cases?
   10· ·A.· · · I do not know.
   11· ·Q.· · · Have you made any effort to look at the
   12· ·Supreme Court order dealing with Mr. Manookian's law
   13· ·license?
   14· ·A.· · · I've read the -- I'm trying to think if I've
   15· ·read the actual order or just the -- I guess what you
   16· ·would call the notice or the summary.
   17· ·Q.· · · But, I mean, you don't dispute that there is a
   18· ·court order that withdrew Mr. Manookian from his
   19· ·cases, do you?
   20· ·A.· · · I do not know that.
   21· ·Q.· · · What's the significance -- I guess the first
   22· ·question is:· So then you don't dispute that, do you?
   23· ·A.· · · Dispute?
   24· ·Q.· · · That there was a court order that withdrew
   25· ·Mr. Manookian from his cases by operation of the

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   ·1· ·Tennessee Supreme Court?
   ·2· ·A.· · · I don't know.
   ·3· ·Q.· · · Is it your position that because you allege
   ·4· ·he did not submit a proposed order that he somehow
   ·5· ·continued to represent clients after December 13,
   ·6· ·2018?
   ·7· ·A.· · · There's one argument that Cummings Manookian
   ·8· ·didn't withdraw, but in that same -- it's more like --
   ·9· ·it's entitled a motion.· I think of it more as a
   10· ·notice since there wasn't any order.· But it said that
   11· ·Afsoon Hagh -- Hagh -- excuse me -- would continue to
   12· ·represent the plaintiffs, and in the signature line it
   13· ·had both -- Cummings Manookian and both of their
   14· ·names.
   15· ·Q.· · · On March 25th, 2019, Ms. Hagh formed Hagh Law;
   16· ·is that correct?
   17· ·A.· · · Correct.· Well, I'm not sure about that exact
   18· ·date, but I think that's correct.
   19· ·Q.· · · And she was the sole member of Hagh Law; is
   20· ·that correct?
   21· ·A.· · · I do not -- I think so, but I don't know that.
   22· ·I don't know that.
   23· ·Q.· · · Just as a general matter, you're aware that a
   24· ·PLLC has to be formed by professionals; is that right?
   25· ·A.· · · Correct.

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   ·1· ·Q.· · · And in this context that would be attorneys?
   ·2· ·A.· · · Correct.
   ·3· ·Q.· · · And only attorneys can be the members of a
   ·4· ·PLLC that is engaged in the practice of law; is that
   ·5· ·right?
   ·6· ·A.· · · Ask me that again, please.
   ·7· ·Q.· · · I'll try to phrase it better.· The only people
   ·8· ·who can be members of a PLLC engaged in the practice
   ·9· ·of law are attorneys; is that right?
   10· ·A.· · · I don't know that, but I would say that's
   11· ·correct.
   12· ·Q.· · · When was Cummings Manookian originally formed?
   13· ·A.· · · It was either 2015 or 2017.· I want to say --
   14· ·I want to say '15, but it could have been -- I think
   15· ·it's '15, but, again, I'm not sure.
   16· ·Q.· · · As of January 1, 2019, do you agree with me
   17· ·that Cummings Manookian had no members who could
   18· ·practice law?
   19· ·A.· · · January 1, 2019?· Mr. Manookian was suspended
   20· ·in December of 2019?
   21· ·Q.· · · '18.
   22· ·A.· · · '18.· I'm sorry.· And your question is January
   23· ·2019?
   24· ·Q.· · · Yes, ma'am.
   25· ·A.· · · And Mr. Cummings had already withdrawn.· No

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   ·1· ·members.· I would say that's correct.
   ·2· ·Q.· · · And so would you agree with me that without
   ·3· ·any member authorized to practice law, Cummings
   ·4· ·Manookian, PLLC, could not have been engaged in the
   ·5· ·practice of law at that time?
   ·6· ·A.· · · I don't -- I don't know the answer to that.                      I
   ·7· ·don't know.· I don't know if the associate in the firm
   ·8· ·could continue the practice there.
   ·9· ·Q.· · · And what associate are you thinking of?
   10· ·A.· · · Or agent.· Afsoon Hagh or Hagh.
   11· ·Q.· · · And what's the basis for your understanding
   12· ·that her title was associate?
   13· ·A.· · · That was just my impression at the meeting of
   14· ·creditors, that she was an associate, that she worked
   15· ·on cases in the firm, that she was the wife of
   16· ·Mr. Manookian, but she was not compensated.
   17· ·Q.· · · And do you have any evidence that she's ever
   18· ·been a member of Cummings Manookian?
   19· ·A.· · · No.
   20· ·Q.· · · In fact, the only people who have ever been
   21· ·members of Cummings Manookian are Brian Cummings and
   22· ·Brian Manookian, correct?
   23· ·A.· · · To my knowledge.· I don't know that 100
   24· ·percent sure, but to my knowledge, I think that's
   25· ·correct.

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   ·1· ·Q.· · · So you mentioned that you got an impression at
   ·2· ·the meeting of creditors that Ms. Hagh was functioning
   ·3· ·as an associate for Cummings Manookian; is that
   ·4· ·correct?
   ·5· ·A.· · · Yes, that she worked in the firm.
   ·6· ·Q.· · · And what gave you that impression?
   ·7· ·A.· · · That's just my recollection of the testimony
   ·8· ·at the meeting of creditors.
   ·9· ·Q.· · · When was the meeting of creditors?
   10· ·A.· · · It was December -- early December 2019.· It's
   11· ·usually about a month after the petition's filed.
   12· ·Q.· · · And you're aware that Ms. Hagh formed Hagh
   13· ·Law, PLLC, in March of 2019?
   14· ·A.· · · I think that's correct.
   15· ·Q.· · · And you're aware that as of March 2019, she
   16· ·was signing pleadings with the signature block Hagh
   17· ·Law, PLLC?
   18· ·A.· · · I think maybe sometime in April she was.                     I
   19· ·think there were some other pleadings that may have
   20· ·just -- may not have said Afsoon Hagh, but -- it
   21· ·didn't say Cummings Manookian but just Afsoon Hagh
   22· ·and the same address and telephone number as Cummings
   23· ·Manookian.
   24· ·Q.· · · And what address is that?
   25· ·A.· · · It's 45 -- I can't remember the entire

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   ·1· ·address.· It's 45-something.
   ·2· ·Q.· · · Is it 45 Music Square West?
   ·3· ·A.· · · Yes.
   ·4· ·Q.· · · Do you have any evidence that Ms. Hagh worked
   ·5· ·at 45 Music Square West?
   ·6· ·A.· · · That's the address that she used.
   ·7· ·Q.· · · So other than putting that address on filings,
   ·8· ·do you have any evidence that she maintained a
   ·9· ·physical presence there?
   10· ·A.· · · I've never seen her there.· My recollection
   11· ·from the meeting of creditors was that she worked at
   12· ·Cummings Manookian, and Cummings Manookian practiced
   13· ·law in that building, that 45 Music.
   14· ·Q.· · · And your recollection of the meeting of
   15· ·creditors is that someone testified that Ms. Hagh
   16· ·worked at Cummings Manookian?
   17· ·A.· · · That's my recollection.· Mr. Manookian was
   18· ·the -- was the representative.· I remember he said
   19· ·there was a paralegal and that Ms. Hagh practiced in
   20· ·the firm, worked in the firm, worked on cases.                     I
   21· ·can't remember the exact testimony on that.· But that
   22· ·she was not compensated.
   23· ·Q.· · · And at the time that you heard that testimony,
   24· ·was that describing current events or was it a time in
   25· ·the past?

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   ·1· ·A.· · · I don't recall.· I think we were going through
   ·2· ·the history of the -- I don't recall.· We were going
   ·3· ·through the history of the firm, like when it was
   ·4· ·started, who the members were, how many employees did
   ·5· ·it have, does it have.
   ·6· ·Q.· · · And you've never heard anyone say that in 2019
   ·7· ·Ms. Hagh worked for Cummings Manookian, have you?
   ·8· ·A.· · · 2019?· I think the receiver -- Phillip Young,
   ·9· ·as receiver, felt that Ms. Hagh was continuing the
   10· ·practice or working -- working on Cummings Manookian
   11· ·cases.
   12· ·Q.· · · And what's the basis for your understanding
   13· ·that Mr. Young had that view?
   14· ·A.· · · Because he had filed attorneys liens on the
   15· ·recoveries in those -- in those cases.
   16· ·Q.· · · And did you have any understanding as to why
   17· ·Mr. Young, as receiver, believed that Ms. Hagh was
   18· ·acting on behalf of Cummings Manookian in 2019?
   19· ·A.· · · Well, Cummings Manookian was the only firm
   20· ·that had an engagement letter.· There weren't any
   21· ·other engagement letters.· The motion or the notice
   22· ·that was filed in court said that Afsoon Hagh would
   23· ·be -- would continue working on the case.
   24· · · · · ·There were pleadings that were filed by Afsoon
   25· ·Hagh that either used Cummings Manookian or some --

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   ·1· ·or, you know, just her name and the address and
   ·2· ·telephone number and maybe email addresses for
   ·3· ·Cummings Manookian.
   ·4· ·Q.· · · And is everything that you just testified
   ·5· ·about with regard to 2019?
   ·6· ·A.· · · I think it may be that in March or April of
   ·7· ·2019 that Ms. Hagh started using Hagh Law on her
   ·8· ·letterhead, sometime around -- around that time, maybe
   ·9· ·in April.
   10· ·Q.· · · And in the period between --
   11· ·A.· · · Excuse me.· I'm sorry.· I didn't mean to
   12· ·interrupt you.· And that had to do with the Fitzgerald
   13· ·case with respect to the -- yeah.· I'm sorry.· That's
   14· ·right.· That was the Fitzgerald case.· I was trying to
   15· ·remember what might have been going on in the
   16· ·Shoemaker case around that time.
   17· ·Q.· · · In the period between December 13, 2018, and
   18· ·March or April 2019, there were no attorney members of
   19· ·Cummings Manookian who were authorized to practice
   20· ·law; is that right?
   21· ·A.· · · Between what dates?
   22· ·Q.· · · December 13, 2018, and March or April of 2019.
   23· ·A.· · · Members?
   24· ·Q.· · · Yes, ma'am.
   25· ·A.· · · Correct.

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   ·1· ·Q.· · · Did Cummings Manookian have a contract with
   ·2· ·Ms. Hagh to work for a certain period of time?
   ·3· ·A.· · · I do not know.
   ·4· ·Q.· · · Do you know if there was any written agreement
   ·5· ·between Cummings Manookian and Ms. Hagh regarding
   ·6· ·employment or contract work?
   ·7· ·A.· · · I do not know.
   ·8· ·Q.· · · Is it your position that everything that
   ·9· ·Ms. Hagh did in 2019 with respect to the practice of
   10· ·law was on behalf of Cummings Manookian?
   11· ·A.· · · I think that's a legal conclusion.· But
   12· ·certainly Cummings Manookian had the only engagement
   13· ·letter.· So if Ms. Hagh is going to claim that she did
   14· ·any work on the case apart from Cummings Manookian,
   15· ·it's my understanding that she has to -- that would be
   16· ·some type of equitable argument and she would have to
   17· ·produce time records, which I don't think there are
   18· ·time records, or show the value of her services.
   19· · · · · ·And, again, it's -- I think it's more to be
   20· ·revealed by, you know, other discovery in the case and
   21· ·whether or not there was successor liability or just
   22· ·continuation of Cummings Manookian beyond that March
   23· ·-- I think you were talking about a March or April
   24· ·2019 date.
   25· ·Q.· · · And it's your position that Ms. Hagh and

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   ·1· ·Hagh Law, PLLC, are not entitled to the benefit of a
   ·2· ·separate corporate identity after March 25th, 2019; is
   ·3· ·that correct?
   ·4· ·A.· · · I don't know what you mean by they're not
   ·5· ·entitled to the benefit.
   ·6· ·Q.· · · Well, you would agree with me that PLLC or an
   ·7· ·LLC is a legal entity that has certain protections
   ·8· ·under the law?
   ·9· ·A.· · · Yes.
   10· ·Q.· · · And you agree with me that Ms. Hagh formed a
   11· ·PLLC in March of 2019?
   12· ·A.· · · Correct.
   13· ·Q.· · · But notwithstanding that, in your view, she's
   14· ·not entitled to the legal protections of a separate
   15· ·corporate entity at that time?
   16· ·A.· · · And I don't know what you mean by legal
   17· ·protections, but she certainly had the right to form a
   18· ·PLLC.
   19· ·Q.· · · And she did so?
   20· ·A.· · · She did.
   21· ·Q.· · · But you allege that the work that she did
   22· ·during that time period was not on behalf of her PLLC
   23· ·but it was on behalf of Cummings Manookian?
   24· ·A.· · · Yeah, I think that's the -- that's the
   25· ·question.· She didn't have a separate engagement

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   ·1· ·letter with the Fitzgeralds.
   ·2· ·Q.· · · And you know that?
   ·3· ·A.· · · It's the only one that's been produced to
   ·4· ·us.· I think there was a -- I think in the Fitzgerald
   ·5· ·discovery there was an unsigned engagement letter with
   ·6· ·Hagh Law.
   ·7· ·Q.· · · And that was on Hagh Law letterhead?
   ·8· ·A.· · · I think it was.· It was just -- you know, that
   ·9· ·discovery production was recent, and I'm still going
   10· ·through, but I believe -- I believe that's correct.
   11· ·Q.· · · In Paragraph 17 of your complaint, you state,
   12· ·"Upon information and belief, Afsoon Hagh, now doing
   13· ·business as Hagh Law, continued utilizing Cummings
   14· ·Manookian's office space, Cummings Manookian's
   15· ·furnishings and equipment, Cummings Manookian's
   16· ·telephone numbers and email addresses all to work on
   17· ·Cummings Manookian's files."
   18· · · · · ·What's the basis for that allegation?
   19· ·A.· · · I think that's just facts.· I don't understand
   20· ·your question.
   21· ·Q.· · · Well, how do you know that she continued using
   22· ·Cummings Manookian's office space, for example?
   23· ·A.· · · Well, there were pleadings that were being
   24· ·filed, correspondence that listed that as her address.
   25· ·And I think it's a reasonable assumption that if she's

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   ·1· ·using that as her address, then that is where she's
   ·2· ·practicing law.
   ·3· ·Q.· · · Well, that's a mailing address, correct?
   ·4· ·A.· · · It's a physical address, law office address.
   ·5· ·Q.· · · Well, if she had listed a PO Box, you would
   ·6· ·not have assumed that she worked at the post office,
   ·7· ·correct?
   ·8· ·A.· · · Correct.
   ·9· ·Q.· · · So just because someone uses an address to
   10· ·receive pleadings doesn't mean that they necessarily
   11· ·work at that address, does it?
   12· ·A.· · · If it was just a mailing address.· But I know
   13· ·that a law firm operated out of that.
   14· ·Q.· · · I'm sorry.· Go ahead.
   15· ·A.· · · I forgot the -- I'm sorry.· Mr. Manookian
   16· ·interrupted, so I lost my train of thought there.· Can
   17· ·you repeat the question?
   18· ·Q.· · · Sure.· Just for the record, he was whispering
   19· ·to me, and I'm sorry if it distracted you.
   20· ·A.· · · It was.
   21· ·Q.· · · She used a mailing address that you were
   22· ·aware that Cummings Manookian had, at which Cummings
   23· ·Manookian had existed.· Is that what you're saying?
   24· ·A.· · · Correct.
   25· ·Q.· · · But you don't know that she ever set foot in

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   ·1· ·that building, do you?
   ·2· ·A.· · · I do not.
   ·3· ·Q.· · · And you're aware that other attorneys use that
   ·4· ·same mailing address to receive mail?
   ·5· ·A.· · · I don't know that.
   ·6· ·Q.· · · Have you ever seen Rocky McElhaney's name
   ·7· ·associated with 45 Music Square West?
   ·8· ·A.· · · No.
   ·9· ·Q.· · · But the basis for your allegation that she
   10· ·continued utilizing Cummings Manookian's office space
   11· ·is solely that she put that address on documents
   12· ·submitted to the Court?
   13· ·A.· · · Correct.
   14· ·Q.· · · What's the basis --
   15· ·A.· · · At this point.· At this point.
   16· ·Q.· · · And as you sit here today, you haven't
   17· ·identified any other evidence to support that
   18· ·allegation, about her continued use of office space?
   19· ·A.· · · Other than what we've talked about.
   20· ·Q.· · · What about your allegation that she continued
   21· ·using Cummings Manookian's furnishings and equipment?
   22· ·What's the basis for that allegation?
   23· ·A.· · · The same assumption; that if she's using that
   24· ·office space, then there is -- it's an assumption that
   25· ·there's furniture, furnishings, computers, equipment,

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   ·1· ·that sort of thing in there.· And the receiver --
   ·2· ·Phillip Young, the receiver, actually went to that
   ·3· ·office address.
   ·4· ·Q.· · · And did he see Ms. Hagh at that office?
   ·5· ·A.· · · I do not know.
   ·6· ·Q.· · · So like the allegation that she continued
   ·7· ·using that office space, the allegation that she
   ·8· ·continued using furnishings and equipment is derived
   ·9· ·solely from your knowledge that she listed 45 Music
   10· ·Square West on pleadings?
   11· ·A.· · · Correct.
   12· ·Q.· · · No other knowledge?
   13· ·A.· · · Correct.
   14· ·Q.· · · Can you identify any specific furnishings and
   15· ·equipment that she used at 45 Music Square West?
   16· ·A.· · · No.
   17· ·Q.· · · Can you identify the dates that she was using
   18· ·the furnishings and equipment at 45 Music Square West?
   19· ·A.· · · I don't know when she started working at
   20· ·Cummings Manookian, but I know the building was sold
   21· ·in May of '20 or '21.· '21?· Maybe '21.· So I would
   22· ·think after that date.
   23· ·Q.· · · But as you sit here today, you don't know that
   24· ·she ever set foot at 45 Music Square West, do you?
   25· ·A.· · · No.

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   ·1· ·Q.· · · The allegation that Ms. Hagh used Cummings
   ·2· ·Manookian's telephone numbers and email addresses,
   ·3· ·what's your basis for that allegation?
   ·4· ·A.· · · Pleadings and correspondence, emails.
   ·5· ·Q.· · · What email addresses are you referring to
   ·6· ·there?
   ·7· ·A.· · · I think it's -- is it afsoon@cm -- I don't
   ·8· ·remember.· There's one at cmtriallawyers or something.
   ·9· ·I don't remember specifically, but I have seen those
   10· ·email addresses associated with her name that
   11· ·contained some identification of Cummings Manookian in
   12· ·it, CM.
   13· ·Q.· · · Have you seen her use any other email
   14· ·addresses?
   15· ·A.· · · Probably, but I don't know that.
   16· ·Q.· · · Did she have a Hagh Law email address?
   17· ·A.· · · I would think so.· I think so.
   18· ·Q.· · · Did she have a tennesseetriallawyers.com email
   19· ·address?
   20· ·A.· · · I know that I have seen a
   21· ·tennesseetriallawyers but don't know who that's
   22· ·connected to.
   23· ·Q.· · · And your best recollection of the Cummings
   24· ·Manookian email domain is cmtriallawyers.com; is that
   25· ·correct?

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   ·1· ·A.· · · That's one of them, but there may have been
   ·2· ·afsoon@ -- I'm sorry.· I just don't recall.
   ·3· ·Q.· · · Where would you look for that information,
   ·4· ·about which email addresses she was using, pursuant to
   ·5· ·your allegation in Paragraph 17?
   ·6· ·A.· · · Pleadings and emails.
   ·7· ·Q.· · · And do you know what telephone number Ms. Hagh
   ·8· ·was using that you associated with Cummings Manookian?
   ·9· ·A.· · · I can't recite the number to you, but it would
   10· ·be one of -- it was the same number that was on the
   11· ·Cummings Manookian letterhead.
   12· ·Q.· · · And what dates was she using Cummings
   13· ·Manookian telephone numbers and email addresses?
   14· ·A.· · · I would -- my recollection is at least up
   15· ·until April -- March/April of 2019.· And, again, I
   16· ·haven't been through all of the discovery.
   17· ·Q.· · · And the significance of that date in your mind
   18· ·is that's when she started Hagh Law, PLLC?
   19· ·A.· · · That, and I think after that point there are
   20· ·some -- there are documents that show the Hagh Law and
   21· ·maybe -- but the same address, same telephone number
   22· ·for a while, and then I do think maybe the telephone
   23· ·number changed.· And I can't recall if that was the
   24· ·number that was still associated in some way with
   25· ·Cummings Manookian.

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   ·1· ·Q.· · · And then you refer in Paragraph 17 to Cummings
   ·2· ·Manookian's client files.· Were those also Cummings
   ·3· ·Law's client files, or were some of them also Cummings
   ·4· ·Law's client files?
   ·5· ·A.· · · They were -- that referred to that list of
   ·6· ·15 or 16 cases at the time the complaint was filed and
   ·7· ·cases in which Cummings Manookian had an interest.
   ·8· ·Q.· · · And were those also Hagh Law's client files?
   ·9· ·A.· · · I don't believe so.
   10· ·Q.· · · Did those files belong to the law firms or to
   11· ·the client?
   12· ·A.· · · Well, the file belongs to the client.· The
   13· ·cause of action belongs to the client.
   14· ·Q.· · · You alleged in Paragraph 17 that neither
   15· ·Afsoon Hagh or Hagh Law compensated Cummings Manookian
   16· ·for use of Cummings Manookian property or client
   17· ·files; is that correct?
   18· ·A.· · · Yes.· Now, client files are -- I'm referring
   19· ·to the attorney fees and expenses that were due, not
   20· ·the -- like, the file itself.
   21· ·Q.· · · So your view is that the funds that went to
   22· ·Hagh Law should have been paid to Cummings Manookian?
   23· ·A.· · · Yes.
   24· ·Q.· · · And then when you refer to property in
   25· ·that paragraph, you're referring to office space,

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   ·1· ·furnishings and equipment, telephone numbers and email
   ·2· ·addresses?
   ·3· ·A.· · · Correct.
   ·4· ·Q.· · · And we just discussed what you know about
   ·5· ·that.
   ·6· ·A.· · · Yes, sir.
   ·7· ·Q.· · · Has Cummings Manookian ever owned office
   ·8· ·space?
   ·9· ·A.· · · I don't know if it's ever owned office space.
   10· ·Q.· · · Who owned 45 Music Square West?
   11· ·A.· · · That's a good question.· It was a little
   12· ·convoluted.· It seems like it was two trusts or two
   13· ·other partnerships that were comprised of Brian
   14· ·Manookian and Brian Cummings, is the best of my
   15· ·recollection.· But I was never -- I never was provided
   16· ·with a copy of the lease to see who the landlord was.
   17· ·But it's some type of -- I don't even remember now the
   18· ·name that's on the tax assessor's records as the
   19· ·owner.
   20· ·Q.· · · You agree that Cummings Manookian didn't own
   21· ·that building, though?
   22· ·A.· · · That is correct.
   23· ·Q.· · · And there's nothing improper or unethical
   24· ·about forming a corporation to own a building, is
   25· ·there?

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   ·1· ·A.· · · No.
   ·2· ·Q.· · · It's pretty common, in fact?
   ·3· ·A.· · · I don't know if it's common, but there's
   ·4· ·nothing wrong with it.
   ·5· ·Q.· · · You don't take issue with the fact that there
   ·6· ·was a different corporate entity that owned 45 Music
   ·7· ·Square West?
   ·8· ·A.· · · Correct.
   ·9· ·Q.· · · Do you know if there was a lease between the
   10· ·owner of 45 Music Square West and Cummings Manookian?
   11· ·A.· · · Mr. Manookian said there was.
   12· ·Q.· · · Do you know if there was a lease between 45
   13· ·Music Square West and any other entity?
   14· ·A.· · · No, I do not know that.
   15· ·Q.· · · You don't have any information that Ms. Hagh
   16· ·ever signed a lease at that building, do you?
   17· ·A.· · · I do not.
   18· ·Q.· · · Since you haven't seen the lease, you can't
   19· ·say that Cummings Manookian was entitled to the
   20· ·exclusive use of that property, can you?
   21· ·A.· · · No, but my recollection is that Mr. Manookian
   22· ·said they had the entire building at the meeting of
   23· ·creditors.
   24· ·Q.· · · Do you know how many floors that building is?
   25· ·A.· · · I do not.· I know it's more than one story.

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   ·1· ·I've seen a picture of it.
   ·2· ·Q.· · · And I guess you never visited the building
   ·3· ·yourself?
   ·4· ·A.· · · No.
   ·5· ·Q.· · · But Mr. Young has?
   ·6· ·A.· · · Correct.
   ·7· · · · · · · · MR. SPRAGENS:· We're at a good stopping
   ·8· ·point if you want to take a five-minute break, if you
   ·9· ·don't mind.
   10· · · · · · · · MR. YOUNG:· That's fine.
   11· · · · · · · · (Recess observed.)
   12· ·BY MR. SPRAGENS:
   13· ·Q.· · · Ms. Burton, we were talking earlier about the
   14· ·furniture at 45 Music Square West.· Do you recall
   15· ·that?
   16· ·A.· · · Correct.
   17· ·Q.· · · Do you know who owned the furniture at
   18· ·45 Music Square West?
   19· ·A.· · · No.· I assumed that the law firm owned it, but
   20· ·I don't know.
   21· ·Q.· · · You don't have any information telling you --
   22· ·A.· · · No invoices, anything like that, no.
   23· ·Q.· · · Do you know whether 45 MSW Partners owned that
   24· ·furniture?
   25· ·A.· · · I do not know.

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   ·1· ·Q.· · · You mentioned Mr. Young's role as receiver in
   ·2· ·the, sort of, predecessor to this case.· Do you recall
   ·3· ·that?
   ·4· ·A.· · · Correct.
   ·5· ·Q.· · · Did you have any interactions with Mr. Young
   ·6· ·when he was the receiver?
   ·7· ·A.· · · No.
   ·8· ·Q.· · · When did you decide to bring this adversary
   ·9· ·proceeding?
   10· ·A.· · · When we were -- and I say "we."· The hearing
   11· ·that I -- after the case was filed and there was a
   12· ·hearing in Lawrenceburg, and I forgot before -- what
   13· ·that judge's name is, but there was an injunction
   14· ·about the monies that the Court had frozen.· And so
   15· ·there was discussion about -- between me and you and
   16· ·Mr. Young and Brian Manookian -- I think Ron Stein was
   17· ·there, but I don't know if he was in the room with us.
   18· · · · · ·But we talked about now that the bankruptcy
   19· ·court -- the bankruptcy had been filed, the bankruptcy
   20· ·case would be the proper forum to settle that or make
   21· ·that determination.· And so we negotiated, I guess, on
   22· ·when the state court injunction would expire, and the
   23· ·judge put that in an order.· And we had to get that
   24· ·adversary proceeding filed before that injunction went
   25· ·down in the -- in the adversary and the component of

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   ·1· ·it for a turnover of the funds before that injunction
   ·2· ·expired.
   ·3· ·Q.· · · At the time of that state court hearing, had
   ·4· ·you already engaged Mr. Young as your attorney?
   ·5· ·A.· · · No.
   ·6· ·Q.· · · At what point did you do that?
   ·7· ·A.· · · It was before the adversary was filed, but I
   ·8· ·don't remember -- I don't remember the date, but I
   ·9· ·don't think it was -- I don't think it was before that
   10· ·hearing in Lawrenceburg.
   11· ·Q.· · · Do you have a written engagement agreement
   12· ·with Mr. Young?
   13· ·A.· · · No.
   14· ·Q.· · · What sets out the terms under which he's
   15· ·representing you in terms of his payment?
   16· ·A.· · · The motion that's filed with the Court sets
   17· ·out the compensation.
   18· ·Q.· · · And was it solely your decision to bring it,
   19· ·the adversary proceeding?
   20· ·A.· · · Yes.
   21· ·Q.· · · When did you make that decision?
   22· · · · · · · · MR. YOUNG:· Objection.· Asked and
   23· ·answered.
   24· ·BY MR. SPRAGENS:
   25· ·Q.· · · You can answer.

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   ·1· ·A.· · · When did I make the decision to -- after that
   ·2· ·court hearing and I knew that the adversary needed to
   ·3· ·be brought before that injunction expired.
   ·4· ·Q.· · · And sometime between that hearing and when the
   ·5· ·adversary proceeding was filed, you hired Mr. Young as
   ·6· ·special counsel and sought court approval of that?
   ·7· ·A.· · · Correct.
   ·8· ·Q.· · · Prior to this case, did you ever work in the
   ·9· ·same office as Judge Walker prior to his service as a
   10· ·judge?
   11· ·A.· · · No.· He was in the -- he was in the U.S.
   12· ·Trustee's office.· And the panel trustees are, I guess
   13· ·you would call, private or independent contractors.
   14· ·We're not employees of the U.S. Trustee's office.
   15· ·Q.· · · Did you have dealings with him when he worked
   16· ·in the U.S. Trustee's office?
   17· ·A.· · · Occasionally.· He was not -- each trustee is
   18· ·kind of assigned an attorney that oversees them or
   19· ·looks at their cases, you know, and -- but he was
   20· ·not mine.· Maybe every once in a while, if he'd been
   21· ·involved in a Chapter 11 case that got converted to
   22· ·a Chapter 7 case and he'd been the U.S. attorney --
   23· ·U.S. Trustee attorney on that case, then we might have
   24· ·some communication about things that went on in the
   25· ·Chapter 11.

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   ·1· ·Q.· · · Did you hear Judge Walker at our last hearing
   ·2· ·make a reference to being contacted by members of the
   ·3· ·bar about security concerns with respect to
   ·4· ·Mr. Manookian?
   ·5· · · · · · · · MR. YOUNG:· Objection.· Relevance.
   ·6· · · · · · · · THE WITNESS:· Yes.
   ·7· ·BY MR. SPRAGENS:
   ·8· ·Q.· · · Do you know anything about who contacted Judge
   ·9· ·Walker?
   10· ·A.· · · I do not.
   11· · · · · · · · MR. YOUNG:· Objection.· Relevance.
   12· · · · · · · · THE WITNESS:· I'm sorry.· I do not.
   13· ·BY MR. SPRAGENS:
   14· ·Q.· · · You identified yourself as someone with
   15· ·personal knowledge of facts in this case; is that
   16· ·correct?
   17· ·A.· · · As trustee, yes.
   18· ·Q.· · · And just in broad strokes, can you give me
   19· ·what areas of the case you have personal knowledge
   20· ·about?
   21· ·A.· · · Just records and matters that are presented
   22· ·to me:· the petition; testimony at the meeting of the
   23· ·creditors; conversations with -- specifically with
   24· ·respect to that adversary proceeding; conversations
   25· ·with the receiver, Mr. Young.· I mean, everything that

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   ·1· ·I know comes to me secondhand.
   ·2· · · · · ·And we do some -- I won't call that
   ·3· ·investigating in our office, but if we get a business,
   ·4· ·we may look at the Secretary of State's records to see
   ·5· ·if it was active when it was dissolved, who the
   ·6· ·members were.· So it's really just what comes to me
   ·7· ·once a case is filed.
   ·8· ·Q.· · · When you say "conversations with the receiver,
   ·9· ·Mr. Young," what conversations are you talking about?
   10· ·A.· · · When the case was filed and I was appointed
   11· ·as trustee, the receiver, you know, contacted me and
   12· ·said:· There's this receivership and, you know, this
   13· ·is what's going on.· Any records that I have, I'll be
   14· ·glad to give those to you.· There's money that's being
   15· ·-- that will be collected that will now come to you in
   16· ·the bankruptcy case, just because that was pretty much
   17· ·going to stop everything in the receivership.
   18· ·Q.· · · And that was prior to the December 2019
   19· ·hearing in Lawrenceburg that you had those
   20· ·conversations?
   21· ·A.· · · Correct.
   22· ·Q.· · · And you found out about the receivership
   23· ·because Mr. Young called you?
   24· ·A.· · · Correct.
   25· ·Q.· · · Did he make any suggestions to you about a

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   ·1· ·course of action that you might want to pursue?
   ·2· ·A.· · · No.· No.· Just kind of informing me.· I mean,
   ·3· ·I get -- it's not unusual to get those kinds of cases
   ·4· ·when you get appointed.· No, just that there was a
   ·5· ·receivership and kind of what the status of that
   ·6· ·receivership was.
   ·7· ·Q.· · · How did you decide to attend the hearing in
   ·8· ·Lawrenceburg?
   ·9· ·A.· · · Well, the automatic stay was in effect, so I
   10· ·wanted to make sure nobody was doing anything that
   11· ·violated the automatic stay, but I was -- I viewed
   12· ·that as a proceeding that was going to safeguard
   13· ·potential assets of the bankruptcy estate.· And I'm
   14· ·okay with that.· You know, sometimes secure creditors
   15· ·will take possession of a vehicle or they'll secure a
   16· ·piece of real estate or whatever.
   17· · · · · ·So I just wanted to go to that hearing to --
   18· ·basically to see what was going on, what the judge was
   19· ·going to do.· And I knew a subject of that was going
   20· ·to be the funds that the Court had ordered be held,
   21· ·and I think there was a question of whether that
   22· ·needed to be paid into the court or not.· So I had an
   23· ·interest in seeing what happened to those funds.
   24· ·Q.· · · Did there come a time when Mr. Young stopped
   25· ·acting as receiver in the state court case?

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   ·1· ·A.· · · I think once the bankruptcy -- I would say
   ·2· ·once the bankruptcy case was filed and certainly when
   ·3· ·he became employed as attorney for the trustee.
   ·4· ·Q.· · · Who appointed Mr. Young as the receiver?
   ·5· ·A.· · · I think the Court did, the state court.
   ·6· ·Q.· · · Do you know which court?
   ·7· ·A.· · · No, I don't.· I don't know what judge that
   ·8· ·was.
   ·9· ·Q.· · · Is it your understanding that there was an
   10· ·order appointing him receiver?
   11· ·A.· · · Correct.
   12· ·Q.· · · Was there ever an order ending the
   13· ·receivership?
   14· ·A.· · · I don't know if there is or not.
   15· ·Q.· · · Did Mr. Young file anything to withdraw his
   16· ·role as receiver or to terminate his role as receiver?
   17· ·A.· · · I don't -- I don't know.· I don't know that.
   18· ·I think there -- I don't know.
   19· ·Q.· · · But it's your belief or understanding, at
   20· ·least, that he stopped functioning as receiver when he
   21· ·became special counsel to the trustee?
   22· ·A.· · · Right.· Or before that, before that date.
   23· ·Q.· · · And I'm sorry if I asked this already, but was
   24· ·it your idea to hire Mr. Young or did he suggest to
   25· ·you that you might want to hire him?

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   ·1· ·A.· · · No.· Mine.· My idea.
   ·2· ·Q.· · · With respect to your knowledge, which is what
   ·3· ·got us on to this topic, you don't have any firsthand
   ·4· ·knowledge of the facts that are at issue in this case
   ·5· ·prior to December of 2019, do you?
   ·6· ·A.· · · Ask me that again, please.
   ·7· ·Q.· · · You don't have any firsthand knowledge or
   ·8· ·personal knowledge of the facts in this case prior to
   ·9· ·your getting involved in December of 2019, do you?
   10· ·A.· · · Correct.· Prior to the bankruptcy filing, I
   11· ·was not involved in any way.
   12· ·Q.· · · So your knowledge is derivative of what
   13· ·Mr. Young told you as receiver, plus the materials and
   14· ·evidence that's been produced in this case so far?
   15· ·A.· · · Right.· The petition that was filed in the
   16· ·case and the testimony at the meeting of creditors.
   17· ·Q.· · · I'm going to hand you a letter with the date
   18· ·of May 23rd, 2018, at the top.· And there's an exhibit
   19· ·sticker on it, but that exhibit sticker is not
   20· ·actually relevant to this deposition.
   21· · · · · · · · MR. SPRAGENS:· So we'll mark that as
   22· ·Exhibit 1.
   23· · · · · · · · (Marked Exhibit No. 1.)
   24· ·BY MR. SPRAGENS:
   25· ·Q.· · · Have you seen that letter before?

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   ·1· ·A.· · · I have.
   ·2· ·Q.· · · And what is that letter?
   ·3· ·A.· · · It's an engagement letter between Cummings
   ·4· ·Manookian and Marty and Melissa Fitzgerald.
   ·5· ·Q.· · · And you don't have any reason to doubt the
   ·6· ·authenticity of this letter, do you?
   ·7· ·A.· · · Well, I have seen another engagement letter
   ·8· ·where the first page is the same and I believe the
   ·9· ·third page is the same, where the second page, second
   10· ·paragraph under Contingency Fees, mentions Ronette
   11· ·McCarthy and her being paid a fee in the case.
   12· ·Q.· · · And does that mean that you doubt the
   13· ·authenticity of this letter?
   14· ·A.· · · No.· I believe there was an engagement letter.
   15· ·Q.· · · Is the other letter that you just described
   16· ·also dated May 23rd, 2018?
   17· ·A.· · · It is.· It has the same change in the date and
   18· ·initial, and the signatures look the same.· The date's
   19· ·the same.
   20· ·Q.· · · So the other version of the letter that you've
   21· ·seen has a different Page 2?
   22· ·A.· · · Correct.
   23· ·Q.· · · But both versions of that letter have the same
   24· ·paragraphs on Page 3 under Termination of Professional
   25· ·Relationship, correct?

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   ·1· ·A.· · · I believe so.
   ·2· ·Q.· · · And this letter is an agreement between
   ·3· ·Cummings Manookian and Marty and Melissa Fitzgerald?
   ·4· ·A.· · · Correct.
   ·5· ·Q.· · · And on May 23rd of 2018, Mr. Manookian had the
   ·6· ·authority to enter into this agreement on behalf of
   ·7· ·Cummings Manookian, correct?
   ·8· ·A.· · · Correct.
   ·9· ·Q.· · · And as of that date, he was a member of
   10· ·Cummings Manookian?
   11· ·A.· · · Correct.
   12· ·Q.· · · And you agree that that letter is a binding
   13· ·contract between Cummings Manookian and the
   14· ·Fitzgeralds?
   15· ·A.· · · Correct.
   16· ·Q.· · · And in the second paragraph on Page 3 of
   17· ·this letter, it says, "You have the right to change
   18· ·attorneys to another attorney or firm at any time by
   19· ·sending us a letter to that effect.· This right to
   20· ·discharge this firm as your representative requires
   21· ·that you remain responsible for all costs and expenses
   22· ·incurred prior to receipt of your letter.
   23· · · · · ·"If you terminate the representation before
   24· ·the conclusion of the matter, we will additionally be
   25· ·entitled to receive, from the proceeds of any

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   ·1· ·recovery, a reasonable fee for the work we have
   ·2· ·performed based upon the amount of time required, the
   ·3· ·complexity of the matter, the time frame within which
   ·4· ·the work was performed, our experience, ability,
   ·5· ·reputation, the responsibility involved, and the
   ·6· ·results obtained."
   ·7· · · · · ·Did I read that paragraph correctly?
   ·8· ·A.· · · Yes.
   ·9· ·Q.· · · And then the next paragraph says, "We may
   10· ·choose to withdraw from representing you and request
   11· ·in writing that you obtain another attorney or firm to
   12· ·represent you.· A withdrawal by this firm does not
   13· ·relieve you of the responsibility to pay advanced
   14· ·costs."
   15· · · · · ·Did I read that correctly?
   16· ·A.· · · Yes.
   17· ·Q.· · · So you would agree with me that this letter
   18· ·states that in the event Cummings Manookian withdraws
   19· ·from a representation -- or from this representation
   20· ·with the Fitzgeralds, it is entitled to recover its
   21· ·costs; is that correct?
   22· · · · · · · · MR. YOUNG:· Objection to the extent it
   23· ·calls for a legal conclusion, but you can answer.
   24· · · · · · · · THE WITNESS:· I do think its entitled to
   25· ·costs, but I think it's silent -- I think where you're

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   ·1· ·going is about the fees, and I think it's silent as
   ·2· ·to that.· And also where it says, "We say choose to
   ·3· ·withdraw from representing you," I don't know that --
   ·4· ·the facts under which Brian Manookian withdrew were
   ·5· ·not of his own choosing.· And it's our position, my
   ·6· ·position, that Afsoon Hagh continued to represent the
   ·7· ·Fitzgeralds.
   ·8· ·Q.· · · You agree with me that the first paragraph
   ·9· ·that I read entitles Cummings Manookian to receive an
   10· ·attorney's fee in the event the Fitzgeralds terminate
   11· ·the relationship, right?
   12· · · · · · · · MR. YOUNG:· Object to the extent it calls
   13· ·for a legal conclusion.
   14· · · · · · · · THE WITNESS:· Correct.
   15· ·BY MR. SPRAGENS:
   16· ·Q.· · · But that language does not appear in the next
   17· ·paragraph which spells out the parties' rights in the
   18· ·event Cummings Manookian chooses to withdraw; is that
   19· ·correct?
   20· ·A.· · · Correct.
   21· ·Q.· · · You don't dispute that this letter was binding
   22· ·on Cummings Manookian at the time that the agreement
   23· ·was entered into, do you?
   24· ·A.· · · No, I don't dispute that.
   25· ·Q.· · · Let's look at another exhibit.· I just handed

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   ·1· ·you a letter dated December 17, 2018, which we will
   ·2· ·mark as Exhibit 2 to this deposition.· Do you see
   ·3· ·that?
   ·4· ·A.· · · Yes.
   ·5· · · · · · · · (Marked Exhibit No. 2.)
   ·6· ·BY MR. SPRAGENS:
   ·7· ·Q.· · · This is a letter sent by Mr. Manookian on
   ·8· ·behalf of Cummings Manookian to the Fitzgeralds; is
   ·9· ·that correct?
   10· ·A.· · · That's what it purports to be, yes.
   11· ·Q.· · · And this letter was produced to the receiver
   12· ·prior to the bankruptcy being filed; is that correct?
   13· ·A.· · · I think so.· I don't know about that.· I know
   14· ·Mr. Manookian gave me a copy of this.
   15· ·Q.· · · Are you aware whether Mr. Young had a copy of
   16· ·this letter when he was serving as receiver?
   17· ·A.· · · I think so, but I'm not sure.
   18· ·Q.· · · And this letter -- well, do you dispute that
   19· ·this letter was sent to Mr. and Mrs. Fitzgerald?
   20· ·A.· · · I don't know if it was or not.
   21· ·Q.· · · Do you see that it has Mr. Manookian's
   22· ·signature on it?
   23· ·A.· · · Correct.
   24· ·Q.· · · And in this letter he informs the Fitzgeralds
   25· ·that he's been suspended from the practice of law

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   ·1· ·and that he and Cummings Manookian are required to
   ·2· ·withdraw from the representation; is that correct?
   ·3· ·A.· · · That's what it says, yes.
   ·4· ·Q.· · · And that's because Brian Cummings was no
   ·5· ·longer with Cummings Manookian and Brian Manookian was
   ·6· ·suspended from the practice of law, right?
   ·7· ·A.· · · I don't know why.· I'm sorry.· Ask that
   ·8· ·question again.
   ·9· ·Q.· · · Well, is it your understanding that as of
   10· ·December 7th, 2018, Cummings Manookian would be
   11· ·required to withdraw from representing the Fitzgeralds
   12· ·because there were no members of Cummings Manookian
   13· ·with an active law license?
   14· · · · · · · · MR. YOUNG:· Object to the extent it calls
   15· ·for a legal conclusion.
   16· · · · · · · · THE WITNESS:· And I don't know about
   17· ·that.· I know that Brian Manookian had to withdraw.
   18· ·Whether Cummings Manookian had to withdraw, I'm not --
   19· ·I don't know.· And I think they must have thought they
   20· ·didn't because Afsoon Hagh continued representation of
   21· ·the Fitzgeralds.
   22· ·BY MR. SPRAGENS:
   23· ·Q.· · · You don't dispute that as of December 7th,
   24· ·2018, Mr. Manookian had the authority to bind Cummings
   25· ·Manookian, do you?

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   ·1· ·A.· · · I don't know.
   ·2· ·Q.· · · Well, you know that in December of 2018 he was
   ·3· ·a member of Cummings Manookian, right?
   ·4· ·A.· · · Yes, sir, he was.· He was.· I don't remember
   ·5· ·what his actual suspension date was, but I know that
   ·6· ·he was required to inform clients of his suspension.
   ·7· ·Q.· · · And my question is:· Wouldn't you agree
   ·8· ·with me that Mr. Manookian, as a member of Cummings
   ·9· ·Manookian, was able to bind Cummings Manookian to an
   10· ·agreement as of December 2018?
   11· ·A.· · · I don't know the answer to that.
   12· ·Q.· · · And why not?
   13· ·A.· · · Because I don't know the answer to that.
   14· ·Q.· · · Well, a minute ago we talked about the May
   15· ·2018 letter in which you agreed Mr. Manookian could
   16· ·enter into an agreement on behalf of Cummings
   17· ·Manookian, right?
   18· ·A.· · · Right.
   19· ·Q.· · · So here we are on December 7, 2018.· He's sent
   20· ·a letter.· And he has the authority to bind Cummings
   21· ·Manookian as of that date, too, doesn't he?
   22· ·A.· · · I don't know.· He was the only member of
   23· ·Cummings Manookian at that -- at that time.
   24· ·Q.· · · And you would agree with me that a member can
   25· ·bind a PLLC?

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   ·1· ·A.· · · Yes.· Yes.
   ·2· ·Q.· · · So in December of 2018, as the sole member of
   ·3· ·Cummings Manookian, Mr. Manookian had the capacity to
   ·4· ·make agreements on behalf of Cummings Manookian; is
   ·5· ·that right?
   ·6· ·A.· · · I think he was.· I don't know that this was an
   ·7· ·agreement.
   ·8· ·Q.· · · Well, you see here, the second paragraph
   ·9· ·of this letter says, "Pursuant to our legal
   10· ·representation and engagement agreement" -- do you
   11· ·understand that to refer to the May 23rd, 2018,
   12· ·letter?
   13· ·A.· · · Yes.
   14· ·Q.· · · -- "Cummings Manookian is entitled to
   15· ·reimbursement of certain advanced costs and expenses
   16· ·in this case.· I estimate those costs and expenses to
   17· ·be less than $3,000.· Because Cummings Manookian is
   18· ·withdrawing from this matter, it will not be entitled
   19· ·to any portion of an attorney's fee and specifically
   20· ·disclaims the same under the terms of our prior
   21· ·engagement agreement.· You may provide this letter to
   22· ·any future attorneys representing you in this case as
   23· ·confirmation of the same."
   24· · · · · ·Did I read that correctly?
   25· ·A.· · · Yes.

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   ·1· ·Q.· · · And so this letter is invoking the last
   ·2· ·provisions of the May 23rd, 2018, attorney-client
   ·3· ·agreement; is that right?
   ·4· ·A.· · · Well, I think that client agreement was silent
   ·5· ·on whether or not Cummings Manookian would be entitled
   ·6· ·to a fee.
   ·7· ·Q.· · · I understand that that's your position.· But
   ·8· ·Cummings Manookian said it wasn't entitled to a fee in
   ·9· ·2018, correct?
   10· ·A.· · · Correct.
   11· ·Q.· · · And Mr. Manookian had the authority to make
   12· ·that decision on behalf of Cummings Manookian in
   13· ·December of 2018, did he not?
   14· ·A.· · · Correct.
   15· ·Q.· · · So as of December 7th, 2018, Cummings
   16· ·Manookian disclaimed any entitlement to fees in the
   17· ·Fitzgerald matter, correct?
   18· ·A.· · · That's what the letter states.· I never was
   19· ·furnished with any proof that the Fitzgeralds received
   20· ·this letter.
   21· ·Q.· · · So if Mr. Fitzgerald testifies that he
   22· ·received this letter, would that satisfy you that
   23· ·Cummings Manookian claimed any fee in the Fitzgerald
   24· ·case on December 7, 2018?
   25· ·A.· · · I don't know.· It will depend on what

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   ·1· ·Mr. Fitzgerald has to say about that.· I would like to
   ·2· ·see the certified -- signed, certified mail receipt.
   ·3· ·And regardless of what the letter says, the motion
   ·4· ·that was filed with the court said that Brian
   ·5· ·Manookian was withdrawing but that Afsoon Hagh was
   ·6· ·going to continue to represent the plaintiffs, and
   ·7· ·that was signed by Mr. Manookian and it had Afsoon
   ·8· ·Hagh's name on it and the Cummings Manookian
   ·9· ·information and name.
   10· ·Q.· · · But you don't disagree with me that in
   11· ·December 2018, Cummings Manookian wrote that it
   12· ·disclaimed any fee in the Fitzgerald case?
   13· ·A.· · · Brian Manookian did, yes.
   14· ·Q.· · · And Brian Manookian spoke for Cummings
   15· ·Manookian when he did that, correct?
   16· ·A.· · · Correct.
   17· ·Q.· · · And shortly after that date, there were no
   18· ·licensed attorneys as member of Cummings Manookian,
   19· ·correct?
   20· ·A.· · · No.· Well, I would say that -- well, no,
   21· ·that's not correct, I don't think, because I think
   22· ·Brian Manookian was still a member of Cummings
   23· ·Manookian.· He was just suspended temporarily, and
   24· ·then later he was reinstated.· But I think he remained
   25· ·a member of Cummings Manookian, but he was suspended.

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   ·1· ·His law license was suspended.
   ·2· ·Q.· · · Right.· So he did not have an active law
   ·3· ·license at that time?
   ·4· ·A.· · · Correct.
   ·5· ·Q.· · · And therefore, soon after this letter was
   ·6· ·sent, there were no members of Cummings Manookian with
   ·7· ·an active law license?
   ·8· ·A.· · · Active, correct.
   ·9· ·Q.· · · But it's your position in this case that
   10· ·Cummings Manookian did not withdraw from representing
   11· ·the Fitzgeralds in December 2018?
   12· ·A.· · · Correct.
   13· ·Q.· · · You'd agree with me, based on the way you
   14· ·described the notice of withdrawal mentioning that
   15· ·Ms. Hagh was going to continue to work on it, that it
   16· ·was silent about the firm that she was affiliated
   17· ·with?
   18· ·A.· · · The signature block on that pleading was
   19· ·Cummings Manookian.
   20· ·Q.· · · And was that pleading Cummings Manookian's
   21· ·withdrawal?
   22· ·A.· · · It was Brian Manookian's withdrawal.
   23· · · · · · · · MR. SPRAGENS:· I think we can put that
   24· ·the exhibit aside now.
   25· ·BY MR. SPRAGENS:

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   ·1· ·Q.· · · With respect to the allegations in your
   ·2· ·complaint, you allege that Afsoon Hagh, Hagh Law, and
   ·3· ·Manookian, PLLC, converted property; is that right?
   ·4· ·A.· · · Correct.· That was -- yes.
   ·5· ·Q.· · · And what's the property that you allege was
   ·6· ·converted or wrongfully appropriated?
   ·7· ·A.· · · Office space, furnishings, intellectual
   ·8· ·property like emails, telephone numbers, and then
   ·9· ·fees that were -- I don't know that that would be
   10· ·considered under the property part, but the fees that
   11· ·I claim are due to Cummings Manookian.
   12· ·Q.· · · And the sole source of information for that
   13· ·allegation is the pleadings that Ms. Hagh signed?
   14· ·A.· · · Correct.
   15· ·Q.· · · Did Manookian, PLLC, have a bank account?
   16· ·A.· · · Yes.· Yes.
   17· · · · · ·I'm sorry.· Manookian, PLLC?
   18· ·Q.· · · Yes, ma'am.
   19· ·A.· · · I don't know.
   20· ·Q.· · · Who do you anticipate will have more
   21· ·information about the facts that underlie your claim
   22· ·for conversion?
   23· ·A.· · · Brian Manookian, Afsoon Hagh, Brian Cummings.
   24· ·And my attorney may have an idea that there are more,
   25· ·but those are the ones that I can think of.

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   ·1· ·Q.· · · And before you filed this complaint, did you
   ·2· ·attempt to talk with anybody who might have more
   ·3· ·information about the conversion to get that
   ·4· ·information?
   ·5· ·A.· · · Only the receiver -- or the person who had
   ·6· ·served as receiver.
   ·7· ·Q.· · · So the receiver, Mr. Young, is the source of
   ·8· ·all your knowledge about the first claim in your
   ·9· ·complaint?
   10· · · · · · · · MR. YOUNG:· Objection.· I don't think
   11· ·that's what she testified to.
   12· · · · · · · · THE WITNESS:· What was the question
   13· ·again?
   14· ·BY MR. SPRAGENS:
   15· ·Q.· · · The receiver, Mr. Young, was the source of all
   16· ·the factual information that underlies the conversion
   17· ·claim in your complaint?
   18· ·A.· · · That, and the petition and the testimony at
   19· ·the meeting of creditors.
   20· ·Q.· · · Do you know if Mr. Young tried to get that
   21· ·information from Mr. Manookian, Mr. Cummings or
   22· ·Ms. Hagh when he was serving as receiver?
   23· ·A.· · · I know that during the receivership he had
   24· ·conversations with Mr. Manookian and Mr. Cummings,
   25· ·maybe even Mr. Hammervold, but that wouldn't -- that

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   ·1· ·probably wouldn't have anything to do with this, but I
   ·2· ·don't know about Afsoon Hagh.
   ·3· ·Q.· · · And it was Mr. Young, when serving as
   ·4· ·receiver, who developed this understanding that there
   ·5· ·had been some conversion that had taken place; is that
   ·6· ·right?
   ·7· ·A.· · · Yes.
   ·8· ·Q.· · · And did he tell you that in the conversations
   ·9· ·that you had after you were appointed trustee?
   10· ·A.· · · Yes.· And when I had employed him as special
   11· ·counsel and we were discussing filing the complaint
   12· ·and what would be in the -- you know, what our
   13· ·possible causes of action were.
   14· ·Q.· · · But in that first conversation where he called
   15· ·you up and he said, I'm the court-appointed receiver
   16· ·in this case and here's what's gone on, he basically,
   17· ·more or less, told you that there had been this
   18· ·conversion that had taken place?
   19· ·A.· · · We really didn't talk about anything in detail
   20· ·about that, just that the case was filed and I was
   21· ·appointed the trustee.· He had information because he
   22· ·was receiver in a case that involved the debtor.
   23· ·Q.· · · At what point did he tell you that he believed
   24· ·that Ms. Hagh was continuing to practice law on behalf
   25· ·of Cummings Manookian?

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   ·1· ·A.· · · After the case was filed, when we were
   ·2· ·discussing the complaint, the receivership proceeding
   ·3· ·and the complaint.
   ·4· ·Q.· · · And he drafted the complaint, right?
   ·5· ·A.· · · He did.
   ·6· ·Q.· · · With respect to the second claim for relief,
   ·7· ·State Law and Fraudulent Transfer, you allege that
   ·8· ·Ms. Hagh, Hagh Law, and Manookian, PLLC, wrongfully
   ·9· ·took the property of Cummings Manookian in attempt to
   10· ·hinder, delay, and defraud creditors of Cummings
   11· ·Manookian; is that right?
   12· ·A.· · · Right.
   13· ·Q.· · · And the property that you're talking about
   14· ·there is the property that you discussed earlier,
   15· ·specifically intellectual property, furniture, case
   16· ·files.· What else?
   17· ·A.· · · Correct.
   18· ·Q.· · · Office space?
   19· ·A.· · · Correct.
   20· ·Q.· · · Anything different about the property in that
   21· ·count from what we discussed earlier?
   22· ·A.· · · No.
   23· ·Q.· · · And, again, with respect to this count, you
   24· ·don't have independent knowledge, other than from
   25· ·Mr. Young, about the facts in this -- that underlie

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   ·1· ·the fraudulent transfer claim, do you?
   ·2· ·A.· · · I know that the settlement funds from the
   ·3· ·Fitzgerald case were transferred to Afsoon Hagh or
   ·4· ·were paid out to Hagh Law -- I'm sorry I keep
   ·5· ·mispronouncing that -- Hagh Law, and I know that from
   ·6· ·the receivership pleadings that I was looking at
   ·7· ·before that hearing in Lawrenceburg.
   ·8· ·Q.· · · And those would be pleadings that Mr. Young
   ·9· ·drafted?
   10· ·A.· · · Correct.· And the responses to those.
   11· ·Q.· · · And it's Mr. Young who decided what claims
   12· ·would be brought in this case?
   13· ·A.· · · We discussed those.· I mean, some of them
   14· ·are -- you know, yes, that's the purpose of having an
   15· ·attorney, you know, what the facts bear out and what
   16· ·the causes of action would be, but I could see that
   17· ·there was potentially a fraudulent conveyance action.
   18· ·Q.· · · Based on what?
   19· ·A.· · · That there were funds to which -- or accounts
   20· ·receivable to which Cummings Manookian was entitled
   21· ·that were transferred or conveyed to another --
   22· ·another party.· And that doesn't necessarily mean that
   23· ·the recipient did anything wrong or illegal.· It's
   24· ·just that that's a provision of the bankruptcy
   25· ·fraudulent transfers.

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   ·1· ·Q.· · · But you developed the understanding that
   ·2· ·Cummings Manookian was entitled to those funds from
   ·3· ·Mr. Young?
   ·4· · · · · · · · MR. YOUNG:· Objection.· Attorney-client
   ·5· ·privilege.· We're getting awfully close now.· She's
   ·6· ·talked about -- I was already retained when this
   ·7· ·complaint was drafted.· So I'm saying attorney-client
   ·8· ·privilege and instruct her not to answer.
   ·9· ·BY MR. SPRAGENS:
   10· ·Q.· · · Okay.· Don't tell me anything that Mr. Young
   11· ·told you as your attorney, but in those conversations
   12· ·that you had with Mr. Young prior to becoming your
   13· ·attorney, you developed an understanding that Cummings
   14· ·Manookian was entitled to these funds?
   15· ·A.· · · Yes.· In talking to Steve Lefkovitz, who was
   16· ·the debtor's bankruptcy attorney, I asked about those
   17· ·funds, and that's when I was told that those funds
   18· ·weren't property of the bankruptcy estate, and
   19· ·Mr. Manookian also told me that, what his position
   20· ·was.
   21· ·Q.· · · So Mr. Manookian, as the sole member of
   22· ·Cummings Manookian, and Mr. Lefkovitz, as the attorney
   23· ·for Cummings Manookian, both told you that that was
   24· ·not Cummings Manookian's property, correct?
   25· ·A.· · · That's what they were claiming.

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   ·1· ·Q.· · · That's what they told you?
   ·2· ·A.· · · Yes.· Yes.
   ·3· ·Q.· · · And Mr. Young, as receiver, said it was
   ·4· ·Cummings Manookian's property?
   ·5· ·A.· · · He believed it was.
   ·6· ·Q.· · · With respect to the state law and federal
   ·7· ·fraudulent transfer claims, what are the fraudulent
   ·8· ·transfers that are at issue?
   ·9· ·A.· · · Specifically at the -- well, at the time that
   10· ·that complaint was filed, the Fitzgerald funds and
   11· ·then also the Shoemaker funds.· There were other --
   12· ·yeah, those.· Because the other cases, I believe
   13· ·Mr. Cummings was handling those and had paid either --
   14· ·well, for the ones that are in the complaint, would
   15· ·be handing Cummings Manookian's portion over to the
   16· ·trustee.
   17· ·Q.· · · And that was with respect to Fitzgerald at
   18· ·the time the complaint was filed and subsequently
   19· ·Shoemaker?
   20· ·A.· · · Right.· I knew Shoemaker was out there that
   21· ·hadn't been settled.· I knew those two cases were out
   22· ·there that were originally Cummings Manookian cases
   23· ·that had not been settled.
   24· ·Q.· · · The fourth claim for relief is Tortious
   25· ·Interference with Contract.· Tell me your

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   ·1· ·understanding of that allegation, please.
   ·2· ·A.· · · That to the extent that -- or Cummings
   ·3· ·Manookian was entitled to the attorney fees, and
   ·4· ·specifically I think that was speaking to the
   ·5· ·Fitzgerald case -- were entitled to the fees by virtue
   ·6· ·of the engagement letter, and to the extent that
   ·7· ·Brian Manookian or Afsoon Hagh interfered with that
   ·8· ·contractual agreement to breach or to break that
   ·9· ·contract or make others think that there was no longer
   10· ·an agreement.
   11· ·Q.· · · So, you know, Brian Manookian is not a party
   12· ·to this case, right?
   13· ·A.· · · No, he is not.
   14· ·Q.· · · And, in fact, you didn't bring this claim
   15· ·against Manookian, PLLC, only against Afsoon Hagh and
   16· ·Hagh Law, correct?
   17· ·A.· · · No.· Manookian, PLLC, is listed as a
   18· ·defendant.
   19· ·Q.· · · Right.· But the tortious interference with
   20· ·contract claim is just against Afsoon Hagh and Hagh
   21· ·Law, right?
   22· ·A.· · · That may be right.· I think it's listed
   23· ·underneath each count.
   24· ·Q.· · · And you say that "Afsoon Hagh and Hagh Law
   25· ·coerced the Fitzgerald case defendants from remitting

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   ·1· ·to Cummings Manookian $1.35 million in attorney's
   ·2· ·fees."
   ·3· ·A.· · · When that case settled, I think there was
   ·4· ·discussion about the payment of those -- of the
   ·5· ·settlement proceeds.· And those proceeds ended up
   ·6· ·being paid to -- were instructed -- I think the order,
   ·7· ·the settlement order was changed to show Afsoon Hagh,
   ·8· ·Hagh Law, as the attorney for the plaintiff, and the
   ·9· ·settlement proceeds were to be paid or were paid to
   10· ·Afsoon Hagh.
   11· ·Q.· · · When you say the order was changed, you're not
   12· ·saying that there was funny business/meddling with the
   13· ·Court order?
   14· ·A.· · · No, no.· Mr. Meisner, I believe, was
   15· ·instructed to change the order.
   16· ·Q.· · · Because Mr. Meisner, as far as you know,
   17· ·thought that Ms. Hagh and Hagh Law were representing
   18· ·the Fitzgeralds, right?
   19· ·A.· · · Apparently not.· And, again, this is discovery
   20· ·that I'm just seeing, but there was an email where --
   21· ·and I think it was Brian Manookian who emailed and
   22· ·said the order looks fine but it needs to be changed
   23· ·to show that Afsoon Hagh is attorney for the
   24· ·plaintiffs.· And I haven't seen the order, so --
   25· ·before or after, so I don't -- I don't know what it

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   ·1· ·said before.· I don't know what it said before.
   ·2· ·Q.· · · Over a year before you filed this complaint,
   ·3· ·Mr. Manookian, on behalf of Cummings Manookian, had
   ·4· ·withdrawn the firm from that representation, correct?
   ·5· ·A.· · · I'm sorry.· Ask me that again.
   ·6· ·Q.· · · Over a year before you filed this complaint,
   ·7· ·Mr. Manookian had sent that letter withdrawing
   ·8· ·Cummings Manookian from representing the Fitzgeralds,
   ·9· ·correct?
   10· ·A.· · · I don't know if he sent that letter, but there
   11· ·is -- I've seen the letter.
   12· ·Q.· · · And at the time you filed this case, you knew
   13· ·about that letter, did you not?
   14· ·A.· · · Yes.
   15· ·Q.· · · So at the time you filed this case, you were
   16· ·aware that Mr. Manookian had written a December 2018
   17· ·letter withdrawing Cummings Manookian from
   18· ·representing the Fitzgeralds?
   19· ·A.· · · I knew there was a letter and I knew when it
   20· ·was dated, but I don't know anything beyond that.
   21· ·Q.· · · When you referred to the engagement agreement
   22· ·in Paragraphs 57 to 61 of the complaint, which are the
   23· ·tortious interference paragraphs, you're referring to
   24· ·what we looked at earlier today as Exhibit 1, correct?
   25· ·A.· · · I'm sorry.· Ask me that again.

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   ·1· ·Q.· · · When you use the term "the engagement
   ·2· ·agreement" with the Fitzgerald plaintiffs, you're
   ·3· ·referring to what we looked at earlier in this
   ·4· ·deposition, Exhibit 1?
   ·5· ·A.· · · Correct, the engagement letter with the
   ·6· ·Fitzgeralds, yes.
   ·7· ·Q.· · · But you don't mention the December letter in
   ·8· ·this complaint anywhere, do you?
   ·9· ·A.· · · No.
   10· ·Q.· · · Does Ms. Hagh represent any clients through
   11· ·Hagh Law, in your view, or has all of Hagh Law's work
   12· ·been done on behalf of Cummings Manookian?
   13· ·A.· · · I think we have alternative theories on that.
   14· ·Are you -- and you're talking about the Fitzgeralds or
   15· ·the -- or the Shoemaker case?· Is that what you're --
   16· ·Q.· · · I just mean in general.· Generally speaking,
   17· ·is 100 percent of Hagh Law's work on behalf of
   18· ·Cummings Manookian?
   19· ·A.· · · I would say no.
   20· ·Q.· · · And how do you know --
   21· ·A.· · · And I don't know that because -- I guess I'll
   22· ·say I don't know that because I don't know what other
   23· ·cases she's had or worked on.
   24· ·Q.· · · And how do you determine what work by Hagh Law
   25· ·is on behalf of Cummings Manookian and what is on

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   ·1· ·behalf of Hagh Law?
   ·2· ·A.· · · I think that's what we're in the process
   ·3· ·of determining.· You know, there's -- there are
   ·4· ·engagement letters for both of those cases with
   ·5· ·Cummings Manookian.· And at some point Afsoon Hagh
   ·6· ·did form a PLLC -- I think it's been administratively
   ·7· ·dissolved now -- and in some pleading -- and at some
   ·8· ·point started using "Hagh Law" on her signature lines
   ·9· ·and emails.· But sometime prior to that, maybe after
   10· ·that, it was just Afsoon Hagh with the Cummings
   11· ·Manookian address and information.
   12· ·Q.· · · So in your mind when Ms. Hagh uses "Hagh Law"
   13· ·on a pleading, that's on behalf of Hagh Law?
   14· ·A.· · · Yes.
   15· ·Q.· · · And then when she is silent about her
   16· ·affiliation, you believe that there she's working on
   17· ·behalf of Cummings Manookian?
   18· ·A.· · · It could be, yes.
   19· ·Q.· · · It could be?
   20· ·A.· · · Yes, in those cases.
   21· ·Q.· · · When you say "those cases," what do you mean?
   22· ·A.· · · Fitzgerald case and the Shoemaker case is the
   23· ·only cases I know about.
   24· ·Q.· · · So if Ms. Hagh went back and forth between
   25· ·using no affiliation and then using Hagh Law and then

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   ·1· ·using no affiliation again, in your view she was
   ·2· ·wearing different hats at that time?
   ·3· ·A.· · · It's very confusing.· Yes.
   ·4· ·Q.· · · But yes, that's your view?
   ·5· ·A.· · · Yes.
   ·6· · · · · · · · MR. SPRAGENS:· Let's take another quick
   ·7· ·break and hopefully we won't need to be here all day.
   ·8· · · · · · · · (Recess observed.)
   ·9· ·BY MR. SPRAGENS:
   10· ·Q.· · · Ms. Burton, in Paragraph 23 of your complaint,
   11· ·there's a list of cases.· Do you remember that list?
   12· ·A.· · · Correct.
   13· ·Q.· · · Are you still seeking fees in all of these
   14· ·cases on behalf of Cummings Manookian?
   15· ·A.· · · I think I've received -- I've received funds
   16· ·-- besides Fitzgerald and Shoemaker, I've received
   17· ·funds, I think, in five of those cases through
   18· ·Mr. Cummings.· There's a couple that did not produce
   19· ·anything, and there are three -- I don't remember
   20· ·which three, but there are three that I'm checking on
   21· ·now to see if there are going to be any fees out of
   22· ·that case.
   23· ·Q.· · · Do you need a copy of this list?
   24· ·A.· · · Sure.
   25· ·Q.· · · There's the complaint, Paragraph 23.· Can you

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   ·1· ·identify which cases Cummings Manookian is owed money
   ·2· ·in from the defendants?
   ·3· ·A.· · · The Fitzgerald case and the Shoemaker case.
   ·4· ·And there are three other cases, but I couldn't tell
   ·5· ·you, without looking at my Form-1 that I keep in the
   ·6· ·bankruptcy case, what other three that I haven't
   ·7· ·received money in or that I haven't marked that
   ·8· ·there's no money to be pursued in those cases.                     I
   ·9· ·do think in Manookian versus Pennsylvania Higher
   10· ·Education, et al., I've marked that one off of my
   11· ·list.
   12· ·Q.· · · There were no money damages in that case to
   13· ·begin with, were there?
   14· ·A.· · · I don't remember.· This was on the list of
   15· ·cases that were being pursued in the receivership.
   16· ·I think this list was provided by Mr. Cummings and
   17· ·Mr. Manookian.· I think there were other cases, maybe,
   18· ·in that receivership that were Hammervold cases, but
   19· ·obviously none of those -- or -- I won't say none of
   20· ·those, but the ones that were strictly Hammervold
   21· ·cases were not included in that list.
   22· ·Q.· · · Well, this is a list that Mr. Young gave you,
   23· ·correct?
   24· ·A.· · · That's correct.· And that -- Mr. Cummings, I
   25· ·believe, also had a list of that, of those cases.

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   ·1· ·Q.· · · Did you do any independent investigation,
   ·2· ·other than accepting the list from Mr. Young, to
   ·3· ·determine what cases Cummings Manookian was owed a fee
   ·4· ·in?
   ·5· ·A.· · · No, other than looking at the bankruptcy
   ·6· ·petition and questioning Mr. Manookian at the meeting
   ·7· ·of creditors.
   ·8· ·Q.· · · Did you ask Mr. Manookian about these cases in
   ·9· ·Paragraph 23 at that hearing?
   10· ·A.· · · No.· I didn't specifically have the -- I don't
   11· ·think I had the list at that time.
   12· ·Q.· · · But Mr. Young had that list, right?
   13· ·A.· · · Correct.
   14· ·Q.· · · And you had already talked to Mr. Young at
   15· ·that time?
   16· ·A.· · · At the time that the complaint was filed, when
   17· ·I employed him.
   18· ·Q.· · · And you had also --
   19· ·A.· · · But I knew that he had been collecting cases.
   20· ·Q.· · · In the Manookian v. Pennsylvania Higher
   21· ·Education case, what do you believe that Cummings
   22· ·Manookian was owed in that case?
   23· ·A.· · · I think now I don't -- there wasn't anything
   24· ·owed in that case.· It was on -- it was on the list
   25· ·that I received.

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   ·1· ·Q.· · · And this is the list from Mr. Young?
   ·2· ·A.· · · Correct.
   ·3· ·Q.· · · But that Manookian case should not be on that
   ·4· ·list anymore?
   ·5· ·A.· · · I'd have to look at my form, at my Form-1 and
   ·6· ·what my notes say about that, but it's possible that
   ·7· ·that -- there was no recovery in that case, or it
   ·8· ·wasn't worth pursuing any longer or -- I mean, I just
   ·9· ·don't recall.
   10· ·Q.· · · Did you do any investigation to determine
   11· ·whether Cummings Manookian was entitled to a fee in
   12· ·these cases?
   13· ·A.· · · Not any independent investigation.
   14· ·Q.· · · You just relied on Mr. Young?
   15· ·A.· · · Right.· And Mr. Cummings.
   16· ·Q.· · · So it's not your testimony that Mr. Cummings
   17· ·identified all of these cases?
   18· ·A.· · · No.· No.
   19· ·Q.· · · And you cannot remember which three cases,
   20· ·other than Shoemaker and Fitzgerald, you're continuing
   21· ·to seek fees in?
   22· ·A.· · · I do not.
   23· ·Q.· · · Is that something that you could tell us after
   24· ·this deposition?
   25· ·A.· · · Yes.

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   ·1· ·Q.· · · And will Mr. Young have that information when
   ·2· ·we take his deposition?
   ·3· ·A.· · · I don't think so.· I think I'll have to follow
   ·4· ·up with Mr. Cummings.
   ·5· ·Q.· · · To determine which three cases you're still
   ·6· ·seeking fees in?
   ·7· ·A.· · · Right.· Right.· I think those are cases that
   ·8· ·he is handling to which Cummings Manookian is entitled
   ·9· ·to some portion of the fees or expenses.
   10· ·Q.· · · Was Mr. Cummings involved in that Manookian v.
   11· ·Pennsylvania Higher Education case?
   12· ·A.· · · I do not know.
   13· ·Q.· · · When did you realize that that Manookian v.
   14· ·Pennsylvania Higher Education case should not be
   15· ·included in the list of cases that the trustee is
   16· ·seeking to recover in?
   17· ·A.· · · I don't know without -- I don't know.
   18· ·Q.· · · What do you know about the Bailey v. HCA case?
   19· ·A.· · · Not anything, other than it's a case -- and
   20· ·I don't even know if I received money in that case
   21· ·without looking at my Form-1.· But to answer you
   22· ·generally, and if you want to go through each one of
   23· ·them -- I mean, obviously the majority of those, my
   24· ·understanding is that they're medical malpractice or
   25· ·personal injury cases.· I know Lattimore, Black,

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   ·1· ·Morgan & Cain is an accounting firm.· But these were
   ·2· ·the list of existing cases that Cummings Manookian had
   ·3· ·an interest in.
   ·4· · · · · ·And that's what you do as a trustee.· You
   ·5· ·investigate the assets, and sometimes you pursue
   ·6· ·certain assets, sometimes you don't pursue them,
   ·7· ·whether because there's not anything there or it's not
   ·8· ·financially worth it.
   ·9· ·Q.· · · But these are cases that Mr. Young asserted
   10· ·Cummings Manookian had an interest in when he was the
   11· ·receiver; is that correct?
   12· ·A.· · · This was -- I believe this was his -- you'd
   13· ·have to ask Mr. Young about that, but they were the
   14· ·cases in which I think the receiver was investigating.
   15· ·They include cases where attorney liens had been
   16· ·filed.
   17· ·Q.· · · Do you know what Cummings -- what was Cummings
   18· ·Manookian's entitlement to fees in the Wheeler Bonding
   19· ·Company case?
   20· ·A.· · · I do not know.
   21· ·Q.· · · All right.· Let me hand you Exhibit 3, which
   22· ·are your interrogatory responses in this case.
   23· ·A.· · · Yes, sir.
   24· ·Q.· · · Can you turn to the last page and verify that
   25· ·that's your signature.· Sorry.· It's not quite the

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   ·1· ·last page.
   ·2· ·A.· · · Page 10.· Yes, that is my signature.
   ·3· ·Q.· · · And did you provide the information that was
   ·4· ·used to respond to these interrogatories?
   ·5· ·A.· · · I did.· I discussed these with my attorney.
   ·6· ·Q.· · · Well, I don't want to know any attorney-client
   ·7· ·communications, but if you look at Interrogatory
   ·8· ·Number 3, it asks you to identify any matter in which
   ·9· ·you allege Cummings Manookian is entitled to an
   10· ·attorney's fee, cost or monies of any kind.· And you
   11· ·responded with an objection and then by reproducing
   12· ·that same list that appears in the complaint; is that
   13· ·correct?
   14· ·A.· · · Correct.
   15· ·Q.· · · But it's now your position that Cummings
   16· ·Manookian is not entitled to a fee in all of these
   17· ·cases; is that right?
   18· ·A.· · · At the time that the complaint was filed,
   19· ·there was reason to believe that Cummings Manookian
   20· ·was.
   21· ·Q.· · · What was that reason?
   22· ·A.· · · They were being pursued by the receiver in the
   23· ·receivership.
   24· ·Q.· · · So the sole basis for this information in your
   25· ·interrogatory response is that when Mr. Young was

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   ·1· ·serving as receiver, he asserted an entitlement to
   ·2· ·fees on behalf of Cummings Manookian in these cases?
   ·3· ·A.· · · Correct.· And we went over those, and I have a
   ·4· ·spreadsheet that talks about what the cases were about
   ·5· ·and who the attorneys were.
   ·6· ·Q.· · · So is it --
   ·7· ·A.· · · And it may be, I think, on my Form-1 -- when
   ·8· ·Mr. Manookian is saying that one of these cases was
   ·9· ·a Hammervold case, I believe now that the Form-1 that
   10· ·contains this list says there's no value to that.
   11· · · · · ·And there may even be a note that says that
   12· ·was a Hammervold case, but I'm not sure about that.
   13· ·Or there may be ones that were on the receiver's list
   14· ·that we didn't put into the complaint because Cummings
   15· ·Manookian wasn't involved.
   16· · · · · ·But to the best of my information at the time
   17· ·that the complaint was filed, these were the causes of
   18· ·action that it was believed that Cummings Manookian
   19· ·could have an interest in.
   20· ·Q.· · · But at the time that you responded to this
   21· ·interrogatory, you knew that it didn't have an
   22· ·interest in Wheeler Bonding Company v. Parts, didn't
   23· ·you?
   24· ·A.· · · Again, I'll just have to look at my Form-1 to
   25· ·see.

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   ·1· ·Q.· · · Fair to say that in responding to this
   ·2· ·interrogatory, you just copied and pasted the same
   ·3· ·list that's been put into the complaint?
   ·4· ·A.· · · I won't say that.· I know we talked about
   ·5· ·these.
   ·6· ·Q.· · · You would agree with me it's the same font in
   ·7· ·the complaint and in your interrogatory responses,
   ·8· ·which is not a Times New Roman font like the rest of
   ·9· ·the material?
   10· ·A.· · · I don't know.· It looks a little smaller and
   11· ·darker, but it's the same list.· That is the same
   12· ·list.
   13· ·Q.· · · And, in fact, it was copied and pasted
   14· ·probably from a spreadsheet, right?
   15· ·A.· · · I don't know.
   16· ·Q.· · · Did you do it?
   17· ·A.· · · I didn't prepare the responses.· We talked
   18· ·about it.· The responses were prepared, and I reviewed
   19· ·it and asked questions and made changes.
   20· ·Q.· · · When you say that there was a case that was a
   21· ·Hammervold case, you're referring to Mr. Hammervold
   22· ·who had his own law firm; is that right?
   23· ·A.· · · That's correct.· I believe that.
   24· ·Q.· · · And that was Hammervold, PLC, I believe?
   25· ·A.· · · I think that -- I don't know.· Hammervold Law,

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   ·1· ·Hammervold, PLC.· I'm not sure.
   ·2· ·Q.· · · And you don't allege that Hammervold, PLC, was
   ·3· ·a continuation of Cummings Manookian or an alterego of
   ·4· ·Cummings Manookian, do you?
   ·5· ·A.· · · No.
   ·6· ·Q.· · · And why not?
   ·7· ·A.· · · I don't believe he was ever an employee or
   ·8· ·member of Cummings Manookian.· I think they worked on
   ·9· ·cases together.
   10· ·Q.· · · And you agree with me that Afsoon Hagh was not
   11· ·an employee of Cummings Manookian either?
   12· ·A.· · · I don't know that.
   13· ·Q.· · · What percentage of the fees are you seeking in
   14· ·the cases in which you're seeking fees on behalf of
   15· ·Cummings Manookian?
   16· ·A.· · · In the Fitzgerald case, 100 percent of the
   17· ·fees.· In the Shoemaker case, you know, based on the
   18· ·recent discovery, I don't know that -- I don't think
   19· ·it's 100 percent in the Shoemaker case because there
   20· ·were other engagement letters in that -- in that case.
   21· ·I guess we'll formulate or decide that when discovery
   22· ·is complete.
   23· ·Q.· · · So what are you referring to that makes the
   24· ·Shoemaker case different from the Fitzgerald case?
   25· ·A.· · · There's only -- only Cummings Manookian has a

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   ·1· ·engagement letter in the Cummings Manookian -- in the
   ·2· ·Fitzgerald case.
   ·3· ·Q.· · · And only Cummings Manookian has a withdrawal
   ·4· ·letter in the Fitzgerald case, too, correct?
   ·5· ·A.· · · A withdrawal letter?· I think that's -- there
   ·6· ·is -- I've seen the letter, yes.· Yes.
   ·7· ·Q.· · · What do you need to do to determine what
   ·8· ·percentage of the Shoemaker fee that Cummings
   ·9· ·Manookian is entitled to?
   10· ·A.· · · Well, there could be a number of ways, I
   11· ·guess.· There could be a simple -- simple -- well, I
   12· ·don't think it would be simple, but a computation of
   13· ·the number of months that the case was with Cummings
   14· ·Manookian before another attorney took that case.
   15· · · · · ·I think it will depend a lot on the
   16· ·depositions and what Mr. Manookian and Ms. Hagh's
   17· ·testimony is, and possibly John Edwards, about their
   18· ·engagement and what they have to support -- well, they
   19· ·do have engagement letters.
   20· ·Q.· · · So you're going to be relying on the testimony
   21· ·of Mr. Manookian, Ms. Hagh, and possibly John Edwards
   22· ·to determine what percentage of the fee Cummings
   23· ·Manookian is entitled to in the Shoemaker case?
   24· ·A.· · · And I would have to consult with my attorney,
   25· ·but the counsel for the defense in that case.

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   ·1· ·Q.· · · What role did they play in deciding allocating
   ·2· ·a fee among plaintiffs' firms?
   ·3· ·A.· · · Well, we may want to ask them about who --
   ·4· ·just like we did with Meisner, you know, who were the
   ·5· ·communications with, who was working on the case.
   ·6· ·Q.· · · As between Mr. Edwards and Ms. Hagh?
   ·7· ·A.· · · And Brian Cummings.· Mr. Manookian, maybe.                       I
   ·8· ·think he worked on that case at some point.
   ·9· ·Q.· · · The fees that you're entitled to or that
   10· ·you're asserting an entitlement to, those are monies
   11· ·that the client has recovered, correct?
   12· ·A.· · · Ask me that again.· I think that's a real
   13· ·simple answer, but --
   14· ·Q.· · · Yeah, that's right.· It's just as simple as it
   15· ·can be.
   16· ·A.· · · Yeah.· A contingent fee.
   17· ·Q.· · · Right.· But that money that you're seeking
   18· ·to recover from Cummings Manookian, from a legal
   19· ·standpoint, it's the client's money that they have
   20· ·signed an agreement with their attorneys to pay?
   21· ·A.· · · Right.· Right.
   22· ·Q.· · · Do you have any written contracts between
   23· ·Cummings Manookian and any of the defendants in this
   24· ·case?
   25· ·A.· · · I'm sorry.· Ask me that again.

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   ·1· ·Q.· · · Do you have any written contracts between
   ·2· ·Cummings Manookian and Manookian, PLLC, Hagh Law or
   ·3· ·Afsoon Hagh?
   ·4· ·A.· · · No.
   ·5· ·Q.· · · And the contracts on which you base Cummings
   ·6· ·Manookian's entitlement to fees are contracts between
   ·7· ·Cummings Manookian and the clients; is that right?
   ·8· ·A.· · · Correct.
   ·9· ·Q.· · · And the clients can agree to pay other
   10· ·attorneys as well, if they so choose?
   11· ·A.· · · Yes.
   12· ·Q.· · · Let me show you a letter dated April 19, 2017.
   13· · · · · · · · MR. SPRAGENS:· Let's mark the
   14· ·interrogatories Exhibit 3.
   15· · · · · · · · And we'll mark as Exhibit 4 the April 19,
   16· ·2017, letter.
   17· · · · · · · · (Marked Exhibit No. 3.)
   18· · · · · · · · (Marked Exhibit No. 4.)
   19· ·BY MR. SPRAGENS:
   20· ·Q.· · · Do you see that?
   21· ·A.· · · Yes.
   22· ·Q.· · · And that is an attorney-client agreement
   23· ·between Cummings Manookian and Mr. Goodwin and
   24· ·Mr. Keefer; is that correct?
   25· ·A.· · · Yes.

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   ·1· ·Q.· · · And that agreement is signed by Brian
   ·2· ·Cummings; is that correct?
   ·3· ·A.· · · Yes, on behalf of Cummings Manookian.
   ·4· ·Q.· · · So at the time that this agreement was signed,
   ·5· ·Mr. Cummings had the authority to bind Cummings
   ·6· ·Manookian, correct?
   ·7· ·A.· · · Yes.
   ·8· ·Q.· · · And much like the representation agreement we
   ·9· ·looked at earlier, this is a representation agreement
   10· ·between clients and the law firm of Cummings
   11· ·Manookian, correct?
   12· ·A.· · · Yes.
   13· ·Q.· · · Do you know which matter this representation
   14· ·agreement relates to?
   15· ·A.· · · Shoemaker versus Vanderbilt.
   16· ·Q.· · · Do you know the amount -- do you know if
   17· ·there's been a settlement reached in that case?
   18· ·A.· · · Yes, there has been a settlement.
   19· ·Q.· · · Do you know the amount of that settlement?
   20· ·A.· · · I do not.
   21· ·Q.· · · Under the Client and Scope of Representation
   22· ·section on Page 1, the second paragraph says, "All
   23· ·work on this matter by Cummings Manookian, our firm,
   24· ·will be done by Brian Cummings or Brian Manookian."
   25· · · · · ·Did I read that correctly?

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   ·1· ·A.· · · Yes.
   ·2· ·Q.· · · And that is part of the agreement between
   ·3· ·Cummings Manookian and Mr. Goodwin and Mr. Keefer?
   ·4· ·A.· · · Yes.
   ·5· ·Q.· · · There's no mention of Afsoon Hagh in that
   ·6· ·paragraph, is there?
   ·7· ·A.· · · No.
   ·8· ·Q.· · · And if Afsoon Hagh did work on behalf of
   ·9· ·Cummings Manookian, that would have violated that
   10· ·agreement, correct?
   11· ·A.· · · If she was an associate or an employee of the
   12· ·firm and worked on it, I don't know if that would be
   13· ·seen as a violation.· I guess that's a legal
   14· ·conclusion.
   15· ·Q.· · · Well, you agree with me that it says, "All
   16· ·work on this matter by our firm, Cummings Manookian,
   17· ·will be done by Brian Cummings or Brian Manookian,"
   18· ·correct?
   19· ·A.· · · Yes.
   20· ·Q.· · · So if she did work on the matter, that would
   21· ·be inconsistent with that representation, correct?
   22· ·A.· · · Not that I know how all firms work, but
   23· ·normally the engagement letter will list the primary
   24· ·attorneys that are going to be responsible for the
   25· ·case.· But, I mean, it says what it says.· I don't

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   ·1· ·know what that -- beyond that.
   ·2· ·Q.· · · And what it says is that all the work on the
   ·3· ·case will be done by Brian Cummings or Brian
   ·4· ·Manookian, correct?
   ·5· ·A.· · · Yes.
   ·6· ·Q.· · · Did there come a time that Cummings Manookian
   ·7· ·withdrew from representing Mr. Keefer and Mr. Goodwin?
   ·8· ·A.· · · I think there is some motion for withdrawal in
   ·9· ·that case maybe by Mr. Manookian.· I think I've seen
   10· ·something on that recently.
   11· ·Q.· · · And Mr. Cummings withdrew previously, correct?
   12· ·A.· · · Yes, yes.· That's correct.
   13· ·Q.· · · And Mr. Manookian also withdrew?
   14· ·A.· · · I think that's correct.
   15· ·Q.· · · And Cummings Manookian itself withdrew from
   16· ·representing them, correct?
   17· ·A.· · · I don't remember what the withdrawal on that
   18· ·case said.
   19· ·Q.· · · But if there was no attorney with an active
   20· ·law license, Cummings Manookian could not, as a matter
   21· ·of law, continue to represent these clients, correct?
   22· ·A.· · · I would say that that's correct.· I think
   23· ·there were engagement letters with other lawyers that
   24· ·did not include the Cummings Manookian lawyers.
   25· ·Q.· · · Are you aware of any other written contract

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   ·1· ·between Cummings Manookian and Mr. Goodwin and
   ·2· ·Mr. Keefer?
   ·3· ·A.· · · Cummings Manookian and -- no.
   ·4· ·Q.· · · And is this April 2017 letter the basis for
   ·5· ·your claim that Cummings Manookian is entitled to fees
   ·6· ·in the Fitzgerald case -- excuse me -- Shoemaker case?
   ·7· ·A.· · · Yes.
   ·8· ·Q.· · · And that's the sole basis for the entitlement
   ·9· ·fees?
   10· ·A.· · · Yes.· Unless there's some equitable right to
   11· ·fees.
   12· ·Q.· · · But with respect to the claims that you've
   13· ·made in this case, they all spring from this April
   14· ·2017 agreement?
   15· ·A.· · · Correct.· Yes, sir.
   16· ·Q.· · · Okay.· So this letter sets forth Cummings
   17· ·Manookian's entitlement to funds from the client; is
   18· ·that correct?
   19· ·A.· · · From the client, if they receive a settlement,
   20· ·judgment or an award.
   21· ·Q.· · · That's right.· So this is an agreement wherein
   22· ·the law firm agrees to perform services for the client
   23· ·and the client agrees to pay the law firm a portion of
   24· ·the funds that get recovered; is that right?
   25· ·A.· · · Correct.· Correct.

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   ·1· ·Q.· · · And those are the only two parties to this
   ·2· ·agreement; it's Cummings Manookian and -- I suppose
   ·3· ·three parties -- Mr. Goodwin and Mr. Keefer, correct?
   ·4· ·A.· · · Yes.
   ·5· ·Q.· · · Looking at Page 3 of this letter, do you see
   ·6· ·the last section where it says, "Mediation and binding
   ·7· ·arbitration of any attorney-client disputes"?
   ·8· ·A.· · · Yes.
   ·9· ·Q.· · · And do you agree with me that the paragraph
   10· ·under that heading states that "In order to resolve
   11· ·any dispute under this agreement, you must first go to
   12· ·mediation for a good-faith attempt at resolving the
   13· ·dispute"?
   14· ·A.· · · I see that paragraph, yes.
   15· ·Q.· · · And then "If mediation does not resolve the
   16· ·dispute, any ongoing disputed issues must be submitted
   17· ·for final disposition by an agreed-to arbitrator for
   18· ·binding arbitration."· Is that correct?
   19· ·A.· · · Correct.
   20· ·Q.· · · And so the last sentence says, "Consequently,
   21· ·neither the client nor the attorneys in this
   22· ·attorney-client relationship can file litigation over
   23· ·or about any alleged or real dispute within the
   24· ·attorney-client relationship and the forum for any
   25· ·such dispute must first be a good-faith mediation and

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   ·1· ·then binding arbitration."
   ·2· · · · · ·Did I read that correctly?
   ·3· ·A.· · · Yes.
   ·4· ·Q.· · · Have you, on behalf of Cummings Manookian,
   ·5· ·attempted to engage in a good-faith mediation about
   ·6· ·this contract?
   ·7· ·A.· · · A mediation, no.
   ·8· ·Q.· · · And have you, on behalf of Cummings Manookian,
   ·9· ·submitted any dispute arising from this contract to an
   10· ·arbitrator?
   11· ·A.· · · No.
   12· ·Q.· · · Why haven't you done that?
   13· ·A.· · · Well, I don't think we're in a dispute with
   14· ·Mr. Keefer about the -- what fees Cummings Manookian
   15· ·are entitled to.
   16· ·Q.· · · The nature of your claims in this case is that
   17· ·Mr. Keefer should be paying Cummings Manookian funds
   18· ·rather than paying another entity funds, correct?
   19· ·A.· · · Funds have already been paid.· Well, no.· Let
   20· ·me think about that.· I'm listening to Mr. Manookian
   21· ·over here.· I know that -- yeah, that's right.· The
   22· ·funds have been paid.· They have been paid.
   23· ·Q.· · · But you are seeking, on behalf of Cummings
   24· ·Manookian, to -- you're attempting to lay claim to
   25· ·some of Mr. Keefer's money, correct?

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   ·1· ·A.· · · Some of the attorney fee portion of the
   ·2· ·settlement, yes.
   ·3· ·Q.· · · And that attorney's fee portion of the
   ·4· ·settlement is determined by this contract, correct?
   ·5· ·A.· · · Correct.
   ·6· ·Q.· · · And under the terms of this contract, any
   ·7· ·dispute arising from the contract has to be taken to
   ·8· ·mediation and then arbitration, correct?
   ·9· ·A.· · · I still think this has to do with a dispute
   10· ·between the client and the attorney.· And this dispute
   11· ·is between attorney firms, law firms.
   12· ·Q.· · · Have you ever made any demand on Mr. Keefer?
   13· ·A.· · · No.
   14· ·Q.· · · Why haven't you done that?
   15· ·A.· · · Well, the settlement in this was only
   16· ·recently, I understand, and the monies had already
   17· ·been paid by the time I knew anything about that.                        I
   18· ·think they had already been paid to Mr. Edwards, I
   19· ·believe.
   20· ·Q.· · · What about in the Fitzgerald case?· Have you
   21· ·made any demand on Mr. Fitzgerald for a portion of the
   22· ·fee?
   23· ·A.· · · No.
   24· ·Q.· · · And if Mr. Fitzgerald directed that a portion
   25· ·of the fee be paid to Cummings Manookian, would that

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   ·1· ·resolve your dispute in the Fitzgerald case?
   ·2· ·A.· · · I guess it would depend on what portion of the
   ·3· ·fees he directed to be paid to Cummings Manookian.
   ·4· ·Q.· · · But you would agree with me that neither
   ·5· ·Mr. Fitzgerald nor Mr. Keefer have approved any
   ·6· ·payment to Cummings Manookian, would you not?
   ·7· ·A.· · · I have -- I don't know.· I have seen -- I
   ·8· ·haven't seen any distribution signed by Mr. Keefer for
   ·9· ·the Shoemaker case.· I know Cummings Manookian wasn't
   10· ·paid any money.· On the Fitzgerald case, I believe the
   11· ·funds were -- Mr. Manookian instructed Mr. Meisner to
   12· ·pay those funds to Hagh Law and that the order should
   13· ·state that.
   14· · · · · ·But I have seen a -- what I would call a
   15· ·distribution statement signed by Mr. -- I don't know
   16· ·if it was just -- I guess both the Fitzgeralds -- I'm
   17· ·not sure -- I can't remember -- authorizing that the
   18· ·funds be paid to Hagh Law.· But I think that may have
   19· ·been after the funds had already been distributed.
   20· ·But I'm still looking at all of that.
   21· ·Q.· · · In any event, that was after the December 2018
   22· ·withdrawal letter that we looked at earlier today,
   23· ·correct?
   24· ·A.· · · Yes.
   25· ·Q.· · · You've asserted that Cummings Manookian is

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   ·1· ·entitled to 100 percent of the fee in the Fitzgerald
   ·2· ·case; is that right?
   ·3· ·A.· · · Yes.
   ·4· ·Q.· · · And so you allege that all of the legal work
   ·5· ·that was done in that case was done by Cummings
   ·6· ·Manookian?
   ·7· ·A.· · · Yes.
   ·8· ·Q.· · · And then with respect to the Shoemaker case,
   ·9· ·what work did Cummings Manookian do on the Shoemaker
   10· ·case?
   11· ·A.· · · I don't know specifically what work they did.
   12· ·I know the complaint was filed by Brian Cummings and
   13· ·Afsoon Hagh -- Afsoon Hagh for Cummings Manookian.
   14· ·Q.· · · And is that the pleading we talked about
   15· ·earlier where we agreed that Mr. Cummings drafted that
   16· ·complaint?
   17· ·A.· · · I don't think we agreed he drafted that
   18· ·complaint.· He signed the complaint.
   19· ·Q.· · · Do you know who drafted the complaint?
   20· ·A.· · · I do not.
   21· ·Q.· · · Will you be asking Ms. Hagh if she drafted the
   22· ·complaint?
   23· ·A.· · · I assume so.
   24· ·Q.· · · Have you asked Mr. Cummings about that?
   25· ·A.· · · No.· I assume he'll be asked that in his

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   ·1· ·deposition.
   ·2· ·Q.· · · And before you filed this adversary
   ·3· ·proceeding, did you contact Mr. Cummings to find out
   ·4· ·who had done what work in that case?
   ·5· ·A.· · · No.
   ·6· ·Q.· · · Why not?
   ·7· ·A.· · · Well, we were under a time crunch, for one
   ·8· ·thing, but I -- I don't think there was any -- I
   ·9· ·assumed there was not any dispute with Mr. Cummings
   10· ·about whether Cummings Manookian was entitled to any
   11· ·fees in the Shoemaker case.
   12· ·Q.· · · But if you wanted to figure out how much of
   13· ·the fee in Shoemaker Cummings Mankookian was entitled
   14· ·to, wouldn't you want to talk to the attorney who did
   15· ·work on behalf of Cummings Manookian?
   16· ·A.· · · Well, once the adversary proceeding was filed,
   17· ·then I'm relying on working with my attorney, and I
   18· ·don't know if I can say anymore about that.
   19· ·Q.· · · But to your knowledge, Mr. Young has not
   20· ·called Mr. Cummings to try to find out what percentage
   21· ·of the fee Cummings Manookian should be entitled to in
   22· ·Shoemaker?
   23· ·A.· · · I believe that Mr. Cummings is working off --
   24· ·and I may be wrong about this -- is working off the
   25· ·original Cummings Manookian engagement letter.· And we

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   ·1· ·had an agreement with Mr. Cummings that any cases that
   ·2· ·he worked on, we would decide the fee.
   ·3· · · · · ·The percentage fees would be decided according
   ·4· ·to the agreement that the members had.· At Cummings
   ·5· ·Manookian, there was a formula for what the fees would
   ·6· ·be, and that's the way the fees were determined that
   ·7· ·I've received from Mr. Cummings in the bankruptcy
   ·8· ·case.
   ·9· ·Q.· · · And have you used that formula in the
   10· ·Fitzgerald case?
   11· ·A.· · · No.
   12· ·Q.· · · Why haven't you done that?
   13· ·A.· · · I don't think that Mr. Cummings -- that's a
   14· ·good question.· I don't think Mr. Cummings claims any
   15· ·fees in the Fitzgerald case.· I'm not aware that he
   16· ·does.
   17· ·Q.· · · What about in the Shoemaker case?
   18· ·A.· · · Yes, he does.
   19· ·Q.· · · And did you use that formula in the Shoemaker
   20· ·case?
   21· ·A.· · · Use the formula how?· I haven't made a full
   22· ·decision on how much Cummings Manookian should be
   23· ·entitled to in the Shoemaker case, but, you know, it
   24· ·would -- it just depends.
   25· ·Q.· · · And what is going to determine how much you

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   ·1· ·claim Cummings Manookian is entitled to in the
   ·2· ·Shoemaker case?
   ·3· ·A.· · · After we complete discovery and I discuss it
   ·4· ·with my attorney, then I'll make a decision.
   ·5· ·Q.· · · And is it based on the number of hours that
   ·6· ·were done -- put into the case by attorneys at the
   ·7· ·various firms?
   ·8· ·A.· · · No.· I think it would be part of a contingency
   ·9· ·based on the original -- on the Cummings Manookian
   10· ·engagement letter and how long Cummings Manookian was
   11· ·attorney for the plaintiffs in the case before another
   12· ·attorney firm took over representation.
   13· ·Q.· · · So in your view it's based on the length of
   14· ·time that Cummings Manookian was representing them
   15· ·before another firm came in to represent them?
   16· ·A.· · · Based on the -- based on the engagement letter
   17· ·and my understanding of how that works.
   18· ·Q.· · · Does it impact your view of how much Cummings
   19· ·Manookian is entitled to whether no work was done over
   20· ·a period of time?· Meaning, isn't it more than just
   21· ·how long they represent them but also what work is
   22· ·done during that representation?
   23· ·A.· · · I think -- well, I know that that is if you're
   24· ·seeking equitable right to a fee, then I believe it's
   25· ·the value of the services, but I think it does -- the

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   ·1· ·number of hours figure into that somehow.
   ·2· ·Q.· · · Do you have personal experience with
   ·3· ·contingency fee litigation?
   ·4· ·A.· · · Not where I've represented.· I'm trying to
   ·5· ·think.· No.· I mean, obviously I have bankruptcy
   ·6· ·cases where debtors have causes of action, and they've
   ·7· ·already employed attorneys or I employ those attorneys
   ·8· ·or employ new attorneys to represent the estate on the
   ·9· ·same contingency fee basis.
   10· ·Q.· · · With respect to this April 2017 engagement
   11· ·letter with Mr. Goodwin and Mr. Keefer, this has the
   12· ·same termination of professional relationship language
   13· ·in it that the Fitzgerald engagement letter has,
   14· ·correct?
   15· ·A.· · · What date did you say?· April -- you said
   16· ·April 17th?
   17· ·Q.· · · I'm looking at the April 2017 letter that's in
   18· ·front of you.
   19· ·A.· · · Oh, April of 2017.· April 19, 2017.· Yes.
   20· ·Q.· · · Yes.· And at the bottom of Page 2 and top
   21· ·of Page 3, you'll agree that this has the same
   22· ·termination of professional relationship clause that
   23· ·the Fitzgerald agreement has?
   24· ·A.· · · Yes.
   25· ·Q.· · · And that's the one where it informs the client

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   ·1· ·that if the client fires them, the attorneys may be
   ·2· ·able to seek some portion of the attorney's fee, and
   ·3· ·then it says if we withdraw, we will seek our costs,
   ·4· ·we will recover our costs, correct?
   ·5· ·A.· · · It just says -- it's silent on that, but it
   ·6· ·does say it doesn't relieve you of the responsibility
   ·7· ·to pay costs.
   ·8· ·Q.· · · Right.· And it doesn't say anything about fees
   ·9· ·there.
   10· ·A.· · · No.
   11· ·Q.· · · But your position on behalf of Cummings
   12· ·Manookian is that even though these clauses are silent
   13· ·about fees, that Cummings Manookian has the right to
   14· ·take fees from its clients, even though it didn't say
   15· ·anything about that in the contract?
   16· ·A.· · · I think it may depend on the situation.· And
   17· ·even in Shoemaker, I don't think we know all of the --
   18· ·all of the workings of that, as to what the client --
   19· ·why the client chose to enter into a engagement letter
   20· ·with Manookian, PLLC, and then with John Edwards.
   21· ·Q.· · · Well, you understand, ma'am, that one of the
   22· ·reasons for the requirement of a written engagement
   23· ·letter in a contingency fee case is a concern that
   24· ·lawyers may take advantage of clients who are not
   25· ·sophisticated and so they need to memorialize the

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   ·1· ·agreement in writing and spell everything out and have
   ·2· ·it signed by the client, correct?
   ·3· ·A.· · · Correct.
   ·4· ·Q.· · · And the position you're taking in this case,
   ·5· ·on behalf of a law firm, is that even though there's
   ·6· ·no reference to attorney's fees in the Shoemaker or
   ·7· ·Fitzgerald engagement agreement, that a law firm is
   ·8· ·entitled to take attorney's fees out of a settlement,
   ·9· ·correct?
   10· ·A.· · · I'm sorry.· Ask me that question again.
   11· ·Q.· · · The position that you're taking in this case,
   12· ·on behalf of a law firm, is that even though the
   13· ·engagement letter is silent about the ability to
   14· ·collect attorney's fees from a client in the event of
   15· ·a withdrawal, that the law firm is entitled to take
   16· ·those fees out of the client's settlement.· That's
   17· ·your position?
   18· ·A.· · · There may be a dispute that arises about that,
   19· ·but I think depending on the situation of why they
   20· ·withdrew -- you know, say if there was some misconduct
   21· ·on the part of the client or that sort of thing, but I
   22· ·think it would just depend on why there was a
   23· ·withdrawal.
   24· ·Q.· · · But, I mean, the position you're taking in
   25· ·this case is that after a withdrawal, you're asserting

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   ·1· ·that Cummings Manookian has the ability to claim
   ·2· ·attorney's fees in these two cases, correct?
   ·3· ·A.· · · I think for the time that they represented --
   ·4· ·or because they had an engagement letter and they
   ·5· ·represented the plaintiff, I think they would have a
   ·6· ·right to attorney fees -- a portion of the attorney
   ·7· ·fees.
   ·8· ·Q.· · · Even though they didn't put that language in
   ·9· ·the engagement agreement, correct?
   10· ·A.· · · (Pause.)
   11· ·Q.· · · I'm sorry.· Correct?
   12· ·A.· · · I'm sorry.· I got distracted by Mr. Manookian
   13· ·so I forgot what your question was.
   14· ·Q.· · · My question is:· You're taking the position in
   15· ·this case that even though the engagement agreement
   16· ·between Cummings Manookian and the clients in
   17· ·Fitzgerald and Shoemaker does not specify, in contrast
   18· ·to the prior paragraph, that the firm may collect
   19· ·attorney's fees in the event it withdraws, the
   20· ·position you're taking is that it is entitled to do
   21· ·that, right?
   22· ·A.· · · I think it could, depending on the situation.
   23· ·Q.· · · Have you done anything to look into whether
   24· ·the position you're taking in this case is consistent
   25· ·with the rules of professional conduct governing

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   ·1· ·lawyers?
   ·2· ·A.· · · No.
   ·3· ·Q.· · · Are you going to do that?
   ·4· ·A.· · · I will.
   ·5· ·Q.· · · So you will commit to retaining an expert to
   ·6· ·see if the position you're taking in this case is an
   ·7· ·ethical position for a lawyer to take?
   ·8· ·A.· · · If that's what I need to do, I will do that.
   ·9· ·Q.· · · Do you think that's what you need to do?
   10· ·A.· · · I don't know without consulting with my
   11· ·attorney.
   12· · · · · · · · MR. GABBERT:· Is that Exhibit 4?· Did we
   13· ·list that Exhibit 4?
   14· · · · · · · · MR. SPRAGENS:· Yes, that's Exhibit 4.
   15· ·BY MR. SPRAGENS:
   16· ·Q.· · · With respect to the Shoemaker settlement --
   17· ·and we can set aside that exhibit for now -- were you
   18· ·involved in the settlement negotiations that ended the
   19· ·Shoemaker case?
   20· ·A.· · · No.
   21· ·Q.· · · Was Cummings Manookian involved in that
   22· ·conversation at all?
   23· ·A.· · · I do not think so, no.
   24· ·Q.· · · So it's fair to say that Cummings Manookian
   25· ·did not secure the settlement in the Shoemaker case,

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   ·1· ·is it not?
   ·2· ·A.· · · Well, I think that depends on -- they weren't
   ·3· ·involved when there was the settlement, but I would
   ·4· ·think that from the beginning to the ending of the
   ·5· ·case, everybody's working toward some result, whether
   ·6· ·it's a settlement or a trial.
   ·7· ·Q.· · · There came a time where Cummings Manookian no
   ·8· ·longer had any attorneys and didn't participate in any
   ·9· ·settlement discussion, correct?
   10· ·A.· · · I think that's correct.
   11· ·Q.· · · And then Mr. Edwards got involved in the case?
   12· ·A.· · · Correct.
   13· ·Q.· · · And do you know what the highest offer in the
   14· ·Shoemaker case was while Cummings Manookian was
   15· ·involved in the case?
   16· ·A.· · · I do not.
   17· ·Q.· · · Have you asked Mr. Cummings about that?
   18· ·A.· · · No.
   19· ·Q.· · · Do you know if Mr. Young has done that?
   20· ·A.· · · I don't know.
   21· ·Q.· · · Well, is knowing what the highest offer that
   22· ·was on the table when Cummings Manookian was involved
   23· ·in the case, is that relevant to your decision about
   24· ·what portion of the fee in Shoemaker Cummings
   25· ·Manookian is entitled to?

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   ·1· ·A.· · · I haven't evaluated that yet, so I don't know.
   ·2· ·Q.· · · Are you going to try to find out that
   ·3· ·information?
   ·4· ·A.· · · Yes.· We've still got depositions, other
   ·5· ·depositions to take.
   ·6· ·Q.· · · So you'll be asking what the best offer that
   ·7· ·was on the table when Cummings Manookian was involved
   ·8· ·in the Shoemaker case was?
   ·9· ·A.· · · If that's relevant to deciding what fee that
   10· ·Cummings Manookian is entitled to.
   11· ·Q.· · · And do you think that that's relevant as the
   12· ·trustee for Cummings Manookian?
   13· · · · · · · · MR. YOUNG:· Objection to the extent it
   14· ·calls for a legal conclusion.
   15· · · · · · · · THE WITNESS:· I don't know.
   16· ·BY MR. SPRAGENS:
   17· ·Q.· · · You're a lawyer, right?
   18· ·A.· · · That's correct.
   19· · · · · · · · MR. SPRAGENS:· Let's just take a
   20· ·five-minute break, if you don't mind.· I might be
   21· ·nearing the end here.
   22· · · · · · · · (Recess observed.)
   23· ·BY MR. SPRAGENS:
   24· ·Q.· · · Ms. Burton, I wanted to talk a little bit
   25· ·about the Shoemaker case with you.· Do you recall

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   ·1· ·whether Mr. Cummings signed that complaint on behalf
   ·2· ·of Cummings Law or Cummings Manookian?
   ·3· ·A.· · · The Shoemaker complaint?
   ·4· ·Q.· · · Uh-huh.
   ·5· ·A.· · · I think it was -- the Shoemaker complaint, I
   ·6· ·think, was -- he signed on behalf of Cummings Law or
   ·7· ·whatever his other law firm was.
   ·8· ·Q.· · · It was after he had left Cummings Manookian?
   ·9· ·A.· · · Correct.
   10· ·Q.· · · And the work he did at Cummings Law was not on
   11· ·behalf of Cummings Manookian, correct?
   12· ·A.· · · Correct.· Correct.
   13· ·Q.· · · There's no alterego or continuation theory
   14· ·with respect to what Mr. Cummings was doing at
   15· ·Cummings Law, correct?
   16· ·A.· · · No.
   17· ·Q.· · · And then your basis for asserting that
   18· ·Ms. Hagh was acting on behalf of Cummings Manookian is
   19· ·that on the complaint it does not list -- or it lists
   20· ·her as associate with Cummings Manookian; is that
   21· ·correct?
   22· ·A.· · · It lists her and Cummings Manookian, being at
   23· ·Cummings Manookian, or however you would say that.
   24· ·Q.· · · Well, when you say "being at Cummings
   25· ·Manookian," do you mean that it said Cummings

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   ·1· ·Manookian under her name or --
   ·2· ·A.· · · I believe that's right.· I believe that's
   ·3· ·correct.
   ·4· ·Q.· · · Do you know if Cummings Manookian paid the
   ·5· ·filing fee in that case?
   ·6· ·A.· · · I think they paid the -- I think the filing
   ·7· ·fee was paid.
   ·8· ·Q.· · · By Cummings Manookian?
   ·9· ·A.· · · I don't -- I don't know who paid the filing
   10· ·fee.
   11· ·Q.· · · Do you know if Cummings Manookian advanced any
   12· ·costs in that case?
   13· ·A.· · · In which case?
   14· ·Q.· · · In the Shoemaker case.
   15· ·A.· · · I do not know.· No, I don't know.
   16· ·Q.· · · Would you agree with me that the costs in that
   17· ·case were over $100,000?
   18· ·A.· · · That's what I was told.
   19· ·Q.· · · By whom?
   20· ·A.· · · Mr. Young through -- there was $100,000
   21· ·that was paid, I think, to Afsoon Hagh out of the
   22· ·settlement to pay expenses.· We were informed of that
   23· ·by Mr. Gabbert, and we asked for evidence of what was
   24· ·paid.
   25· ·Q.· · · And Cummings Manookian did not advance any of

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   ·1· ·those $100,000, did they?
   ·2· ·A.· · · I don't know.· But it didn't receive any
   ·3· ·reimbursement of any fees.
   ·4· ·Q.· · · And you're not claiming any on its behalf, are
   ·5· ·you?
   ·6· ·A.· · · I don't know.· I don't think we have records
   ·7· ·to see what -- we don't have bank records for Cummings
   ·8· ·Manookian to know.
   ·9· ·Q.· · · As far as you know, sitting here today, the
   10· ·over $100,000 that was paid was paid by Hagh Law out
   11· ·of a Hagh Law bank account?
   12· ·A.· · · I don't know that.· I just know that there
   13· ·were $100,000 worth of expenses that we were informed
   14· ·-- that 100,000 of the proceeds that Mr. Gabbert was
   15· ·holding was going to be paid to Afsoon Hagh to pay
   16· ·expenses in Shoemaker.
   17· ·Q.· · · And did some portion of the expenses in that
   18· ·case go to Brian Cummings?
   19· ·A.· · · I don't know.· I don't know.
   20· ·Q.· · · You have control over Cummings Manookian's
   21· ·accounts right now; is that right?
   22· ·A.· · · I have control over the Cummings Manookian
   23· ·bankruptcy bank account.
   24· ·Q.· · · You did not authorize any advanced costs in
   25· ·the Shoemaker case on behalf of Cummings Manookian,

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   ·1· ·did you?
   ·2· ·A.· · · No.
   ·3· ·Q.· · · And you're not -- therefore, you're not
   ·4· ·seeking recovery of any costs that you've authorized,
   ·5· ·correct?
   ·6· ·A.· · · That the bankruptcy estate made, no.
   ·7· ·Q.· · · And the rest of the costs, to your knowledge,
   ·8· ·were advanced either by Hagh Law or Cummings Law; is
   ·9· ·that correct?
   10· ·A.· · · I don't know.· I don't know, like, at the
   11· ·beginning of the case who advanced what, what costs.
   12· ·Q.· · · In your time as the trustee for Cummings
   13· ·Manookian, did you offer to pay any expenses in the
   14· ·Shoemaker case?
   15· ·A.· · · No.
   16· ·Q.· · · Why didn't you do that?
   17· ·A.· · · Well, I think there was a dispute about
   18· ·whether Cummings Manookian was entitled to -- I mean,
   19· ·from the very beginning, Mr. Manookian has taken the
   20· ·position that Cummings Manookian isn't entitled to any
   21· ·fees.· But we weren't requested -- the bankruptcy
   22· ·estate didn't receive any requests to advance any
   23· ·expenses.
   24· ·Q.· · · But fair to say that since you've been the
   25· ·trustee for Cummings Manookian, you have not -- the

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   ·1· ·firm has not participated in the Shoemaker case during
   ·2· ·that time period, has it?
   ·3· ·A.· · · The bankruptcy estate?
   ·4· ·Q.· · · Yes.
   ·5· ·A.· · · Correct.
   ·6· ·Q.· · · And Cummings Manookian hasn't done anything in
   ·7· ·the Shoemaker case since the time you've been the
   ·8· ·trustee of the bankruptcy estate?
   ·9· ·A.· · · Correct.
   10· ·Q.· · · What was the last act that Cummings Manookian
   11· ·did in the Shoemaker case?
   12· ·A.· · · I don't know.
   13· ·Q.· · · Do you know any work that Cummings Manookian
   14· ·did in the Shoemaker case?
   15· ·A.· · · I know that the -- obviously, the -- of
   16· ·course, I'm assuming from the engagement letter to the
   17· ·filing of the complaint, that there was work done on
   18· ·that by Cummings Manookian.· Cummings Manookian, based
   19· ·on the signature on that complaint, was involved in
   20· ·the complaint.
   21· · · · · ·Beyond that, I know we've gotten, recently,
   22· ·some discovery and I'm still going through that.· But
   23· ·other than that, I don't know anything.· I don't think
   24· ·I know anything specifically.
   25· ·Q.· · · On what date was the Shoemaker case filed, as

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   ·1· ·best you recall?
   ·2· ·A.· · · I think it was in -- is it 2018?· It was after
   ·3· ·Mr. Manookian was suspended the first time, I believe,
   ·4· ·so it was after that date.· I can't remember if that
   ·5· ·was '18 or '19.· But yeah.
   ·6· ·Q.· · · Maybe I can help you jog your memory a little.
   ·7· ·Do you recall that he sent that withdrawal letter
   ·8· ·December of 2018?· And so I'll suggest to you that I
   ·9· ·think that case was filed February 2019.
   10· ·A.· · · That's correct.
   11· ·Q.· · · At that time, there were no members of
   12· ·Cummings Manookian that had an active license to
   13· ·practice law, correct?
   14· ·A.· · · Correct.
   15· ·Q.· · · Because Mr. Manookian, at that point, was the
   16· ·only member of Cummings Manookian, and he did not have
   17· ·an active law license?
   18· ·A.· · · Correct.
   19· ·Q.· · · Do you recall whether the Court ordered an
   20· ·amended complaint be filed in the Shoemaker case?
   21· ·A.· · · I don't know.
   22· ·Q.· · · So you don't know if the operative complaint
   23· ·in the case was the same one that you're describing
   24· ·that Mr. Cummings and Ms. Hagh filed?
   25· ·A.· · · I do not know.

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   ·1· ·Q.· · · You would agree that at the time the Shoemaker
   ·2· ·case was settled, it was settled based on the then
   ·3· ·operative complaint, not a prior complaint, right?
   ·4· ·A.· · · I would say so, yes, unless those two were
   ·5· ·taken together.· I don't know.· But I would say the
   ·6· ·amended complaint.
   ·7· ·Q.· · · So the case that was settled was the case that
   ·8· ·was filed in the amended complaint?
   ·9· ·A.· · · I don't know.
   10· ·Q.· · · But you would agree that whatever the
   11· ·operative complaint was, that was the case that was
   12· ·settled, correct?
   13· ·A.· · · I don't know what all was included in that
   14· ·amended complaint, if it added or dropped or -- I
   15· ·don't know -- restated.· It may say in there --
   16· ·sometimes they say we adopt and restate.· I just don't
   17· ·know.· I don't think I've seen that.
   18· ·Q.· · · Have you read all of the pleadings in the
   19· ·Shoemaker case?
   20· ·A.· · · No, I have not.
   21· ·Q.· · · Have you read any of the pleadings in the
   22· ·Shoemaker case?
   23· ·A.· · · Yes.
   24· ·Q.· · · Which ones?
   25· ·A.· · · I believe I've read the complaint in the

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   ·1· ·Shoemaker case.
   ·2· ·Q.· · · And was that the initial complaint that you've
   ·3· ·been talking about earlier that Mr. Cummings and
   ·4· ·Ms. Hagh filed?
   ·5· ·A.· · · I don't recall whether it said amended or not.
   ·6· ·I'd have to go back and look.
   ·7· ·Q.· · · And it had Mr. Cummings' signature on it,
   ·8· ·right?
   ·9· ·A.· · · It did.
   10· ·Q.· · · Have you read anything other than that
   11· ·complaint in the Shoemaker case?
   12· ·A.· · · I don't think so.
   13· ·Q.· · · Do you know how many depositions were taken in
   14· ·that case?
   15· ·A.· · · I do not.
   16· ·Q.· · · Have you read any of the deposition
   17· ·transcripts in that case?
   18· ·A.· · · I have not.· I don't know that we've been
   19· ·provided with any of those.
   20· ·Q.· · · Have you gone on to CaseLink to look at the
   21· ·file for that case?
   22· ·A.· · · No.
   23· ·Q.· · · Do you know how many pleadings there -- or how
   24· ·many entries there are in the docket?
   25· ·A.· · · No.

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   ·1· ·Q.· · · Any reason that you haven't tried to educate
   ·2· ·yourself about the Shoemaker case?
   ·3· ·A.· · · No.
   ·4· ·Q.· · · It's fair to say that you, on behalf of
   ·5· ·Cummings Manookian, were not actively participating in
   ·6· ·the Shoemaker case?
   ·7· ·A.· · · Correct.
   ·8· ·Q.· · · And you don't know what, if any, work Cummings
   ·9· ·Manookian did on that case at the beginning, do you?
   10· ·A.· · · No.
   11· ·Q.· · · You know that they signed up the client and
   12· ·then, at some point, Mr. Cummings and Ms. Hagh filed a
   13· ·complaint?
   14· ·A.· · · Correct.
   15· ·Q.· · · And that's the substance and extent of your
   16· ·knowledge on the Shoemaker case?
   17· ·A.· · · Yes, unless there were other pleadings that
   18· ·Ms. Hagh signed that had the Cummings Manookian
   19· ·information on it, but I don't recall if there were
   20· ·any.
   21· ·Q.· · · Is it possible that the only pleadings that
   22· ·you would be reading in that case are the ones that
   23· ·Ms. Hagh filed that you allege supports your theory of
   24· ·the case?
   25· ·A.· · · Ask me -- I'm sorry.· Ask me that question

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   ·1· ·again.
   ·2· ·Q.· · · Is it possible that the only pleadings that
   ·3· ·you have been reading in Shoemaker are the ones that
   ·4· ·in your view or Mr. Young's view support your alterego
   ·5· ·or continuation liability theory in this case?
   ·6· ·A.· · · I don't know what Mr. Young thinks about that,
   ·7· ·but, you know, for me it was a case in which Cummings
   ·8· ·Manookian had a engagement letter and worked on for
   ·9· ·some period of time and -- before another firm had
   10· ·an engagement letter.· And based on that, it's my
   11· ·understanding that Cummings Manookian has a right to a
   12· ·fee in that case.
   13· ·Q.· · · But the work that you did -- the work that
   14· ·you're aware of in that case is strictly signing up
   15· ·the client in terms of what Cummings Manookian did,
   16· ·correct?
   17· ·A.· · · I don't know what all is included.· I'm the
   18· ·bankruptcy trustee.· But I don't know.
   19· ·Q.· · · You know that they signed up the client and
   20· ·then time passed, and you're assuming that they did
   21· ·some work during that time period on the case?
   22· ·A.· · · I would think they had to before the complaint
   23· ·was filed.
   24· ·Q.· · · But you don't know that Cummings Manookian
   25· ·drafted the complaint, do you?

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   ·1· ·A.· · · Drafted the complaint?· No.
   ·2· ·Q.· · · Right.· And you do agree that at the time the
   ·3· ·case settled, Cummings Manookian was no longer
   ·4· ·representing the client in that Shoemaker case?
   ·5· · · · · · · · MR. YOUNG:· Objection.· Asked and
   ·6· ·answered.
   ·7· · · · · · · · THE WITNESS:· I believe that's correct,
   ·8· ·because I think it was settled after the bankruptcy
   ·9· ·petition was filed.
   10· ·BY MR. SPRAGENS:
   11· ·Q.· · · And as you sit here today, you're not prepared
   12· ·to testify what portion of the Shoemaker fee Cummings
   13· ·Manookian is entitled to?
   14· ·A.· · · No.
   15· ·Q.· · · And are you seeking to recover some funds from
   16· ·Manookian, PLLC, with respect to the Shoemaker fee?
   17· ·A.· · · I don't know that they've -- I don't know that
   18· ·they've received any of the settlement proceeds in the
   19· ·-- it's my understanding that Mr. -- I'm sorry.· Back
   20· ·up.
   21· · · · · ·I don't know that Manookian, PLLC, has
   22· ·received any funds from the settlement of that case.
   23· ·It's my understanding that after John Edwards was
   24· ·paid some amount, the funds were being held in
   25· ·Mr. Gabbert's trust account.· But I think it's still

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   ·1· ·up in the air about whether or not Manookian, PLLC,
   ·2· ·claims a portion of that for attorney fees in that
   ·3· ·case.
   ·4· ·Q.· · · And as it stands right now, that fee is still
   ·5· ·-- it's still the client's money; isn't that the case?
   ·6· ·A.· · · I don't know how that is considered.· It's
   ·7· ·been -- it's paid.· The clients don't have it.· The
   ·8· ·attorneys -- Mr. Gabbert has the fees.· And the
   ·9· ·attorneys are -- you know, Mr. Cummings is claiming
   10· ·the interest in those fees.· So I think it's a matter
   11· ·between the attorneys now.
   12· ·Q.· · · And you agree that with respect to the
   13· ·Shoemaker case, Hagh Law is entitled to some portion
   14· ·of that fee?
   15· ·A.· · · I think that's correct.· Well, I know that
   16· ·there is a Manookian, PLLC, engagement letter that in
   17· ·that first paragraph, it says that you're represented
   18· ·by Manookian, PLLC.· But in the paragraph that usually
   19· ·says, within that firm, who's working on the cases, it
   20· ·says Brian Manookian and Afsoon Hagh, and I think it
   21· ·mentions both of the law firm names.
   22· ·Q.· · · So it says Hagh Law in that --
   23· ·A.· · · In that letter.· Somewhere in that letter it
   24· ·does.· And in the contingency -- yeah, the contingency
   25· ·part in that letter it mentions Cummings Law, Brian

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   ·1· ·Cummings.
   ·2· ·Q.· · · So based on that letter with the
   ·3· ·representation about Hagh Law in it, do you agree that
   ·4· ·Hagh Law is entitled to some portion of the Shoemaker
   ·5· ·fee?
   ·6· ·A.· · · I don't know, but I would say -- well, yes.
   ·7· ·Yes.· I was going to say I don't know, but I know Hagh
   ·8· ·Law claims an interest in those -- those fees, and I
   ·9· ·don't know whether it can be argued that she did or
   10· ·didn't have an engagement letter, but she is -- her
   11· ·firm is mentioned in that letter.
   12· ·Q.· · · And do you recall that there was another
   13· ·engagement letter in that case, the one that
   14· ·Mr. Edwards signed along with Ms. Hagh?
   15· ·A.· · · Yes.· And Mr. Manookian also signed that, but
   16· ·I think it's a waiver or something.
   17· ·Q.· · · So that letter governs the distribution of the
   18· ·attorney's fee in that case, correct?
   19· ·A.· · · That's the question, isn't it?· But yes,
   20· ·that's another engagement letter.
   21· ·Q.· · · And you don't disagree that Afsoon Hagh and
   22· ·Hagh Law did perform substantial work on the Shoemaker
   23· ·case?
   24· ·A.· · · I don't know about substantial work, but they
   25· ·were lawyers in the firm -- in that firm.

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   ·1· ·Q.· · · If you went on CaseLink and looked through the
   ·2· ·docket and you saw a bunch of pleadings by Ms. Hagh
   ·3· ·and were aware of court appearances by Ms. Hagh, would
   ·4· ·that satisfy you that Ms. Hagh and Hagh Law did
   ·5· ·substantial work in that case?
   ·6· ·A.· · · I think that and her deposition, what she says
   ·7· ·in her deposition.
   ·8· ·Q.· · · With respect to the Fitzgerald case, do you
   ·9· ·agree that Afsoon Hagh personally performed
   10· ·substantial work on that case?
   11· ·A.· · · I don't -- I don't know.
   12· ·Q.· · · But you are aware that she sent letters and
   13· ·signed pleadings and did work on that case, aren't
   14· ·you?
   15· ·A.· · · I have signed pleadings.· I don't know that I
   16· ·have letters.
   17· ·Q.· · · Do you know whether Ms. Hagh drafted and
   18· ·argued the motion for summary judgment in that case?
   19· ·A.· · · My recollection is there is a motion for
   20· ·summary judgment in that case that was filed by Afsoon
   21· ·Hagh but with Cummings Manookian.
   22· ·Q.· · · Okay.· And do you know, regardless of the
   23· ·entity -- I'm not really concerned about that at this
   24· ·moment.· Do you know whether she went and argued that
   25· ·motion in court?

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   ·1· ·A.· · · I do not know.
   ·2· ·Q.· · · Do you have any reason to dispute that she
   ·3· ·personally invested a lot of time and energy working
   ·4· ·on the Fitzgerald matter?
   ·5· ·A.· · · I don't know.
   ·6· ·Q.· · · But if she testifies that she did, you'll --
   ·7· ·you'll believe that?
   ·8· ·A.· · · Yes, unless -- yes.
   ·9· ·Q.· · · But you're asserting 100 percent fee
   10· ·entitlement by Cummings Manookian in that case,
   11· ·correct?
   12· ·A.· · · Correct.
   13· ·Q.· · · So are you going to pay Ms. Hagh for the time
   14· ·she spent working, you allege, on behalf of Cummings
   15· ·Manookian?
   16· ·A.· · · I haven't thought about that.
   17· ·Q.· · · I mean, somehow she's got to get paid for the
   18· ·work she did, right?
   19· ·A.· · · I guess she would have to file a claim in the
   20· ·bankruptcy court.
   21· ·Q.· · · As the employee, in your view, of the debtor?
   22· ·A.· · · Possibly.· I just haven't thought about that.
   23· ·Q.· · · And under your reading of the situation, the
   24· ·only way that Ms. Hagh gets paid for the work she did
   25· ·is if she files a claim as an employee of Cummings

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   ·1· ·Manookian to get paid; is that right?
   ·2· ·A.· · · Well, if the fee belongs to Cummings
   ·3· ·Manookian.· I guess it just depends on what her
   ·4· ·compensation was when she was employed by Cummings
   ·5· ·Manookian.
   ·6· ·Q.· · · And do you know whether she was ever
   ·7· ·compensated by Cummings Manookian?
   ·8· ·A.· · · Mr. Manookian said she was not, that she was
   ·9· ·not.
   10· ·Q.· · · So your view of the situation is that Ms. Hagh
   11· ·did a lot of free work, legal work, for Cummings
   12· ·Manookian and never got paid and you're going to keep
   13· ·not paying her?
   14· ·A.· · · I don't know that.· I don't know if she did
   15· ·free work.
   16· ·Q.· · · Isn't it possible that she just ran her own
   17· ·law firm and it was called Hagh Law and she is
   18· ·entitled to part of that fee?
   19· ·A.· · · It could be.
   20· · · · · · · · MR. SPRAGENS:· All right.· I don't have
   21· ·anything further right now.· I don't know if
   22· ·Mr. Gabbert has any questions.
   23· · · · · · · · · · E X A M I N A T I O N
   24· ·BY MR. GABBERT:
   25· ·Q.· · · Do you have any evidence whatsoever that --

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   ·1· ·and I'm going to talk about Ms. Hagh.· And when I
   ·2· ·refer to Ms. Hagh, I'm talking about Hagh, and Hagh
   ·3· ·Law.· Okay?
   ·4· ·A.· · · Okay.
   ·5· ·Q.· · · Do you have any evidence whatsoever that Hagh
   ·6· ·or Hagh Law took any furniture, property of any kind
   ·7· ·whatsoever, from the debtor?
   ·8· ·A.· · · No.
   ·9· ·Q.· · · Do you have any evidence that she was ever a
   10· ·member of the debtor?
   11· ·A.· · · No.
   12· ·Q.· · · Do you have evidence that she performed work
   13· ·on behalf of the debtor after Mr. Manookian's
   14· ·suspension?
   15· ·A.· · · In --
   16· ·Q.· · · On behalf of the debtor, I'm talking about.
   17· ·A.· · · She was listed as the attorney in the
   18· ·complaint, the Shoemaker complaint that was filed.
   19· ·Q.· · · As part of Cummings Manookian or her
   20· ·separately?
   21· ·A.· · · Part of Cummings Manookian.· And then in the
   22· ·Fitzgerald case -- I have to get that back in my head
   23· ·about when Mr. Manookian was suspended.· October of --
   24· · · · · · · · MR. MANOOKIAN:· I'll just put on the
   25· ·record, I wrote the letter to the Fitzgeralds.· My

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   ·1· ·recollection is I waited until the very last day.
   ·2· ·The Tennessee Supreme Court -- I was temporarily
   ·3· ·suspended.· They then stayed the suspension for some
   ·4· ·period of time and then lifted the stay.· And so by
   ·5· ·December 7th of 2018, I was effectively suspended from
   ·6· ·the practice of law.
   ·7· · · · · · · · THE WITNESS:· After December of '18,
   ·8· ·there was the pleading that was filed that said
   ·9· ·Mr. Manookian was withdrawing from the case but Afsoon
   10· ·Hagh would continue representing the plaintiffs.
   11· · · · · · · · I believe there was -- there may have
   12· ·been some communication with Ronette McCarthy during
   13· ·the pendency of the Fitzgerald case, and then we
   14· ·already talked about -- and I think there may have
   15· ·been other pleadings in the Fitzgerald case that
   16· ·either stated Cummings Manookian or Afsoon Hagh with
   17· ·the Cummings Manookian address, telephone, all of
   18· ·that.· And then we talked about the filing of the
   19· ·Shoemaker complaint, that she was listed as an
   20· ·attorney with the --
   21· ·BY MR. GABBERT:
   22· ·Q.· · · But she wasn't a signatory on that?
   23· ·A.· · · Pardon me?
   24· ·Q.· · · But she wasn't a signatory on that?
   25· ·A.· · · I don't think so.· I think Cummings Manookian

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   ·1· ·-- I mean -- I'm sorry -- Brian Cummings signed that
   ·2· ·pleading.
   ·3· ·Q.· · · After the filing of bankruptcy, Cummings
   ·4· ·Manookian had nothing -- no involvement whatsoever in
   ·5· ·any of those cases, right?
   ·6· ·A.· · · Correct.
   ·7· ·Q.· · · Okay.· And you have no evidence of what
   ·8· ·Cummings Manookian did prior to the filing of
   ·9· ·bankruptcy in these cases?
   10· ·A.· · · The pleadings that I've seen and the emails
   11· ·and document preparation.· But personally, do I know?
   12· ·No.
   13· ·Q.· · · Okay.· So you don't know -- I mean, you're
   14· ·just talking about these documents you're talking
   15· ·about, right?
   16· ·A.· · · Right.
   17· ·Q.· · · Okay.· The work that was done on these cases
   18· ·prior to the bankruptcy, do you have evidence of what
   19· ·work she did prior to that and what her relationship
   20· ·was, whatsoever, with the firm, the debtor?
   21· ·A.· · · I think we have some through discovery, what
   22· ·we've received in discovery.
   23· ·Q.· · · Okay.· But nothing separate from that?
   24· ·A.· · · No.
   25· ·Q.· · · Do you have any evidence whatsoever that she

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   ·1· ·basically has ever used the offices on that address
   ·2· ·other than as a mailing address?
   ·3· ·A.· · · No.
   ·4· ·Q.· · · Okay.
   ·5· ·A.· · · I think there can be a reasonable inference or
   ·6· ·an assumption, but I think Mr. --
   ·7· ·Q.· · · That's all you have?· That's all you have?
   ·8· ·A.· · · Yes, sir.· Yes, sir.
   ·9· ·Q.· · · You are assuming that she used it?
   10· ·A.· · · Yes.
   11· ·Q.· · · Do you consider Cummings, LLC, to be in any
   12· ·way related to the debtor, other than the fact that he
   13· ·was a member of both?
   14· ·A.· · · No.
   15· ·Q.· · · Do you have any claim whatsoever that Hagh Law
   16· ·is in any way associated with the debtor?
   17· ·A.· · · Unless under the theory that it was just a
   18· ·continuation of the debtor.· But Hagh Law was a
   19· ·separate LLC.· It was formed.
   20· ·Q.· · · What do you mean by "continuation of the
   21· ·debtor"?
   22· ·A.· · · The successor liability where the -- Brian
   23· ·Manookian and Afsoon Hagh, and I think you're just
   24· ·asking me about her, basically continued doing the
   25· ·same work for the same clients at the same.

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   ·1· ·Q.· · · Everybody practices law, right?
   ·2· ·A.· · · Pardon me?
   ·3· ·Q.· · · Everybody practices law, all of these people
   ·4· ·practice law?
   ·5· ·A.· · · Yes.
   ·6· ·Q.· · · So if they continue practicing law, then
   ·7· ·that's related to the debtor?
   ·8· ·A.· · · In some instances with that -- with those
   ·9· ·cases.
   10· ·Q.· · · Do you have any evidence that she ever
   11· ·received any payment whatsoever from the debtor?
   12· ·A.· · · I do not.· We were never furnished with bank
   13· ·records that we requested.
   14· ·Q.· · · Do you have any --
   15· ·A.· · · Well, I take that -- well, I don't know that
   16· ·you would consider that from the debtor, but she did
   17· ·receive settlement proceeds, part of the settlement
   18· ·proceeds, attorney fee, in the Fitzgerald case.
   19· ·Q.· · · Uh-huh.· And she was involved in the
   20· ·Fitzgerald case, right?
   21· ·A.· · · Yes.
   22· ·Q.· · · So whatever relationship she had, if she had
   23· ·an entitlement to it as part of the fee, she could
   24· ·have the fee for whatever work she did, right?
   25· ·A.· · · I'm sorry.· Ask me that --

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   ·1· ·Q.· · · Whatever her percentage was, her agreement was
   ·2· ·with the debtor if she got that part of the fee?
   ·3· ·A.· · · I think the reason she got that part of the
   ·4· ·fee in the Fitzgerald matter was the receiver only
   ·5· ·needed a certain amount to pay the creditor for which
   ·6· ·he had been appointed receiver, so anything in excess
   ·7· ·of that, at that time, was -- there wasn't a claim for
   ·8· ·Cummings Manookian.
   ·9· ·Q.· · · And that receiver is in the room today, right?
   10· ·A.· · · Yes.
   11· ·Q.· · · Okay.
   12· · · · · · · · MR. YOUNG:· I don't think I have anything
   13· ·else right now.
   14· · · · · · · · MR. SPRAGENS:· I just have a couple of
   15· ·quick follow-ups.
   16· · · · · · · · · · E X A M I N A T I O N
   17· ·BY MR. SPRAGENS:
   18· ·Q.· · · Ms. Burton, what damages did Cummings
   19· ·Manookian experience as a result of any defendant
   20· ·using a phone number or email address that belonged to
   21· ·Cummings Manookian?
   22· ·A.· · · Ask me that again.
   23· ·Q.· · · What damages did Cummings Manookian suffer as
   24· ·a result of any defendant using a phone number or an
   25· ·email address or a mailing address that, according to

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   ·1· ·your allegation at least, associated with Cummings
   ·2· ·Manookian?
   ·3· ·A.· · · Well, at some point, if they were using
   ·4· ·Cummings Manookian's space, phone numbers, email
   ·5· ·addresses, if they weren't paying the bills or
   ·6· ·compensating for the use of those, but I do not know a
   ·7· ·dollar amount.
   ·8· ·Q.· · · And that's all, if they were using the space,
   ·9· ·for example, and they were not authorized to?
   10· ·A.· · · Or even if they were -- they had permission to
   11· ·if Cummings Manookian was paying.· And I don't think
   12· ·they actually paid the lease payments.· I think they
   13· ·paid the mortgage.· They paid the mortgage payments.
   14· ·Q.· · · Cummings Manookian paid the mortgage payments
   15· ·on behalf of 45 MSW Partners?
   16· ·A.· · · I think Mr. Manookian testified that in
   17· ·lieu of paying the rent to the landlord, who was
   18· ·Mr. Manookian and Mr. Cummings in different positions,
   19· ·and then them paying the mortgage, they made payments
   20· ·directly to the mortgage company.· That's my
   21· ·recollection.
   22· ·Q.· · · So as you sit here today, you can't identify
   23· ·any damages that Cummings Manookian actually
   24· ·experienced as a result of the use of the address,
   25· ·email address, phone number?

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   ·1· ·A.· · · No, unless that's somehow related to the
   ·2· ·attorney fees that they should have been entitled to
   ·3· ·that they didn't get paid.· But just the use of the --
   ·4· ·you know, of the space, I don't know.· I don't know
   ·5· ·the amount of any damages.
   ·6· ·Q.· · · And with respect to the Shoemaker case,
   ·7· ·Cummings Manookian didn't have any lawyers on staff at
   ·8· ·the time that case was filed, did it?
   ·9· ·A.· · · I believe it did because the case listed --
   10· ·the complaint listed Afsoon Hagh being at Cummings
   11· ·Manookian.
   12· ·Q.· · · So you believe she was an employee of Cummings
   13· ·Manookian at the time this was filed?
   14· ·A.· · · She was at Cummings Manookian in some
   15· ·capacity.
   16· ·Q.· · · And your basis for that is that she used that
   17· ·address?
   18· ·A.· · · And her name was on the complaint.
   19· ·Q.· · · You've mentioned, by the way, a few times
   20· ·the initial creditors meeting in this case when
   21· ·Mr. Manookian spoke.
   22· ·A.· · · Yes.
   23· ·Q.· · · Do you have a transcript of that meeting?
   24· ·A.· · · I don't have a transcript, but there is a --
   25· ·they record those, and the U.S. trustees maintain the

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   ·1· ·recording.
   ·2· ·Q.· · · And when was the last time you listened to the
   ·3· ·recording of that meeting?
   ·4· ·A.· · · Long enough that my Dropbox has -- because
   ·5· ·I wanted to go back and listen to it again in
   ·6· ·preparation for this, and it's already expired, so I
   ·7· ·would have to request it again.
   ·8· ·Q.· · · Would that be back when the complaint was
   ·9· ·filed?· Is that when you think you listened to it
   10· ·last?
   11· ·A.· · · I don't know that I would have listened to
   12· ·it -- I don't know when I last listened to it, because
   13· ·that was pretty close -- the complaint was filed
   14· ·pretty close in time to the meeting of creditors.· So
   15· ·I don't know that I would have gone back and listened
   16· ·to that in preparation for the complaint.
   17· ·Q.· · · Do you have a recollection of actually
   18· ·listening to it sometime other than when you heard it
   19· ·in person?
   20· ·A.· · · Yes.
   21· ·Q.· · · But you don't know when that is?
   22· ·A.· · · I don't.· I don't.
   23· ·Q.· · · The Shoemaker case went on for a couple of
   24· ·years after it was filed, correct?
   25· ·A.· · · Correct.

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   ·1· ·Q.· · · And throughout that time, even you would
   ·2· ·concede that Ms. Hagh was signing pleadings using
   ·3· ·"Hagh Law."
   ·4· ·A.· · · I believe that's correct.· We just recently
   ·5· ·received the discovery.· But yes, I think that's
   ·6· ·correct.
   ·7· ·Q.· · · But you didn't hire any lawyers to work for
   ·8· ·Cummings Manookian in that case, did you?
   ·9· ·A.· · · No.
   10· ·Q.· · · Any reason why not?
   11· ·A.· · · Because there were already -- I think Cummings
   12· ·Manookian was out of that case by the time that the
   13· ·bankruptcy petition was filed, and it couldn't, any
   14· ·longer, operate.
   15· ·Q.· · · Why couldn't it operate?
   16· ·A.· · · It wasn't an operating Chapter 7 and wasn't
   17· ·filed that way.· And Mr. Manookian says that it was
   18· ·not operating at the date, petition date.
   19· ·Q.· · · And without a lawyer as a member, it couldn't
   20· ·even be a PLLC in good standing, could it?
   21· ·A.· · · I don't know.
   22· ·Q.· · · Have you read the statute about professional
   23· ·limited liability corporations, companies?
   24· ·A.· · · Not recently, no.
   25· ·Q.· · · All right.· But Cummings Manookian couldn't

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   ·1· ·participate in the Shoemaker case because it didn't
   ·2· ·have any lawyers after those first couple of filings
   ·3· ·that you contend were --
   ·4· ·A.· · · If it didn't have any lawyers, then obviously
   ·5· ·it wasn't participating.
   ·6· ·Q.· · · When was the last time that you or Mr. Young,
   ·7· ·to your knowledge, spoke to Brian Cummings about the
   ·8· ·matters that have to do with this case?
   ·9· ·A.· · · It's been a while since I have talked to
   10· ·Mr. Cummings, because it's back when we -- I'm trying
   11· ·to think how long I received any money.· But it's been
   12· ·a while since I've talked to Mr. Cummings.
   13· ·Q.· · · Do you know if Mr. Young has talked to him
   14· ·since you have?
   15· ·A.· · · I think he has.
   16· ·Q.· · · Do you know when that was?
   17· ·A.· · · No.
   18· ·Q.· · · Was it in the last three months, do you think?
   19· ·A.· · · I think they have talked, because there's a --
   20· ·you know, a dispute about what Mr. Cummings is
   21· ·claiming out of the Shoemaker fees.
   22· ·Q.· · · As trustee for Cummings Manookian, what's your
   23· ·position on what Mr. Cummings and his firm are
   24· ·entitled to in the Shoemaker case?
   25· ·A.· · · I don't know at this point.

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   ·1· ·Q.· · · Will it be an equivalent amount to what you
   ·2· ·say Cummings Manookian is entitled to, or will it be
   ·3· ·more or less?
   ·4· ·A.· · · Well, he had left -- he had withdrawn and left
   ·5· ·Cummings Manookian, and the complaint -- he filed --
   ·6· ·was involved in the filing of the complaint.· I guess
   ·7· ·it depends on if we look at that percentage, you know,
   ·8· ·that there was an agreement of how the percentage was
   ·9· ·claimed, and I guess up until he withdrew.· He
   10· ·withdrew from that case.
   11· ·Q.· · · And you go by the passage of time when you try
   12· ·to figure out how much the various firms are entitled
   13· ·to?
   14· ·A.· · · I think that's what the member agreement --
   15· ·that was the formula or however you would -- the
   16· ·process for if one partner withdrew and, depending on
   17· ·who took the case, when there was a recovery in that
   18· ·case, how the fee would be split among those lawyers.
   19· ·Q.· · · Do you have a copy of the operating agreement?
   20· ·A.· · · I think we do because we filed a motion in the
   21· ·bankruptcy case asking as the cases that Mr. Cummings
   22· ·was working on -- as those were being settled, we were
   23· ·using that formula, and we asked the Court to approve,
   24· ·so we didn't have to go in each time, just approve how
   25· ·the attorney fees that were awarded, how they would be

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   ·1· ·split between Cummings Manookian and Cummings Law.
   ·2· ·Q.· · · If that agreement wasn't filed on the docket
   ·3· ·and you haven't produced it to us yet, would you
   ·4· ·produce it to us?
   ·5· ·A.· · · Yes.· I think -- yes.
   ·6· · · · · · · · MR. SPRAGENS:· That's all I have right
   ·7· ·now.· Thank you very much for your time.
   ·8· · · · · · · · MR. GABBERT:· I'm fine.
   ·9· · · · · · · · FURTHER DEPONENT SAITH NOT.
   10· · · · · · · · (Proceedings concluded at 2:20 p.m.)
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   ·1· · · · · · · · · ·REPORTER'S CERTIFICATE

   ·2

   ·3· · · · · · ·I, Sabrina L. Schneider, Notary Public and

   ·4· ·Licensed Court Reporter, do hereby certify that I

   ·5· ·recorded to the best of my skill and ability by

   ·6· ·machine shorthand all the proceedings in the foregoing

   ·7· ·transcript, and that said transcript is a true,

   ·8· ·accurate, and complete transcript to the best of my

   ·9· ·ability.

   10· · · · · · ·I further certify that I am not an attorney

   11· ·or counsel of any of the parties, nor a relative or

   12· ·employee of any attorney or counsel connected with the

   13· ·action, nor financially interested in the action.

   14

   15· · · · · · · · ·SIGNED this 4th day of May, 2022

   16

   17

   18·   ·   ·   ·   ·   ·   ·   ·   ·---------------------------------
   · ·   ·   ·   ·   ·   ·   ·   ·   ·Sabrina L. Schneider, LCR
   19·   ·   ·   ·   ·   ·   ·   ·   ·Notary Public, State of Tennessee
   · ·   ·   ·   ·   ·   ·   ·   ·   ·My Commission Expires: 5/9/2022
   20
   · ·   ·Tennessee LCR No. 455
   21·   ·Expires: 6/30/2022

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   ·1· · · · · · · · · · · · ·E R R A T A

   ·2
   · ·   · · · I, JEANNE ANN BURTON, TRUSTEE, having read the
   ·3·   ·foregoing deposition, Pages 1 through 129, taken April
   · ·   ·20, 2022, do hereby certify said testimony is a true
   ·4·   ·and accurate transcript, with the following changes
   · ·   ·(if any):
   ·5
   · ·   ·PAGE LINE· · ·SHOULD HAVE BEEN
   ·6
   · ·   ·____ ____· · ·__________________________
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   20· · · · · · · · ·JEANNE ANN BURTON, TRUSTEE

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   24· ·________________________________
   · · ·Notary Public
   25· ·My Commission Expires:__________


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